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                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
                                     SAN JOSE DIVISION




APPLE INC., a California corporation,

                Plaintiff,

        vs.

SAMSUNG ELECTRONICS CO., LTD., a               Case No. 11-cv-01846-LHK
Korean business entity; SAMSUNG
ELECTRONICS AMERICA, INC., a New York
corporation; SAMSUNG
TELECOMMUNICATIONS AMERICA, LLC, a
Delaware limited liability company,

                Defendants.




OPENING EXPERT REPORT OF ALAN D. BALL REGARDING “ARTICLE OF MANUFACTURE” FOR
   THE SAMSUNG PRODUCTS FOUND TO INFRINGE U.S. PATENTS D618,677 AND D593,087
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INTRODUCTION

1.   I have been retained as an expert in this case by counsel for Apple Inc. If I am called as a witness, I
     expect to testify regarding the subject matter set forth in this report.

2.   I have been asked to provide my opinions with respect to identifying the “article of manufacture” for
     the Samsung products that were found to infringe U.S. Patents D618,677 (the D’677 patent) and
     D593,087 (the D’087 patent).

3.   I am being paid at my standard consulting rate of $300 per hour for my work performed in
     connection with this litigation. My compensation in this case does not depend in any way upon the
     substance of my opinions or the outcome of this litigation. I have no financial interest in, or affiliation
     with, the parties in this case.


SUMMARY OF OPINIONS

4.   For the reasons discussed in this report, it is my opinion that the articles of manufacture to which
     Samsung applied the patented design of Apple’s D’677 patent are the Samsung phones found to
     infringe that patent, in their entirety. Those Samsung phones are: Fascinate (JX1013); Galaxy S,
     i9000 (JX1007); Galaxy S 4G (JX1019); Galaxy S II, AT&T (JX1031); Galaxy S II, i9100 (JX1032);
     Galaxy S II, T-Mobile (JX1033); Galaxy S II, Epic 4G Touch (JX1034); Galaxy S II, Skyrocket
     (JX1035); Galaxy S Showcase, i500 (JX1017); Infuse 4G (JX1027); Mesmerize (JX1015); and
     Vibrant (JX1010).

5.   Similarly, it is my opinion that the articles of manufacture to which Samsung applied the patented
     design of Apple’s D’087 patent are the Samsung phones found to infringe that patent, in their
     entirety. Those Samsung phones are: Galaxy S, i9000 (JX1007); Galaxy S 4G (JX1019); and
     Vibrant (JX1010).

6.   In forming these opinions, I made three over-arching observations.

7.   First, the patented D’677 and D’087 designs were embodied into the Samsung infringing phones in
     fundamental ways. The claimed designs relate to the front face—clearly the most important side of
     the phone and the side that is visible to the user when performing critical operations (like dialing
     phone numbers, reading messages or web content, and launching core software applications), and
     prominently featured in Samsung’s advertising and packaging. These are not designs that could be
     physically disaggregated from the full products in ways like designs for discrete modular
     components in modular product systems can be.

8.   Second, Samsung’s use of the Apple designs was directed towards full, unitary products: namely,
     the infringing phones. Samsung assembled various components and manufactured them into full,
     unitary products. Samsung marketed those products to consumers as full, unitary products—
     Samsung did not, for example, encourage users to break the products apart into constituent parts
     and use them separately. And indeed, actual use by end users was of unitary products. Simply put,
     Samsung was in the business of making and selling complete phones, and used Apple’s patented
     designs for the infringing phones that it sold.

9.   Third, it is clear from my analysis that Apple created the patented D’677 and D’087 designs to
     make the iPhone attractive, compelling, and desirable to consumers, and in doing so created a
     larger product identity—a phenomenon that Apple promotes with its “product as hero” approach—
     that is consistent with Apple’s reputation for design excellence. Samsung then applied those
     patented designs to increase their sales by achieving the same goals: making the infringing phones
     attractive and desirable to users, and associating the infringing Samsung phones with the identity
     that Apple created for the iPhone.
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10.   I have reached these conclusions by reviewing key facts, evidence, and testimony and applying the
      District Court’s four-factor article of manufacture test to that evidence, as explicated in this report. I
      have also relied on my experience and expertise as an industrial designer.


BACKGROUND, EDUCATION, AND QUALIFICATIONS

11.   I am an Industrial Designer and Inventor. I am the founder and president of A.B.I.D. Inc. (Alan Ball
      Industrial Design), a product design consulting firm. I have over 30 years of experience designing
      industrial, medical, and consumer products for clients ranging from start-ups to Fortune 500
      companies. My expertise includes product design, human factors (ergonomics), graphics and
      packaging design, and user interface design. I am a named inventor on 57 U.S. Design Patents
      and 11 U.S. Utility Patents. I am an active member of the Industrial Designers Society of America.

12.   I have a Bachelors of Industrial Design (B.I.D.) from Syracuse University. This is a five-year
      program offered by the School of Visual and Performing Arts. The curriculum included art and
      design studio courses, math and physics courses, technology and engineering courses, marketing
      and business courses, and psychology/human factors courses.

13.   For over 30 years, I have worked as an Industrial Design consultant. During this time, I have
      worked as a full-time staff designer in a large consultancy, as well as a freelance designer. I
      founded two design consultancies and served as the managing director of a third. I managed large
      interdisciplinary design teams and served as the sole designer on many projects. In my current
      position at A.B.I.D., I provide traditional product design services to clients, pursue my own
      speculative-product inventions, and provide design expert witness services.

14.   I possess many years of product design experience over a broad range of products, including
      medical equipment, laboratory instrumentation, handheld computers, power tools, residential
      kitchen appliances, toys, electronic equipment, industrial products, sports equipment, and pet
      products. I have experience designing products that are manufactured by methods including plastic
      injection molding, sheet metal fabrication, stamping and forming, and die casting, to name a few.

15.   The D’087 and D’677 patents claim ornamental designs for an “Electronic Device.” I have designed
      many electronic devices over the last thirty years. I have selected a few to describe in the next few
      paragraphs that are relevant in demonstrating my expertise.

16.   In the late 1980s and early 1990s, I designed a series of short-distance radio communications (CB
      radios) phones, both vehicle mount and personal phones. These products were precursors to
      mobile phones as we know them today, and used primarily in areas without a wireless
      infrastructure in place.

17.   In the mid-1990s, while a designer and design director at my form Altitude, I designed mobile
      phones for Ericsson (now Sony Mobile Communications Inc.). These cell phones were ‘candy bar’
      style phones, and featured colorful designs to appeal to fashion conscious users, looking for an
      alternative to the business-like phone designs ubiquitous in the market at that time.

18.   In the mid-1990s, I designed a series of disposable mobile phones for Polaroid Inc., which utilized
      their innovative flat battery technology developed for their instant cameras. It is my understanding
      that these designs were not brought to market due to sustainability and cost constraints.

19.   I have designed a number of electronic devices for Kensington, including a Gravis USB game
      controller, a touchpad computer peripheral device, and various USB webcams.

20.   Between 1992 and 2000, I designed a number of handheld data terminals and barcode scanning
      devices for Symbol Electronics (now Motorola). Many of these products featured VOIP telephony
      technology. These were primary industrial products, designed for ruggedness, reliability and ease

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      of use. Many of these designs were used by USPS and other delivery and logistics companies for
      shipping management.




  Symbol PPT-4600 Data Terminal and Scanner.                    PingTel Xpressa VOIP Phone.

21.   I designed the Xpressa IP Business Phone system for Pingtel Corporation in 2000. This office
      phone featured a user-friendly and intuitive ‘PDA’ like computer system and display to allow the
      user to download and run phone specific ‘apps.’ This design won an IDSA Gold award for design
      excellence in 2002.

22.   In 2002, I designed a handheld electronic device which was an electronic Scrabble dictionary for
      Franklin Consumer Electronics.




      Franklin Scrabble Electronic Dictionary.          Pepper Computer PepperPad Tablet computer.

23.   In 2006, I designed a tablet computer called the PepperPad for Pepper Computing Inc. This tablet
      was one of the first tablet computers designed specifically for ‘couch top’ computing. The design
      featured a patented, innovative, split-keypad design to allow the user to type while maintaining a
      solid grip on the product. The PepperPad had a large landscape display with stylus for data entry,
      and an integrated camera, cursor control pad, scroll wheel, stereo speakers and articulated stand.
      The device won an ‘Innovations Showcase Award’ at the annual Consumer Electronics Show in
      2004. For over fifteen years I have designed, through my company A.B.I.D. Inc., electric kitchen
      appliances for Cuisinart, a division of Conair Corporation. The many products I have designed
      include Baby Food Makers, Blenders, Coffee Makers, Countertop Cooking Appliances, Food
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      Processors, Griddles, Grills, Ice Cream Makers, Pizza Ovens Pressure Cookers, Rice Cookers,
      Slow Cookers, Stand Mixers, Toasters, and Toaster Ovens.

24.   Additional details of my education, work experience, publications, patents, awards and honors, and
      prior engagements as an expert are disclosed in my curriculum vitae, a copy of which is attached
      as Exhibit A.


MATERIALS CONSIDERED

25.   In reaching the opinions outlined in this report, I have considered documents including the
      following: the D’677 and D’087 patents, the prosecution histories and cited prior art for the D’677
      and D’087 patents, documents filed in this litigation, deposition testimony of various Apple and
      Samsung employees, information provided in discovery responses from Apple and Samsung,
      Samsung’s infringing products, Apple’s products that practice the D’677 and D’087 patents,
      information contained in documents and things produced by Apple and Samsung in this litigation,
      certain publicly available materials relevant to the D’677 and D’087 patents and Samsung’s
      infringing products, and the documents discussed or cited in this report.

26.   Among the depositions I reviewed were the depositions of Apple and Samsung employees that I
      understand occurred during a period of discovery intended specifically for the parties to gather
      information relevant to the article of manufacture inquiry:

            Witness                   Date             Company                   Current Title

       Drew Blackard        December 13, 2017         Samsung        Senior Director of Product
                                                                     Marketing, Mobile Division of SEA

       Tim Sheppard         December 13, 2017         Samsung        Vice President of Supply Chain
                                                                     Logistics, SEA

       Jinsoo Kim           December 19, 2017         Samsung        Vice President, Corporate Design
                                                                     Center, SEC

       Jeeyeun Wang          December 20, 2017        Samsung        Principal Designer, UX Innovation
                                                                     Team, SEC

       Kyuhyun Han           December 20, 2017        Samsung        Professional, Business Operations
                                                                     Group within Mobile
                                                                     Communication Division, SEC

       Justin Denison       December 20, 2017         Samsung        Senior Vice President of Product
                                                                     Marketing for Mobile Phones and
                                                                     IoT, SEA

       Dongwook Kim         December 22, 2017         Samsung        Principal Professional, Mobile
                                                                     Communication Division, SEC

       Tony Blevins          December 17, 2017        Apple          Vice President of Procurement



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       Richard Howarth        December 19, 2017          Apple          Senior Director, Design Team

       Greg Joswiak           December 21, 2017          Apple          Vice President of Product Marketing



27.   I have also spoken with Apple employees Tony Blevins, Richard Howarth, and Greg Joswiak, as
      well as Apple experts Julie Davis (damages) and Susan Kare (D’305 patent).

28.   A list of materials that I considered in arriving at the opinions described in this report is attached as
      Exhibit B.


RELEVANT LEGAL PRINCIPLES

29.   I am not a lawyer, and I have not been asked to offer an opinion on the law. I have been informed
      of the following applicable legal principles and asked to apply them to my analysis.

30.   I have been informed and understand that Section 289 of the Patent Act (35 U.S.C. § 289) provides
      the following damages remedy for design patent infringement:

            “Whoever during the term of a patent for a design, without license of the owner, (1)
            applies the patented design, or any colorable imitation thereof, to any article of
            manufacture for the purpose of sale, or (2) sells or exposes for sale any article of
            manufacture to which such design or colorable imitation has been applied shall be
            liable to the owner to the extent of his total profit, but not less than $250, recoverable
            in any United States district court having jurisdiction of the parties.”

31.   I have been informed and understand that the Supreme Court has stated that: “Arriving at a
      damages award under §289 … involves two steps. First, identify the ‘article of manufacture’ to
      which the infringed design has been applied. Second, calculate the infringer’s total profit made on
      that article of manufacture.” Samsung Elecs. Co. v. Apple Inc., 137 S. Ct. 429, 434 (2016).

32.   I have been informed and understand that the Supreme Court has also stated that:

            “‘Article of manufacture’ has a broad meaning. An ‘article’ is just ‘a particular thing’. J.
            Stormonth, A Dictionary of the English Language 53 (1885) (Stormonth); see also
            American Heritage Dictionary, at 101 (‘[a]n individual thing or element of a class; a
            particular object or item’). And ‘manufacture’ means ‘the conversion of raw materials
            by the hand, or by machinery, into articles suitable for the use of man’ and ‘the
            articles so made.’ Stormonth 589; see also American Heritage Dictionary, at 1070
            (‘[t]he act, craft, or process of manufacturing products, especially on a large scale’ or
            ‘[a] product that is manufactured’). An article of manufacture, then, is simply a thing
            made by hand or machine.”

      Samsung Elecs. Co. v. Apple Inc., 137 S. Ct. 429, 434-435 (2016).

33.   I have been informed and understand that the Supreme Court has further stated that an article of
      manufacture may be either a product sold to a consumer or a component of that product. Samsung
      Elecs. Co. v. Apple Inc., 137 S. Ct. 429, 435 (2016).

34.   I have been informed and understand that the District Court has stated in this case that the test for
      determining the article of manufacture shall be the following four factors:


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            a. “The scope of the design claimed in the plaintiff’s patent, including the drawing and
               written description”;

            b. “The relative prominence of the design within the product as a whole”;

            c.    “Whether the design is conceptually distinct from the product as a whole”; and

            d. “The physical relationship between the patented design and the rest of the product,
               including whether the design pertains to a component that a user or seller can physically
               separate from the product as a whole, and whether the design is embodied in a
               component that is manufactured separately from the rest of the product, or if the
               component can be sold separately.”

      (Dkt. 3530, Order Requiring New Trial (Oct. 22, 2017).)

35.   I have been informed and understand that the District Court has further stated that Apple shall bear
      the burden of persuasion (or proof) on identifying the relevant article of manufacture and proving
      the amount of total profit on the sale of that article. The District Court has also stated that Apple
      shall bear an initial burden of production (or coming forward with evidence) on identifying the
      relevant article of manufacture and proving the amount of total profit on the sale of that article. If
      Apple satisfies its burden of production on these issues, the burden of production shifts to Samsung
      to come forward with evidence of an alternative article of manufacture and any deductible
      expenses. (Dkt. 3530, Order Requiring New Trial (Oct. 22, 2017).)


OVERVIEW OF CASE HISTORY RELATING TO THE D’677 AND D’087 PATENTS

36.   On April 15, 2011, Apple sued Samsung Electronics Co. Ltd. (SEC), Samsung Electronics America,
      Inc. (SEA), and Samsung Telecommunications America, LLC (STA) for infringement of certain
      design patents, utility patents, and trade dresses. Apple’s design patents asserted in the original
      complaint included U.S. Patent D618,677. (Dkt. 1, Complaint.)

37.   On June 16, 2011, Apple filed an amended complaint in which it asserted U.S. Patent D593,087.
      (Dkt. 75, Amended Complaint.)

38.   On July 27, 2012, the District Court provided claim constructions for Apple’s D’677 and D’087
      patents. (Dkt. 1425, Order Regarding Design Patent Claim Construction.) The District Court
      amended its claim constructions for the D’677 and D’087 patents on July 29, 2012. (Dkt. 1447,
      Order Amending Design Patent Claim Construction.)

39.   The District Court’s claim constructions, as amended, are:

            a. “The D’677 Patent claims the ornamental design of an electronic device as shown in
               Figures 1-8. The broken lines in the D’677 Patent constitute unclaimed subject matter.
               The use of ‘solid black surface shading’ on the D’677 Patent represents the color black.
               The use of oblique line shading on the D’677 Patent is used to show a transparent,
               translucent, or highly polished or reflective surface.” (Dkt. 1425, Order Regarding Design
               Patent Claim Construction, p.9 (July 27, 2012); Dkt. 1447, Order Amending Design
               Patent Claim Construction, p.2 (July 29, 2012).)

            b. “The D’087 Patent claims the ornamental design of an electronic device as shown in
               Figures 1-48. The broken lines in the D’087 Patent constitute unclaimed subject matter.
               Thus, the D’087 Patent claims the front face, a ‘bezel encircling the front face of the
               patented design [that] extends from the front of the phone to its sides,’ and a flat contour
               of the front face, but does not claim the rest of the article of manufacture.” (Dkt. 1425,


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                  Order Regarding Design Patent Claim Construction, p.8 (July 27, 2012); Dkt. 1447, Order
                  Amending Design Patent Claim Construction, p.2 (July 29, 2012).)

40.   A jury trial was held from July 30 through August 24, 2012. The District Court instructed the jury on
      claim construction, infringement, validity, and other issues involved in that trial. (Dkt. 1903, Final
      Jury Instructions (Aug. 21, 2012).) The jury reached an Amended Verdict on August 24, 2012:

            a. The jury found that Apple’s D’677 and D’087 patents are not invalid. (Dkt. 1931,
               Amended Verdict, p.9.)

            b. The jury found that three Samsung smartphone products infringed Apple’s D’087 patent:
               Galaxy S, i9000 (JX1007); Galaxy S 4G (JX1019); and Vibrant (JX1010). (Dkt. 1931,
               Amended Verdict, p.6.)

            c.    The jury found that twelve Samsung smartphone products infringed Apple’s D’677 patent:
                  Fascinate (JX1013); Galaxy S, i9000 (JX1007); Galaxy S 4G (JX1019); Galaxy S II,
                  AT&T (JX1031); Galaxy S II, i9100 (JX1032); Galaxy S II, T-Mobile (JX1033); Galaxy S
                  II, Epic 4G Touch (JX1034); Galaxy S II, Skyrocket (JX1035); Galaxy S Showcase, i500
                  (JX1017); Infuse 4G (JX1027); Mesmerize (JX1015); and Vibrant (JX1010). (Dkt. 1931,
                  Amended Verdict, p.6.)

41.   I understand that a partial retrial on certain damages issues was held from November 12 through
      21, 2013. The District Court again provided instructions to the jury, and those instructions included
      the District Court’s claim constructions for the D’677 patent. (Dkt. 2784, Final Jury Instructions, p.37
      (Nov. 18, 2013).) I understand that the 2013 trial involved determining damages for thirteen
      Samsung products found to infringe Apple’s D’677 patent (as well as other patents). (Dkt. 2822,
      Jury Verdict, pp. 1-2.)

42.   I understand that, after the appeals process, the jury’s infringement and validity findings stand. On
      October 22, 2017, the District Court ordered a new trial limited to determining damages for certain
      Samsung products found to infringe Apple’s D’677 and D’087 patents (and other Apple patents).
      (Dkt. 3530, Order Requiring New Trial.) In that order, the District Court set forth a test for identifying
      the “articles of manufacture” to which Samsung has applied Apple’s patented designs and
      calculating damages for design patent infringement under Section 289, which I have described
      above.


THE DESIGNER OF ORDINARY SKILL IN THE ART (DOSA)

43.   Design is the act of conceiving and defining a plan, form, and/or structure of an item to be made.
      Industrial Design is the professional art of designing an item, product, or system to be produced
      through processes of modern fabrication or mass production. The creative act of design takes place
      in advance of the physical act of making the item, unlike craft-based design, in which design is
      determined by the craftsperson during the creation of the item.

44.   An Industrial Designer is driven to create a solution that answers the user’s needs and desires—
      and serves the goal of promoting product identity—while meeting cost, technology, manufacturing,
      and competitive market requirements. Successful industrial designs appropriately integrate
      aesthetics, functionality, human factors, sustainability, and manufacturability. The Industrial Design
      process typically starts with research to understand user needs and available technology, then
      involves ideation and conceptualization of multiple design solutions that are developed, prototyped,
      and evaluated. Eventually, a single design concept is selected, refined, and documented for
      production engineering and manufacturing. Industrial Designers can work as individuals or as part
      of a team of designers, and as part of an inhouse corporate design group or in a design consulting
      company that provides design services to multiple companies.

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45.   Industrial Design education is interdisciplinary, typically requiring 4-5 years of studio-based design
      courses plus art, liberal arts, technology, psychology, and business courses. Industrial Designers
      often focus on specialties, some of which are Exhibit Design, Product Design, Graphic Design,
      User Interface (UI) Design, User Experience Design (UX), Transportation Design, and Design
      Thinking. In my over 30 years as a consulting Industrial Designer, my work has included all of these
      areas of Industrial Design.

46.   I understand that Peter Bressler, Apple’s expert regarding infringement and validity of the D’677
      and D’087 patents, testified that a DOSA for the D’677 and D’087 patents would have at least a
      Bachelor’s degree in Industrial Design or Product Design and two or more years of work experience
      as an Industrial Designer, including experience designing electronic devices. (Dkt. 1843, Trial Tr.
      3590 (Aug. 17, 2012).) I agree with that characterization.

47.   I have considered the DOSA’s perspective in my analysis below, including in my analysis of the
      District Court’s four factors for determining the article of manufacture to which Samsung applied the
      D’677 and D’087 designs.


THE ORDINARY OBSERVER

48.   It is helpful to illuminate the article of manufacture analysis, including the four factors provided by
      the District Court, by considering the perspective of an ordinary observer and how an ordinary
      observer would have encountered Samsung’s infringing products.

49.   An Industrial Design consultant is hired by companies to create successful designs for new
      products. To accomplish this goal, it is essential that the Industrial Designer understand the
      intended users or purchasers and their ability to perceive and use the product being designed. To
      develop this ability, an Industrial Designer is trained in techniques used to gain insight and
      understanding into users’ or purchasers’ needs and desires related to the product being designed.
      This ability is further developed over time as a designer gains experience designing products. The
      cumulative experience in understanding user and purchaser behavior I have obtained over 30
      years as an Industrial Design consultant gives me the necessary expertise to opine regarding an
      ordinary observer’s ability to recognize the importance of a design to a product.

50.   Insight into the ordinary observer to be considered in this case can be gained by observing how the
      Samsung phones found to infringe the D’677 and D’087 patents were marketed and sold and who
      the intended users were. I understand that most of the infringing phones were sold by Samsung
      directly to carriers such as AT&T, Verizon, Sprint, and T-Mobile, who in turn sold the phones to
      individual consumers. (Blackard Dep. 47:5-49:7.) Samsung also sold the infringing phones to
      retailers such as Wal-Mart and Best Buy to sell to individual consumers, and enterprises such as
      American Airlines for use by their employees. (Blackard Dep. 126:15-128:1.)

51.   An ordinary observer would have encountered the Samsung infringing products in a number of
      ways, including through seeing and holding the phones, seeing others using the phones, seeing the
      phones in print and television advertising, seeing the phones online either through Samsung’s
      websites or carrier websites or e-commerce websites, seeing the phones displayed in stores, and
      seeing the phones in their packaging.

52.   I have considered these scenarios and insights I have gained through my expertise as an Industrial
      Designer into ordinary observers in my article of manufacture analysis, including my analysis of the
      District Court’s four factors.




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MOBILE PHONE DESIGN BEFORE THE IPHONE

53.   When Apple introduced the iPhone in January 2007, over ten years ago, mobile phones and
      smartphones looked very different than they do today.

54.   Many of the phones on the market were 'candybar' phones. These phones were narrow, tall, and
      relatively thin. The display was at the top of the front face, with a numeric keypad and other controls
      below the display. The candybar design was simple without any sliding or folding parts, and a
      relatively small screen. This format was very similar to the handsets found in wireless home
      phones.




                                      ‘Candybar’ phones from 2006
 Left to right: Sony Ericsson Nokia 6070, Nokia 6080, Nokia 2310, Motorola SLVR, Sony Ericsson k310,
                  Benq Siemens s68, Motorola SLVR L7, Sony Ericsson K800i, Nokia 6300


55.   In 2006 there were also many ‘flip phones’ on the market. These phones featured a two-piece body
      with a hinge, allowing the phone to be ‘flipped’ opened for use, and closed to a smaller shape when
      not in use. When open, the top portion contained a display and the bottom a keypad. Some of
      these phones had a secondary display on the back surface of the upper portion to display
      notifications or data when the phone was closed.




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                                          Flip phones from 2006
         Left to right: Nokia 6131, Nokia 6125, Motorola KRZR, Motorola PEBL, Motorola RZR,
                                     Sony Ericsson W300, Nokia 6085


56.   ‘Smartphones’ were available in 2006, but they looked very different from the smartphones we are
      familiar with today.




                                          Smartphones from 2006
        Left to right: Nokia e61, Treo 680, Motorola Q, Sony Ericsson W950, Hiptop 3, HTC TyTN,
                                    Blackberry Pearl, Samsung Blackjack




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      As can be seen, most of these smartphones looked like PDAs (personal digital assistants) or
      texting devices, like the RIM Blackberry. These smartphones were wider than a candybar phone,
      and had larger displays as compared to ‘candybar’ or ‘flip’ phones and a full alpha-numeric
      keyboard. Many of these phones also featured a stylus for selecting and entering data on the
      display. Some of these designs featured a two-piece housing that allowed the display to be slid or
      pivoted into an open position and exposed the keyboard. These smartphones were premium
      devices, often marketed toward professionals who needed a full keyboard.

57.   There were other phones available that were different form the phones mentioned above. Some of
      these were ‘sliders’, similar to a flip phone but with a sliding mechanism rather than a hinge.




                                 Sliders and unorthodox phones from 2006
        Left to right: Nokia 3250, Nokia 5200, LG KG800, Nokia 7380, Nokia N93, Samsung d900i


58.   Others were specialty phones, maybe designed for fashion or with a lot of articulation for
      photography or recording video. Once again, these designs look very different form the ubiquitous
      smartphone designs available today.


APPLE’S INTRODUCTION OF THE iPHONE

59.   It was this environment into which the iPhone was announced by Steve Jobs, co-founder of Apple,
      in January of 2007 at Apple’s MacWorld event.

60.   Apple has been known for its focus on design since its founding. Steve Jobs has been praised for
      creating in Apple “an organization that actually cares about design more than technology.”
      (APLNDC-Y0000234836 at APLNDC-Y0000234837.) An article in the New York Times that
      described Mr. Jobs as “Designer First, C.E.O. second,” stated: “He thought about design … . In
      fact, we went beyond thinking about it. He obsessed over it—every curve, every pixel, every
      ligature, every gradient.” (APLNDC-Y0000234831 at APLNDC-Y0000234832.)

61.   The result of Mr. Jobs’s focus was to create a company whose “strategy is to control the design and
      development of the hardware and software for all of its products,” including by creating products


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      with “innovative industrial design.” (APL-ITC796-0000206845 (Apple Inc. 2010 10k) at APL-ITC796-
      0000206848.)

62.   Many companies have Engineering develop a package of internal components and then Industrial
      Design create a design to accommodate the components. Apple has always pursued the
      integration of design, engineering and software to create an inseparable unity, embodied in a
      consumer product. At Apple, the design vision comes first, and then Engineering and
      Manufacturing work very hard to create a functional technical solution to enable the design.
      (Conversation with Tony Blevins.)

63.   By January 2007, Apple was already known for its innovative and award-winning design in the
      computer industry, and also known for the iPod line of digital music players. The iPhone was
      described as “combining three products—a revolutionary mobile phone, a widescreen iPod® with
      touch controls, and a breakthrough Internet communications device with desktop-class email, web
      browsing, searching and maps—into one small and lightweight handheld device.” (APLNDC- WH-
      A0000026142.)

64.    The design of the iPhone was unlike anything before it. Unlike the ‘sliders’ and ‘flip’ phone of the
      day, the iPhone was a single monolithic shape, sized to fit the users hand. The entire front face was
      glass, with rounded corners and a large display which ran edge to edge, and a single circular
      button below, and a small slit like speaker above. The front face was black, and surrounded by a
      simple and elegant chrome bezel. As one iPhone designer testified, the iPhone was “one of the first
      phones that I can remember or, you know, products at that time that were kind of one cohesive
      thing rather than bits of – like flip phones that had different enclosures, different parts and stuff.
      [The iPhone] was like one – one thing.” (Whang 2011 Dep. 55:3-56:3.)

65.   From the day it was released the iPhone design was seen as beautiful and distinctive, and was
      universally recognized as an innovative Apple product. Its simple and elegant bezel, unique edge-
      to-edge glass front surface, and minimal refined front face introduced a striking new icon to the field
      of design. It is this distinctive bezel and front face that is embodied in the D’087 and D’677 patents.

66.   According to Apple marketing executive Phil Schiller, as a result of its focus on design, “[o]ne of the
      things the market looks at from Apple is beautiful products. It’s one of the things we’re known for.
      It’s one of the things we strive to create, and I think it’s part of who Apple is. We create beautiful
      products.” (Dkt. 1610 at 637.) Mr. Schiller’s statement underscores how product design can help
      create a product identity—and indeed, corporate identity—in which goodwill can reside.

67.   I understand that when designing the iPhone, as with Apple’s other products, design drove the
      process. (Howarth 2017 Dep. 181:6-13.) When designing the iPhone, Apple’s designers sought to
      create the impression of simplicity, quiet, and calm, in part to visually communicate the ease of
      using the iPhone. The value of the iPhone is communicated through the design’s refined
      appearance and sophisticated use of materials, attributable to the Apple designers’ painstaking
      attention to detail. (Stringer August 2011 Dep. 167:11-168:4, 178:1-17.)

68.   Obviously, designing a product as refined as the iPhone, with as few visual elements, requires
      significant design skill and restraint. I understand that the iPhone’s exemplary design was facilitated
      by Apple’s practice of allowing its designers to maintain authority over the appearance of the
      products throughout the entire production process, working with and enfranchising engineering
      resources to accomplish the design goal. (Conversation with Tony Blevins; Blevins 2017 Dep.
      196:6-12 (“Everything is subservient to that design[.]”); 198:7-13 (“The external design and
      appearance dictates everything else about the phone that you fit in that design envelope and those
      design requirements.”).)

69.   During its creation, Apple’s designers and executives recognized that the iPhone design was
      revolutionary.


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           a. Chris Stringer, one of the lead designers of the iPhone, explained that his team was
              “looking for a new, original, and beautiful object, something that would really wow the
              world.” (Dkt. 1547 at 484.) According to Mr. Stringer, when Apple designed the iPhone
              they “came up with something that was breathtaking. It was a revolution.” (Dkt. 1547 at
              494.)

           b. Phil Schiller, Apple’s Senior Vice President of Worldwide Marketing, testified that the
              iPhone “was this entirely new kind of device.” (Dkt. 1610 at 598; Dkt. 2842 at 821 (“[B]ack
              in 2007, the most popular phones were all phones that had physical keyboards,” Apple
              “coming up with a full glass screen … was very foreign and different to everybody.”).)

           c.    Tony Blevins, Apple’s Vice President of Procurement, testified that when he saw the
                 original iPhone he “was stunned”: “It’s hard to imagine that it’s common in the
                 marketplace today, but if you turn back the clock at the time that the iPhone was
                 developed, there was -- nothing on the market even came close to what the device could
                 do. All of us were really, really excited.” (Blevins 2017 Dep. 194:15-23.)

           d. Greg Joswiak, Apple’s Vice President of Product Marketing, testified that “[t]he iPhone
              was a revolutionary product. … It was going to change everything, and it did, and so we,
              everything from the way it looked and the way it worked was different than people had
              ever seen in a phone before.” (Joswiak 2017 Dep. 126:9-24.)

70.   Following the announcement of the iPhone in January 2007, its beauty and distinctive appearance
      was immediately praised in many articles, including the following:

           a. TIME called the iPhone “pretty”: “Jonathan Ive, Apple’s head of design, the man who
              shaped the iMac and the iPod, squashed the case to less than half an inch thick, and
              widened it to what looks like a bar of expensive chocolate wrapped in aluminum and
              stainless steel. The iPhone is a typical piece of Ive design: an austere, abstract, platonic
              looking form that somehow also manages to feel warm and organic and ergonomic.”
              (APLNDC-Y0000055301 at APLNDC-Y0000055302.)

           b. A New York Times review of the iPhone dated January 11, 2007, entitled “Apple Waves
              Its Wand at the Phone,” noted that “[a]s you’d expect of Apple, the iPhone is gorgeous.” It
              likened Apple’s creation of the iPhone to the work of “the fairy godmother in ‘Cinderella’”:
              transformation of a “homely and utilitarian object, like a pumpkin or a mouse, into
              something glamorous and amazing . . .” (PX133.)
71.   After the iPhone was released in June 2007, industry reactions remained positive, and continued to
      praise the iPhone’s design:

           a. CNET praised the iPhone as “a lovely device” with a “sleek design”: “[T]he iPhone boasts
              a brilliant display, trim profile, and clean lines (no external antenna of course), and its lack
              of buttons puts it in a design class that even [LG and HTC phones] can’t match. You’ll win
              envious looks on the street toting the iPhone, and we’re sure that would be true even if
              the phone hadn’t received as much media attention as it has.” (APLNDC-Y0000235785
              at APLNDC-Y0000235785-786.)

           b. A Wall Street Journal article dated June 27, 2007, entitled “Testing Out the iPhone,”
              stated that “designers have struggled to balance screen size, keyboard usability and
              battery life . . . . [T]he iPhone is, on balance, a beautiful and breakthrough handheld
              computer,” and that “[t]he iPhone is simply beautiful.” To demonstrate this the article also
              showed the iPhone compared to other smartphones available at the time, including a
              Samsung phone (PX134.1-PX134.3):



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           c.    A New York Times article dated June 27, 2007, described the iPhone as “a tiny,
                 gorgeous hand-held computer,” and stated that “[t]he phone is so sleek and thin, it makes
                 Treos and Blackberrys look obese.” (APLNDC-Y0000233341).

           d. A Korea JoonsAng Daily Internet article dated February 18, 2008, entitled “Apple iPhone
              Tops List of Innovative inventions,” which reported the results of a survey of 599 Korean
              CEOs by Samsung Economic Research Institute, stated that CEOs indicated that the
              “iPhone’s sleek design caught their eye.” (APLNDC-Y0000233345.)

72.   The iPhone’s distinctive design specifically received widespread acclaim and accolades:

           a. The iPhone received multiple design awards such as the International Design Excellence
              Award (IDEA) for Best in Show in 2008 (APLNDC-Y0000148044); an International Forum
              Product Design Award in 2008 (APLNDC-Y0000233322); and the Design and Art
              Direction Black Pencil award in 2008 (PX157).

           b. TIME named the iPhone its “Invention of the Year,” citing its first reason for doing so
              because “[t]he iPhone is pretty.” (PX135.1.) TIME stated that: “Most high-tech companies
              don’t take design seriously. They treat it as an afterthought. Window-dressing. But one of
              Jobs’ basic insights about technology is that good design is actually as important as good
              technology. All the cool features in the world won’t do you any good unless you can figure
              out how to use said features, and feel smart and attractive while doing it.” (PX135.1.) The
              cover of the magazine is shown below (PX135.3):




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            c.    The influential technology blog Engadget named the iPhone one of its “Ten Gadgets That
                  Defined the Decade”, stating that the iPhone constituted a “sea change” and observed
                  that “as we close out the decade . . . world-class industrial design is a given. The game
                  has changed.” (APLNDC-Y0000142002.)
73.   The iPhone is not merely an example of excellence in industrial design, its beauty has pushed it
      into the realm of art. iPhones have been displayed in exhibitions and added to the permanent
      collections of several museums:

            a. Permanent Collection, San Francisco Museum of Modern Art (APL7940001435803);

            b. Designs of the Year, London Design Museum, 2008 (APL7940001440844);

            c.    Triennial, Cooper Hewitt, Smithsonian Design Museum, 2010 (APLNDC0002169993);

            d. Stylectrical: On Electro-Design That Makes History, Museum for Kunst und Gewerbe
               (Arts & Crafts), August 26, 2011, through January 15, 2012 (APLNDC-Y0000142052):

74.   A testament to the iPhone’s recognized iconic design is the United States Patent and Trademark
      Office’s use of iPhone-shaped displays in an exhibit showcasing Steve Jobs’ numerous patents and
      trademarks. (PX142):




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                    USPTO exhibit celebrating the patents of Steve Jobs, November 23, 2011.

75.   In conjunction with the original iPhone, Apple also received numerous patents, including the design
      patents-in-suit. (JX1091.) As Mr. Schiller has testified, “[t]hese inventions are part of what
      differentiate our product, that we try to create products that are beautiful.” (Dkt. 2842 at 837:21-23.)


APPLE’S D’087 PATENT

      Title, Claim, Written Description, and Figures

76.   U.S. Patent D593,087, hereafter referred to as the D’087 patent, is titled “ELECTRONIC DEVICE.”
      The application, 29/282,833, was filed on July 30, 2007 (as a continuation of application 29/270,880
      filed on January 5, 2007). The D’087 patent was assigned to Apple Inc.

77.   The claim of the D’087 patent is “[t]he ornamental design of an electronic device, substantially as
      shown and described.”

78.   The D’087 patent includes forty-eight figures, in six groups of eight, which show six embodiments of
      a design for an electronic device.

79.   The written description of the D’087 patent states:
          The broken lines showing the remainder of the electronic device are directed to
          environment. The broken lines, within the claimed design, in embodiments 1, 2, and 4
          that depict an elongated oval shape and the broken lines, within the claimed design, in
          embodiments 2, 3, and 6 that depict a circle shape are superimposed on a continuous
          surface and are for illustrative purposes only. The broken lines, within the claimed
          design, in embodiments 1, 3, and 5 that depict a large rectangular shape, indicate a
          non claimed shape below the continuous front surface and are for illustrative purposes
          only. None of the broken lines form a part of the claimed design.

80.   Figure 1 is a “front perspective”, with the front face facing up, of an ornamental design of an
      electronic device. Figure 2 is a “rear perspective”, with the back surface facing up, of the same
      design. Figures 3-8 are orthographic views showing the front, rear, top, bottom, left side, and right
      side of the same design. These figures are shown here, with the orthographic views arranged in
      standard third-angle projection:


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                                  Figures 1 through 8 from D’087 patent.

81.   In Figures 1-8, the top surface, with surrounding bezel, is shown in black lines to indicate that it is
      being claimed. The back and portions of the sides are shown in broken lines to indicate that it is
      unclaimed. The rectangular screen and the capsule-shaped speaker aperture on the front surface
      is unclaimed.

82.   Figure 9 is a “front perspective,” with the front face facing up, of a second embodiment of the
      ornamental design of an electronic device. Figure 10 is a “rear perspective,” with the back surface
      facing up, of the same embodiment. Figures 11-16 are orthographic views showing the front, rear,
      top, bottom, left side, and right side of this second embodiment. These figures are shown here, with
      the orthographic views arranged in standard third-angle projection:




                                  Figures 9 through 16 from D’087 patent.

83.   In Figures 9-16, the top surface, with surrounding bezel, is shown in black lines to indicate that it is
      being claimed. The back and portions of the sides are shown in broken lines to indicate that it is
      unclaimed. The rectangular screen on the front surface is claimed, and the capsule-shaped
      speaker aperture and the round button are unclaimed.

84.   Figure 17 is a “front perspective,” with the front face facing up, of a third embodiment of the
      ornamental design of an electronic device. Figure 18 is a “rear perspective,” with the back surface
      facing up, of the same embodiment. Figures 19-24 are orthographic views showing the front, rear,
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      top, bottom, left side, and right side of this third embodiment. These figures are shown here, with
      the orthographic views arranged in standard third-angle projection:




                                 Figures 17 through 24 from D’087 patent.

85.   In Figures 17-24, the top surface, with surrounding bezel, is shown in black lines to indicate that it is
      being claimed. The back and portions of the sides are shown in broken lines to indicate that they
      are unclaimed. The capsule shaped-speaker aperture on the front surface is part of the claimed
      design, but the circular button and rectangular screen are unclaimed.

86.   Figure 25 is a “front perspective,” with the front face facing up, of a fourth embodiment of the
      ornamental design of an electronic device. Figure 26 is a “rear perspective,” with the back surface
      facing up. Figures 27-30 are orthographic views showing the front, rear, top, bottom, left side, and
      right side of this fourth embodiment. These figures are shown here, with the orthographic views
      arranged in standard third angle projection:




                                 Figures 25 through 32 from D’087 patent.

87.   In Figures 25-32, the top surface, with surrounding bezel, is shown in black lines to indicate that it is
      being claimed. The back and portions of the sides are shown in broken lines to indicate that they
      are unclaimed. The rectangular screen and circular button on the front surface are claimed and the
      capsule-shaped speaker aperture is unclaimed.

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88.   Figure 33 is a “front perspective,” with the front face facing up, of a fifth embodiment of the
      ornamental design of an electronic device. Figure 34 is a “rear perspective,” with the back surface
      facing up, of the same design. Figures 35-40 are orthographic views showing the front, rear, top,
      bottom, left side, and right side of this fifth embodiment. These figures are shown here, with the
      orthographic views arranged in standard third-angle projection:




                                 Figures 33 through 40 from D’087 patent.

89.   In Figures 33-40, the top surface, with surrounding bezel, is shown in black lines to indicate that it is
      being claimed. The back and portions of the sides are shown in broken lines to indicate that they
      are unclaimed. The capsule-shaped speaker aperture and the circular button on the front surface
      are claimed and the rectangular screen is unclaimed.

90.   Figure 41 is a “front perspective,” with the front face facing up, of a sixth embodiment of the
      ornamental design of an electronic device. Figure 42 is a “rear perspective,” with the back surface
      facing up, of the same design. Figures 43-48 are orthographic views showing the front, rear, top,
      bottom, left side, and right side of this sixth embodiment. These figures are shown here, with the
      orthographic views arranged in standard third-angle projection:




                                 Figures 41 through 48 from D’087 patent.

91.   In Figures 41-48, the top surface, with surrounding bezel is shown in black lines to indicate that it is
      being claimed. The back and portions of the sides are shown in broken line to indicate that it is
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      unclaimed. The rectangular screen and capsule shaped speaker aperture circular button on the
      front surface are claimed and the round button is unclaimed.
92.   As I note above, the portions of the products depicted in broken lines are not claimed. But those
      broken-line diagrams do provide context for the claimed portions, indicating that the claimed design
      shown is being applied to an entire electronic device. (Howarth 2017 Dep. at 178:10-18 (“Q. What
      guidance do we get from them about the article of manufacture, these three patents? A. That
      they're products. They're a phone. … [T]here's images of it right here as well of -- of a full device.”).)


      Claim Construction

93.   I understand that the District Court has construed the claim of the D’087 patent as follows:

          “The D’087 Patent claims the ornamental design of an electronic device as shown in
          Figures 1-48. The broken lines in the D’087 Patent constitute unclaimed subject matter.
          Thus, the D’087 Patent claims the front face, a ‘bezel encircling the front face of the
          patented design [that] extends from the front of the phone to its sides,’ and a flat
          contour of the front face, but does not claim the rest of the article of manufacture.”

      (Dkt. 1425, Order Regarding Design Patent Claim Construction, p.8 (July 27, 2012); Dkt.
      1447, Order Amending Design Patent Claim Construction, p.2 (July 29, 2012); see also
      Dkt. 1903, Final Jury Instruction No. 43, at p. 59 (Aug. 21, 2012).)


      Prior Art References

94.   I have reviewed the prosecution history and prior art references cited by the D’087 patent.

95.   There are 102 prior art references cited on the face of the D’087 patent. 56 are U.S. patent
      documents (including 48 design patents), 6 are foreign patent documents, and 40 are references
      from other publications.

96.   I have reviewed each of the publicly available references and have attached as Exhibit C a chart
      summarizing them.


      Apple Products That Practice the D’087 Patent

97.   I understand that the named inventors of the D’087 patent were Apple designers who worked on
      the original iPhone, and that they invented the claimed design in connection with their work in
      conceiving and developing the original iPhone. (Dkt. 1547 at 471-474 (Stringer); Dkt. 1841 at 2838
      (Howarth); De Iullis 2011 Dep. 150:10-151:10.)

98.   In my opinion, at least the following Apple products practice the design claimed in the D’087 patent:
      the original iPhone, the iPhone 3G, and the iPhone 3GS. These iPhones have an overall visually
      appearance that is substantially the same as the claimed design. As can be seen in the photos
      below, each of these iPhones has the straight edges and rounded corners, the glass front face
      extending from edge-to-edge of the device, and the same relative proportions, and a bezel of equal
      width surrounding on all sides as is claimed by the D’087 patent:




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               iPhone (1st generation)                                      iPhone 3G




                                                iPhone 3GS

99.   Two of the named inventors on the D’087 patent have confirmed that the original iPhone, the
      iPhone 3G, and the iPhone 3GS each practice the D’087 patent, but that the iPhone 4 and the
      iPhone 4S do not. (Dkt. 1547 at 473 (Stringer); Howarth 2017 Dep. 51:12-52:15.)


APPLE’S D’677 PATENT

      Title, Claim, Written Description, and Figures

100. U.S. Patent D618,677, hereafter referred to as the D’677 patent, is titled “ELECTRONIC DEVICE.”
     The application was filed on November 18, 2008 (as a continuation of a patent application
     29/270,888 filed on January 5, 2007), and the D’677 patent issued June 29, 2010. The D’677
     patent was assigned to Apple Inc.

101. The claim of the D’677 patent is “[t]he ornamental design of an electronic device, as shown and
     described.”

102. The written description of the D’677 patent states:
          The claimed surface of the electronic device is illustrated with the color designation for
          the color black.

          The electronic device is not limited to the scale shown herein. As indicated in the title,
          the article of manufacture to which the ornamental design has been applied is an
          electronic device, media player (e.g., music, video, and/or game player), media storage
          device, a personal digital assistant, a communication device (e.g., cellular phone), a
          novelty item or toy.

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103. The D’677 patent includes eight figures which show an electronic device. Figure 1 is a “front
     perspective”, with the front face facing up.




104. Figure 2 is a “rear perspective” with the back surface facing up.




105. Figures 3-8 are orthographic views which show the front, rear, top, bottom, left side, and right side
     of an electronic device. These figures are shown here in standard orthographic third angle
     projection:




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                                   Figures 3 through 8 from D’677 patent.

106. Figures 1 through 8 include two perspective views and six orthographic views of an entire
     ‘electronic device’. These views are sufficient to allow a designer of ordinary skill in the art to make
     and use an entire ‘electronic device’ which embodies the claimed design.
107. The top surface is shown in black lines to indicate what it is being claimed. The back and sides are
     shown in broken line to indicate that it is unclaimed. The rectangular screen and capsule shaped
     speaker aperture circular button on the front surface are claimed, and the round button is
     unclaimed.
108. As I note above, the portions of the products depicted in broken lines are not claimed. But those
     broken-line diagrams do provide context for the claimed portions, indicating that the claimed design
     shown is being applied to an entire electronic device. (Howarth 2017 Dep. at 178:10-18 (“Q. What
     guidance do we get from them about the article of manufacture, these three patents? A. That
     they're products. They're a phone. … [T]here's images of it right here as well of -- of a full device.”).)

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109. I note that it is not uncommon for design patent to depict both claimed and unclaimed elements.
     Samsung has patents for designs of electronic devices that similarly denote unclaimed materials
     with dotted lines. Samsung’s designer Jinsoo Kim confirmed that Samsung design patents,
     including some of his own, disclaim certain materials with dotted lines. (J. Kim 2017 Dep. 52:9-15,
     90:25-91:4.)


      Claim Construction

110. I understand that the District Court has construed the claim of the D’677 patent as follows:

          “The D’677 Patent claims the ornamental design of an electronic device as shown in
          Figures 1-8. The broken lines in the D’677 Patent constitute unclaimed subject matter.
          The use of ‘solid black surface shading’ on the D’677 Patent represents the color black.
          The use of oblique line shading on the D’677 Patent is used to show a transparent,
          translucent, or highly polished or reflective surface.”

      (Dkt. 1447, Order Amending Design Patent Claim Construction, p.2 (July 29, 2012)
      (emphasis added); see also Dkt. 1425, Order Regarding Design Patent Claim Construction,
      p.9 (July 27, 2012); Dkt. 1903, Final Jury Instruction No. 43, at p. 59 (Aug. 21, 2012); Dkt.
      2784, Final Jury Instruction No. 29, at p. 37 (Nov. 18, 2013).)


      Prior Art References

111. I have reviewed the prosecution history and prior art references cited by the D’677 patent.

112. There are 112 prior art references cited on the face of the D’677 patent. 73 are U.S. patent
     documents (including 63 design patents), 6 are foreign patent documents, and 33 are references
     from other publications. Many of these references are also listed on the face of the D’087 patent.

113. I have reviewed each of the publicly available references and have attached as Exhibit D a chart
     summarizing them.


      Apple Products That Practice the D’677 Patent

114. I understand that the named inventors of the D’677 patent were Apple designers who worked on
     the original iPhone, and that they invented the claimed design in connection with their work in
     conceiving and developing the original iPhone. (Dkt. 1547 at 471-474 (Stringer); Dkt. 1841 at 2838
     (Howarth); De Iullis 2011 Dep. 164:18-165:3.)

115. In my opinion, at least the following Apple products practice the design claimed in the D’677 patent:
     the original iPhone, the iPhone 3G, the iPhone 3GS, the iPhone 4, and the iPhone 4S. These
     iPhones have an overall visually appearance that is substantially the same as the claimed design.
     As can be seen in the photos below, each of these iPhones has the straight edges and rounded
     corners, the black front face, the glass front face extending from edge-to-edge of the device, and
     the same relative proportions claimed by the D’677 patent:




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              iPhone (1st generation)                                   iPhone 3G




                   iPhone 3GS                                            iPhone 4




                                              iPhone 4S


116. Two of the named inventors on the D’677 patent have confirmed that the original iPhone, iPhone
     3G, the iPhone 3GS, the iPhone 4, and the iPhone 4S each practice the D’677 patent. (Dkt. 1547 at
     474, 507 (Stringer); Howarth 2017 Dep. 49:3-50:10.)


SAMSUNG’S APPROPRIATION OF APPLE’S DESIGNS

117. Before the launch of the iPhone, Samsung’s phones—like others in the industry—featured different
     form factors, often with antennas and external buttons or keyboards. These are photographs of
     some of Samsung’s phones before the iPhone (PX3A.1):
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118. Documents provided by Samsung show that after the iPhone launch Samsung took notice of the
     iPhone’s design.

           a. A September 2007 Samsung document reported on the “iPhone Effect” and observed
              that among the “Factors that Could Make iPhone a Success” was its “beautiful design.”
              (PX34 at 16.)

           b. A December 2008 presentation done by Gravity Tank in collaboration with Samsung
              described the iPhone as “a revolution,” stating that its “[s]creen-centric design has set the
              standard for touch,” and remarking that the iPhone is “beautiful,” and that “[t]he whole
              phone is the screen.” (PX36 at 20, 31.) The presentation also stated that “Apple has
              overtaken Samsung as the most stylish brand overall.” (PX36 at 32.) Throughout the
              presentation are images of the iPhone. (E.g., PX36 at 20-24, 29, 36.)

119. Samsung designed many smartphones after the introduction of the iPhone. These designs were
     varied, with large touch displays, and did not look much like the iPhone design. These are
     photographs of some of Samsung’s phones launched after the iPhone but before the launch of
     Samsung’s infringing products (PX3A.2):




120. I understand that during the time these phones were released, Samsung’s share of the U.S.
     smartphone market was declining. (PDX34B.9.)

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121. In February 2010, an internal email was sent to Samsung’s mobile communications division
     summarizing an “Executive-Level Meeting Supervised by Head of Division.” (PX40.) The email
     states that “[t]he iPhone has become the standard” and that the division head was hearing things
     like “[l]et’s make something like the iPhone.” (PX40 at 3.) He observed that “[t]he look and feel of a
     product matters most,” and that Samsung was experiencing “a crisis of design.” (PX40 at 3, 5.)

122. These are photographs of some of the infringing phones that Samsung released after the iPhone
     (PX3A.3):




123. When Samsung released its infringing products, commentators remarked on the striking similarities
     to Apple’s iPhone. Many of the commentators noted the similarities between the designs of the
     phones.

            a. A PCWorld article reviewing the Samsung Galaxy S phone indicated that the reviewer
               was “surprised by how familiar it looked,” explaining that the Galaxy S “design is actually
               very iPhone 3GS-like.” (PX6.1.)

            b. A Washington Post article reviewing the Samsung Vibrant phone observed that “the
               Vibrant resembles an iPhone 3GS.” (PX6.1.)

            c.    A Wired article reviewing the Samsung Vibrant phone and titled “First Look: Samsung
                  Vibrant Rips Off iPhone 3G Design” stated that “[t]he Vibrant’s industrial design is
                  shockingly similar to the iPhone 3G: The rounded curves at the corners, the candybar
                  shape, the glossy, black finish and the chrome-colored metallic border around the
                  display.” (PX174.1; PX6.1.) The article also described the Vibrant as having a “derivative
                  design” and stated that “there’s little to make the phone notable, apart from its striking
                  similarity to the iPhone.” (PX174.1-2; PX6.1.) The article included photos of the two
                  phones side-by-side, saying “[c]heck out the photo of the Samsung Vibrant next to the
                  iPhone 3G below.” (PX174.2; PX6.1.)




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     d. A Laptop article reviewing the Samsung Vibrant phone stated that “[a]t a glance, the
        chrome-like border, edge to edge glass display (overlying black plastic), and curved
        candy bar shape of the Vibrant could easily be mistaken for the iPhone 3GS.” (PX6.1-.2.)

     e. A MobileTechReview article reviewing the Samsung Vibrant phone stated that “[a]t first
        glance, the Vibrant looks like a thinner iPhone 3GS, complete with curved plastic back
        and a front face dominated by glass and a black surround.” (PX6.2.)

     f.    A Wall Street Journal article reviewing two Samsung phones, including the Vibrant,
           stated that “[t]he T-Mobile Vibrant has rounded corners and a prominent border that
           make it look very much like last year’s iPhone 3GS model.” (PX6.2.)

     g. An AndroidCentral review of the Samsung Vibrant phone stated that “[t]he Samsung
        Vibrant inevitably will be compared to previous versions of the iPhone, thanks to its
        rounded corners and plastic shell.” (PX6.2.) It also stated: “Don’t worry that it sort of looks
        like the iPhone.” (PX6.2.)

     h. A Digital Trends review of the Samsung Vibrant phone stated that “[w]ith its front silver
        frame, the smooth, rounded Vibrant bears a resemblance to the first iPhone.” (PX6.2.)

     i.    A review of the Samsung Vibrant phone by The Review Crew noted: “Samsung’s Galaxy
           S Vibrant is one sleek looking phone. In fact when I first unboxed it at the office many
           walked by and asked if it was an iPhone.” (PX6.3.)

     j.    A TechRepublic review of the Samsung Vibrant phone observed that it “has an attractive
           — if not flashy — look. The designers were obviously mimicking the look of the old
           iPhone (pre-iPhone 4) with the chrome edge around the screen and the plastic backing.”
           (PX6.3.)

     k.     A Pocketnow review of the Samsung Vibrant phone stated that the Vibrant was “the
           most blatant iPhone clone we’ve seen so far. The hardware, the software UI all scream
           iPhone clone.” (PX6.4.)

     l.    A PC World review of the Samsung Mesmerize phone observed that “its sleek and
           streamlined design feels very reminiscent of the iPhone 3GS.” (PX177.1; PX6.4.)

     m. A TechRepublic review of the Samsung Fascinate phone stated “The Fascinate is
        remarkably slim and attractive. It is reminiscent of the iPhone 4 in that regard, although
        not made of the same top-notch materials.” (PX6.3.)
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            n. A PCWorld article describing the Samsung Galaxy S II phone stated: “If the Samsung
               Galaxy S II looks familiar it’s because it resembles Apple’s popular iPhone 4” (PX6.4.)

124. Apple’s designers and executives testified that they also noticed the similarities and were shocked
     when Samsung introduced phones that copied the design of Apple’s iPhones.

            a. Christopher Stringer, an Apple designer who worked on the original iPhone, testified it
               was “plain to see” that Apple had “been ripped off” by Samsung. (Dkt. 1547 at 509-510.)

            b. Richard Howarth, another iPhone designer, similarly testified that “[i]t was shocking how -
               - how blatant it seemed that they had been, quite brazen. It was a clear ripoff.” (Howarth
               2017 Dep. 177:17-20.)

            c.    Tony Blevins described his reaction to first seeing Samsung sell phones that looked like
                  the iPhone as “shock,” “disbelief” and “anger”: “They copied us. They didn’t innovate.
                  They copied us.” (Blevins 2017 Dep. 208:25-210:5; id. at 214:4-7 (“What I believe is
                  Samsung produced a number of phones that were direct copies and knockoffs of Apple
                  phones ….”).)

            d. Phil Schiller testified that upon seeing a Samsung Galaxy S phone, his “first thought was,
               wow, they’ve completely copied the i[P]hone.” (Dkt. 2842 at 850; id. at 868 (“What I recall
               at the time was seeing a photo of [the Vibrant] and reading a story about it and feeling
               that they’re – that Samsung is now on a strategy of copying our entire product line.”).)

125. I understand that after Samsung’s introduced the infringing phones, thereby taking the identity
     Apple had created for the iPhone and trying to apply it to its own phones, Samsung’s share of the
     U.S. smartphone market increased dramatically. (PDX34B.9; Dkt. 1839 at 2043-2045.)

126. I understand that in August 2010, Apple representatives met with Samsung representatives and
     gave a presentation regarding “Samsung’s Use of Apple Patents in Smartphones” that included
     slides regarding the similarity between the design of Samsung’s Galaxy S phones and the iPhone.
     (PX52.1, .17-19.)


SAMSUNG’S INFRINGING PRODUCTS

127. I understand that a jury found that twelve Samsung phones infringe the D’677 patent (Dkt. 1931,
     Amended Verdict at 6):




       Fascinate (JX1013)                 Galaxy S i9000 (JX1007)             Galaxy S 4G (JX1019)




   Galaxy S II, AT&T (JX1031)           Galaxy S II, i9100 (JX1032)       Galaxy S II, T-Mobile (JX1033)
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    Galaxy SII Epic 4G Touch          Galaxy S II Skyrocket (JX1035)         Galaxy S Showcase, i500
            (JX1034)                                                                (JX1017)




       Infuse 4G (JX1027)                  Mesmerize (JX1015)                    Vibrant (JX1010)


128. I understand that a jury found that three Samsung phones also infringe the D’087 patent (Dkt. 1931,
     Amended Verdict at 6):




     Galaxy S i9000 (JX1007)              Galaxy S 4G (JX1019)                   Vibrant (JX1010)


129. I understand that there were no sales of either the Galaxy S i9000 (JX1007) or Galaxy S II, i9100
     (JX1032) in the United States during the relevant period and that the jury at the upcoming trial will
     not be asked assess damages for these two products. However, I have included them in my
     analysis for the sake of completeness since they were found by a jury to infringe the D’677 and
     D’087 patents.




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“ARTICLE OF MANUFACTURE” ANALYSIS FOR SAMSUNG PRODUCTS FOUND TO INFRINGE
APPLE’S D’087 AND D’677 PATENTS

130. I have been asked to provide my opinion regarding the identity of the “article of manufacture” to
     which Samsung applied the D’087 and D’677 patents’ claimed designs. In addressing this question,
     I have considered the facts, testimony, and evidence in this case and applied the four-factor test set
     forth by the District Court. I understand that all four factors should be considered and one cannot,
     for example, simply stop the inquiry at the scope of the claimed design.

131. I have separately analyzed the article of manufacture for each Samsung product found to infringe
     the D’087 patent and for each Samsung product found to infringe the D’677 patent. However,
     because there is much overlap in the evidence and analysis for the products found to infringe these
     patents, I address them in many places together in my analysis below.

132. For the reasons discussed in this report, it is my opinion that the infringing Samsung phones, in
     their entirety, are the things to which the patented designs have been applied, and therefore the
     entire phones are the articles of manufacture.

133. As explained below, each and every one of the four factors individually supports my opinion that the
     articles of manufacture are the Samsung infringing phones in their entirety. It is also my opinion that
     the four factors, considered collectively, lead to the same conclusion.

134. I disagree with Samsung’s contention that just a component, or components, of the infringing
     phones should be considered the article of manufacture.

            a. I understand that, for the products found to infringe the D’087 patent, Samsung contends
               that the article of manufacture “consists of the round-cornered, glass front face and
               surrounding rim or bezel of each phone.” (Samsung’s Objections & Responses to Apple’s
               First Set of Interrogatories Regarding Articles of Manufacture, Response to Interrogatory
               No. 2, at p.15 (Nov. 29, 2017).)

            b. I understand that, for the products found to infringe the D’677 patent, Samsung contends
               that the article of manufacture “consists of the black, round-cornered, glass front face of
               each phone.” (Samsung’s Objections & Responses to Apple’s First Set of Interrogatories
               Regarding Articles of Manufacture, Response to Interrogatory No. 1, at p.5 (Nov. 29,
               2017).)

      I disagree with Samsung’s definitions of the articles of manufacture because, for the reasons
      explained in this report, Samsung applied the D’087 and D’677 designs to the infringing phones
      and the phones, in their entirety, are the articles of manufacture.

135. As an initial matter, I understand that a jury found that three Samsung phones infringe the D’087
     patent and twelve infringe the D’677 patent. I have shown these phones previously in this report in
     paragraphs 127 and 128. I have also obtained all of these phones and inspected them.
136. I understand that the jury was shown pictures of the infringing phones and was provided with the
     actual phones in person while conducting deliberations. The jury was not provided with any of the
     components that Samsung alleges are the articles of manufacture separated from the rest of the
     phone.

137. Excerpts from the jury verdict form are shown below. For both the D’087 and D’677 patents, the
     verdict form identifies the infringing Samsung “products,” not merely components of those products,
     where it asks about infringement “[f]or each of the following products” and lists each “Accused
     Samsung Product.” It is my opinion that this indicates that the jury believed that Samsung had
     applied the claimed designs to the infringing phones.


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                                         Dkt. 1931, Amended Verdict at 6

138. Consistent with the jury’s verdict, an analysis of the four factors set forth by the District Court
     demonstrates that the articles of manufacture to which Samsung applied the D’087 and D’677
     designs are the infringing phones in their entirety.


      Factor 1: “The Scope of the Design Claimed in Apple’s Patent, Including the Drawing and
      Written Description”

139. The first factor that I considered in my article of manufacture analysis is “the scope of the design
     claimed in Apple’s patent, including the drawing and written description.” (Dkt. 3530, Order
     Requiring New Trial (Oct. 22, 2017) at 35.)

140. For the reasons discussed below, it is my opinion that every section of the D’087 patent indicates
     that the article of manufacture to which the claimed design is applied is an entire electronic device,
     such as a phone, and not just a portion of the device. This factor therefore supports my conclusion
     that the article of manufacture is the entire phone for each Samsung phone found to infringe the
     D’087 patent.

141. For similar reasons, it is also my opinion that every section of the D’677 patent indicates that the
     article of manufacture to which the claimed design is applied is an entire electronic device, such as
     a phone, and not just a portion of the device. This factor therefore supports my conclusion that the
     article of manufacture is the entire phone for each Samsung phone found to infringe the D’677
     patent.

           The D’087 patent

142. As noted earlier in this report, the title of the D’087 patent is “ELECTRONIC DEVICE.” It does not
     refer to only a portion of an electronic device. I understand that a design patent’s title refers to an
     article of manufacture. I further understand that according to the Manual for Patent Examining
     Procedure (MPEP), the title of a design patent “may be directed to the entire article embodying the
     design while the claimed design shown in full lines in the drawings may be directed to only a portion
     of the article.” (MPEP § 1503.01.) That is the case with the D’087 patent where the title indicates
     that the article of manufacture embodying the design is the entire electronic device, while the
     claimed design when in full lines is directed to only a portion of the article.
143. The claim of the D’087 patent is for “[t]he ornamental design of an electronic device, substantially
     as shown and described.” It does not say that the claim is for the ornamental design of only a
     portion of an electronic device. This suggests that the claimed design is meant to cover a design
     that is applied to an entire electronic device, not just a portion. The claim of the D’087 suggests that
     the entire electronic device that the claimed design is applied to is the article of manufacture.
144. The District Court has construed the claim of the D’087 patent as follows:
          “The D’087 Patent claims the ornamental design of an electronic device as shown in
          Figures 1-48. The broken lines in the D’087 Patent constitute unclaimed subject matter.
          Thus, the D’087 Patent claims the front face, a ‘bezel encircling the front face of the
          patented design [that] extends from the front of the phone to its sides,’ and a flat
          contour of the front face, but does not claim the rest of the article of manufacture.”
      (Dkt. 1425, Order Regarding Design Patent Claim Construction (July 27, 2012) at 8; Dkt.
      1447, Order Amending Design Patent Claim Construction (July 29, 2012) at 2.)
145. In its claim construction of D’087 patent, the District Court refers to “the ornamental design of an
     electronic device.” This indicates that the claimed design is applied to an electronic device, not
     just a component of the device. The Court’s claim construction later states that the patent does not
     claim “the rest of the article of manufacture.” This makes clear that the article of manufacture is not
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      limited to just the claimed portions of the electronic device, and it includes the unclaimed portions of
      the electronic device as well.
146. While the solid lines and broken lines indicate claimed and unclaimed subject matter, respectively,
     the article of manufacture to which the claimed design is applied is not limited to the solid lines. The
     District Court has said that “the relevant article of manufacture may extend beyond the scope of the
     claimed design” and that “[t]his principle is evident from the text of § 289,” which says that
     “‘[w]however during the term of a patent for design … applies the patented design … to any article
     of manufacture ….’” (Dkt. 3530, Order Requiring New Trial (Oct. 22, 2017) at 17.)
147. Further, the District Court’s claim construction is clear that the claimed design is for “an electronic
     device” as shown in the figures. The D’087 patent includes 48 figures. The figures show all views of
     the entire product, in six embodiments of the design. The figures do not show only a portion, or
     component or components, of the device.
148. The first eight figures of the D’087 patent, showing the first embodiment of the design are shown
     here. The rest of the figures were shown previously in this report in paragraphs 80-90.




                                  Figures 1 through 8 from D’087 patent.


149. The written description of the D’087 patent states, for example, that “FIG. 1 is a front perspective
     view of an electronic device in accordance with the present invention,” and the other figures
     provide different views “thereof.” There is no written indication in the description of the 48 figures
     that suggests they are showing only a portion of an electronic device. All of the figures indicate that
     the claimed design is applied to the electronic device as a whole.
150. Every figure in the D’087 patent shows an entire electronic device, and together the figures show all
     sides of the electronic device including the front, rear, top, bottom, left, and right sides.
151. The electronic device seen in the 48 patent figures is drawn in solid and broken lines. The solid
     lines indicate the claimed areas and the broken lines indicate unclaimed areas. The front (or top)
     surface of the device and the surrounding bezel is drawn in solid lines can be seen in all of the
     figures except those which primarily show the back of the product (figures 2, 4, 10, 12, 18, 20, 26,
     28, 34, 36, 42, and 44). The only credible reason these views, which do not show the claimed
     design, were included is that they indicate the entire “electronic device” to which the design is
     applied. It is my opinion that these views have been included by the inventor/designer, even though
     they do not show the claimed areas, because they completely show the entire “electronic device”
     which is the “article of manufacture” of the design patent.
152. I understand that a Designer of Ordinary Skill in the Art (DOSA) must be able to make and use the
     design being claimed by the patent. It is my opinion that a DOSA, seeing the drawings in the D’087
     patent would recognize that the claimed design is for an electronic device such as a phone, not just
     part of an electronic device. A DOSA would recognize if the claimed design, shown in solid black
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      lines, was applied to an electronic device, as clearly shown in the patent drawings, the article of
      manufacture would clearly be the entire electronic device.

           The D’677 patent

153. As noted earlier in this report, the title of the D’677 patent is “ELECTRONIC DEVICE.” It does not
     refer to only a portion of an electronic device. I understand that a design patent’s title refers to an
     article of manufacture. I further understand that according to the MPEP, the title of a design patent
     “may be directed to the entire article embodying the design while the claimed design shown in full
     lines in the drawings may be directed to only a portion of the article.” (MPEP § 1503.01.) That is the
     case with the D’677 patent where the title indicates that the article of manufacture embodying the
     design is the entire electronic device, while the claimed design when in full lines is directed to only
     a portion of the article.

154. The claim of the D’677 patent is for “[t]he ornamental design of an electronic device, as shown
     and described.” It does not say that the claim is for the ornamental design of only a portion of an
     electronic device. This indicates that the claimed design is meant to cover a design that is applied
     to an entire electronic device, not just a portion. The claim of the D’677 indicates that the entire
     device that the claimed design is applied to is the “article of manufacture”.

155. The District Court has construed the claim of the D’677 patent as follows:

          “The D’677 Patent claims the ornamental design of an electronic device as shown in
          Figures 1-8. The broken lines in the D’677 Patent constitute unclaimed subject matter.
          The use of solid black surface shading on the D’677 Patent represents the color black.
          The use of oblique line shading on the D’677 Patent is used to show a transparent,
          translucent, or highly polished or reflective surface.”

      (Dkt. 1447, Order Amending Design Patent Claim Construction (July 29, 2012) at
      2(emphasis added); see also Dkt. 1425, Order Regarding Design Patent Claim
      Construction (July 27, 2012) at 9; Dkt. 1903, Final Jury Instructions (Aug. 21, 2012) at No.
      43, p. 59; Dkt. 2784, Final Jury Instructions (Nov. 18, 2013) at No. 29, at p. 37.)

156. While the solid lines and broken lines indicate claimed and unclaimed subject matter, respectively,
     the article of manufacture to which the claimed design is applied is not limited to the solid lines. The
     District Court has said that “the relevant article of manufacture may extend beyond the scope of the
     claimed design” and that “[t]his principle is evident from the text of § 289,” which says that
     “‘[w]however during the term of a patent for design … applies the patented design … to any article
     of manufacture ….’” (Dkt. 3530, Order Requiring New Trial (Oct. 22, 2017) at 17.)

157. The Manual of Patent Examining Procedure (MPEP) states that:

            “The two most common uses of broken lines are to disclose the environment related
            to the claimed design and to define the bounds of the claim. Structure that is not part
            of the claimed design, but is considered necessary to show the environment in which
            the design is associated, may be represented in the drawing by broken lines. This
            includes any portion of an article in which the design is embodied or applied to
            that is not considered part of the claimed design.” (MPEP § 1503.02)

      This instruction makes clear that the article of manufacture to which the claimed design is applied
      may include portions depicted by broken lines.

158. As Michael Carmichael, an expert with experience at the PTO explained, “[t]he PTO maintains a
     distinction between a claimed design and the article the design is applied to or embodied in: ‘[t]he
     distinction must be maintained between the ornamental design and the article in which the design is


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      embodied.’” An article of manufacture embodying a claimed design may have additional features,
      for example.” Carmichael Report dated April 16, 2012, paragraph 78.

159. Further, the District Court’s claim construction is clear that the claimed design is for “an electronic
     device” as shown in the figures (all of which show the design being applied to an electronic device
     as a whole), and not only a component or components of the device.

160. The D’677 patent includes eight figures. The written description states, for example, that “FIG. 1 is
     a front perspective view of an electronic device in accordance with the present invention,” and the
     other figures provide different views “thereof.” There is no written indication in the description of the
     eight figures that they are showing only a portion of an electronic device. All of the figures indicate
     that the claimed design is applied to the electronic device as a whole.




                                   Figures 1 through 8 for D’677 patent.

161. Every figure in the D’677 patent shows an entire electronic device. The figures show all sides of the
     electronic device including the front, rear, top, bottom, left, and right sides of the electronic device
     or phone.

162. The electronic device seen in the eight patent figures is drawn in solid and broken lines. The solid
     lines indicate the claimed areas and the broken lines indicate unclaimed areas. The front (or top)
     surface of the device is drawn in solid lines, best seen in Figures 1 and 3. Figures 5, 6, 7, and 8
     show the claimed portion as a single black line, as the front (or top) surface would be seen in these
     views. Figures 2 and 4 show the entire electronic device, but do not show any of the claimed areas.
     The only credible reason these views, which do not show the claimed design, were included is that
     they indicate the entire “electronic device” to which the claimed design is applied. It is my opinion
     that these views have been included by the inventor/designer, even though they do not show the
     claimed areas, because they completely show the entire “electronic device” which is the “article of
     manufacture” to which the design is being applied.

163. I understand that a DOSA must be able to make and use the design being claimed by the patent. It
     is my opinion that a DOSA, seeing the drawings in the D’677 patent would recognize that the
     claimed design is for an electronic device such as a phone, not just part of an electronic device. A
     DOSA would recognize if the claimed design, shown in solid black lines, was applied to an
     electronic device, as clearly shown in the patent drawings, the article of manufacture would clearly
     be the entire electronic device.




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164. The written description of the D’677 patent also states that “[t]he claimed surface of the electronic
     device is illustrated with the color designation for the color black.” Once again, this describes the
     claimed design as being applied to an electronic device, not a portion of an electronic device.

165. The written description of the D’677 patent further states:

          “The electronic device is not limited to the scale shown herein. As indicated in the title,
          the article of manufacture to which the ornamental design has been applied is an
          electronic device, media player (e.g., music, video, and/or game player), media
          storage device, a personal digital assistant, a communication device (e.g., cellular
          phone), a novelty item or toy.”

      This section of the written description clearly states that the article of manufacture is an electronic
      device, and gives examples of the types of devices this may include. It explicitly describes that the
      article of manufacture may be a phone. At no point does the D’677 patent describe or suggest that
      the article of manufacture is anything less than an entire electronic device.

166. The Samsung products that have been found to infringe the D’677 patent are all electronic devices.
     (J. Kim 2017 Dep. 55:15-56:7 (Samsung designer agreeing all the infringing phones are electronic
     devices).) All of the examples of the article of manufacture in the written description of the D’677
     patent apply to the infringing Samsung smartphones in their entirety.

           The Prior Art

167. I have examined the prior art references listed by the D’087 and D’677 patents. In my opinion, the
     prior art considered during the prosecution of the patent can help illuminate what the article of
     manufacture is.

168. A summary of the publicly available prior art references listed by the D’087 patent is attached as
     Exhibit C. A summary of the publicly available prior art references listed by the D’677 patent is
     attached as Exhibit D.

169. The prior art design patents cited by the D’087 and D’677 provide additional information relevant to
     the article of manufacture inquiry. Like the D’087 and D’677 patents, these references claim
     ornamental designs and were subject to the same requirements as the D’087 and D’677 patents,
     including the requirement that they identify an article of manufacture to which the claimed design
     may apply.

170. Of the 48 design patent references listed on the D’087 patent, 45 clearly show designs that are
     applied to articles of manufacture that are complete devices. Only 3 of these patents show a design
     patent directed to something less than an entire product, as indicated in their titles, written
     description and drawings.

171. Of the 63 design patent references listed on the D’677 patent, 59 clearly show designs in which the
     entire device is the article of manufacture. Only 4 of these patents show a design patent directed to
     something less than an entire product, as indicated in their titles, written description and drawings.

172. Thus, the great majority of the prior art design patents cited by the D’087 and D’677 patents are for
     designs applied to entire devices. It is my opinion this indicates that the inventors/designers and the
     examiner of the D’087 and D’677 patents recognized that the entire device was the article of
     manufacture and were comparing the designs in these patents to other patents similarly directed to
     entire devices. This is also how a DOSA would understand the D’087 and D’677 patents, in light of
     the cited prior art.

173. In an earlier phase of this case, Samsung’s experts wrote reports and testified at trial claiming that
     the D’087 and D’677 patents were invalid as anticipated, obvious, and functional, and not infringed

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      (as noted above, the jury disagreed and found the patents not invalid). In these reports, Samsung’s
      experts relied on several prior art references that were phones and/or electronic devices. (Sherman
      Report dated March 23, 2012, p. 32 (alleging D’677 design was anticipated by “prior art design
      patents and devices”); Sherman Report dated March 23, 2012, p. 64 (“In considering Apple’s
      infringement claims concerning the D’087 patent, I examined the design patent in comparison to
      other prior art design patents and handset designs.”).) In fact, Samsung’s expert Itay Sherman
      defined the universe of relevant prior art by stating that since those patents claim “a design patent
      for an ‘Electronic Device,’ prior art references do not have to relate to mobile handsets but rather to
      any other electronic device, including but not limited to PDAs, tablets, media players, etc.”
      (Sherman Report dated March 23, 2012, pp. 32, 65.) They did not cite prior art that was just a glass
      front face, just a glass front face plus bezel, or any other part of a phone. This indicates to me that
      Samsung’s own experts recognized that the claimed design applies to an electronic device such as
      a phone, not just one part of an electronic device or phone, and that the entire electronic device or
      phone is the article of manufacture.
174. Itay Sherman, Samsung’s expert regarding infringement and validity of the D’677 and D’087
     patents, also testified that a DOSA for the D’677 and D’087 patents would have “experience in
     designing mobile handsets or generally devices that have touchscreens.” (Dkt. 1840, Trial Tr. at
     2577 (Aug. 14, 2012).) Robert Anders, another Samsung expert who opined regarding infringement
     of the D’677 and D’087 testified that a DOSA for those patents would have “experience In
     designing electronic devices.” Expert Report of Robert John Anders, IDSA dated April 16, 2012,
     at 15. These references to full devices, and not only portions such as glass front faces and/or
     bezels, again indicate that a DOSA would view the entire device or mobile handset as the article of
     manufacture to which the D’087 and D’677 designs are applied based on a reading of the patents
     and their prosecution histories including the cited prior art.

           Apple’s development of the D’087 and D’677 patents

175. Additional evidence from Apple also supports that the D’087 and D’677 patents both describe an
     ornamental design for an entire electronic device, such as a smartphone.

176. As discussed above, Apple’s designers invented the claimed designs as part of their work in
     inventing and developing the original iPhone. Apple’s designers envisioned and described their
     claimed design for a particular product—the iPhone—and did not merely describe or claim a design
     in the abstract. In other words, they created the D’087 and D’677 designs to be applied to an
     electronic device such as a phone, as reflected in the D’087 and D’677 patents. (Howarth 2017
     Dep. 176:4-15 (“Q. Now, you’ve said the article of manufacture for each of these three patents is a
     product like a phone; is that right? A. Right. Q. How does that compare to the way the design group
     operates? I mean, how does that focus on the product compare to the wok you do? A. We’re all
     about the product. We’re not in – we’re not – we don’t design individual parts. Our goal is to create
     a thing, a tool, a whole product that people can use so that – so that they can do things that they
     couldn’t before”); id. at 167:11-19 (“A … We start with a goal. We start with a product, and then we
     see how to achieve it. So we get all the components that we can and try and make them do what
     we need them to do and still be a compelling product, and you can’t do that with off-the-shelf parts.
     Q. And when you refer to this product that is the goal, what are you referring to? A. Well, the
     iPhone in this case.”); PX163 (early iPhone sketches by Christopher Stringer); PX165 (CAD design
     of early iPhone model); PX166 (CAD design of early iPhone model).)

177. As also discussed above, Apple’s original iPhone, iPhone 3G, and iPhone 3GS practice both the
     D’087 and D’677 patents and the iPhone 4 and iPhone 4S also practice the D’677 patent. For each
     of those products, Apple applied the claimed design to the entire smartphone product and not
     merely to a component or components of the product.

178. Richard Howarth, Apple’s Senior Director of Design and one of the inventors of the D’087 and
     D’677 patents, testified that the article of manufacture for each patent is the phone as a whole.

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             a. Howarth 2017 Dep. 174:18-24 (“Q. What is the article of manufacture to which that
                design is applied – A. An iPhone. Q. -- in the context of this [D’087] patent? A. A phone.
                Q. A product? A. Yes, a product.”).

             b. Howarth 2017 Dep. 173:10-174:1 (“Q And could you read that sentence [from the D’677
                patent] out loud? A. ‘As indicated in the title, the article of manufacture to which the
                ornamental design has been applied is an electronic device, media player, music, video
                and/or game player, media storage device, a personal digital assistance, a
                communication device, e.g., cellular phone, a novelty item or a toy.’ Q. And what is that
                list a list of? A. Products, things, you know, electronic devices. Q. So the claim is
                directed to a design; is that right? A. Yes. Q. But the patent specifically says the article of
                manufacture is what? A. A product, the -- the phone.”).

             c.    Howarth 2017 Dep. 178:10-18 (“Q. What guidance do we get from them about the article
                   of manufacture, these three patents? A. That they're products. They're a phone. I mean,
                   it's -- what guidance? It says -- it says that there's a -- it's an electronic device.
                   Ornamental design of an electronic device. It's -- there's -- there's images of it right here
                   as well of -- of a full device. I mean, that's some of the -- is that what you mean?”).)

179.    Daniele De Iullis, another inventor of the D’087 and D’677 patents testified that “the purpose [of the
       D’087 patent] is to patent the design of one of [Apple’s] products … In this particular case, it’s the
       first-generation iPhone.” (De Iullis 2011 Dep. 150:10-151:10.) He likewise confirmed the D’677 is “a
       design patent for an iPhone.” (De Iullis 2011 Dep. 164:18-165:3.)


       Factor 2: “The Relative Prominence of the Design Within the Product as a Whole”

180. The second factor that I considered in my article of manufacture analysis is “the relative
     prominence of the design within the product as a whole.” (Dkt. 3530, Order Requiring New Trial
     (Oct. 22, 2017) at 35.)

181. For the reasons discussed below, it is my opinion that the design claimed in the D’087 patent—
     including the overall shape of the front face of the phone, including the straight edges and rounded
     corners, the glass front face extending from edge-to-edge of the device, and the surrounding bezel
     which extends around the edge to the sides—is very prominent within the infringing Samsung
     products as a whole.

182. It is similarly my opinion that the design claimed in the D’677 patent—including the overall shape of
     the front face of the phone, including the straight edges and rounded corners, the glass front face
     extending from edge-to-edge of the device, and the black front face—is very prominent within the
     infringing Samsung products as a whole.

183. This factor therefore supports my conclusion that the articles of manufacture to which Samsung
     applied the D’087 and D’677 designs are the Samsung infringing phones in their entirety.

            Visual analysis of Samsung’s infringing phones

184. I have examined all of the infringing Samsung phones. I have held every phone in my hand and
     carefully examined each phone from all sides. I have considered how an ordinary observer would
     see the phone and use the phone. I have also studied photographs of the infringing phones from all
     sides, including from angles similar or the same as those seen in the patent drawing figures.
     Photographs of the infringing phones from the angles shown in the D’087 and D’677 patents are
     attached as Exhibit E.



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                Samsung phones found to infringe the D’087 patent

185. The jury found that three Samsung smartphones—the Galaxy S, i9000 (JX1007), the Galaxy S 4G
     (JX1019), and the Vibrant (JX1010)—infringe the D’087 patent. I have examined these three
     phones, which are shown here:




       Galaxy S i9000 (JX1007)            Galaxy S 4G (JX1019)                 Vibrant (JX1010)


186. The D’087 design—including the overall shape of the front face of the phone, including the relative
     proportions, straight edges and rounded corners, the glass front face extending from edge-to-edge
     of the device, and the surrounding bezel which extends around the edge to the sides—is very
     prominent in these three infringing Samsung phones, and contributes greatly to their overall
     appearance. These are primary design features that are noticed quickly when looking at the
     products and contribute significantly to the look of the infringing phones as a whole. The claimed
     design influences the shape and size of other portions of the infringing phones, for example by
     defining the general shape of the device. The claimed design also serves to differentiate the
     infringing phones from other phone designs (see paragraphs 53-75, 117-122 above).
187. Having examined the three Samsung phones that the jury found to infringe the D’087 patent, it is
     my opinion that the D’087 design is extremely prominent within the infringing products as a whole,
     and this factor supports the conclusion that the article of manufacture is the entire infringing phone.

                Samsung phones found to infringe the D’677 patent

188. The jury found that the same three Samsung smartphones shown above—the Galaxy S, i9000
     (JX1007), the Galaxy S 4G (JX1019), and the Vibrant (JX1010)—infringe the D’677 patent. I have
     examined these phones in regard to the D’677 patent as well.
189. The jury also found that the Samsung Galaxy S phones Fascinate (JX1013), Showcase (JX1017),
     and Mesmerize (JX1015) infringe the D’677 patent. I have examined these phones, which are
     shown here, in regard to the D’677 patent:




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            Galaxy S                        Galaxy S                          Galaxy S
       Fascinate (JX1013)               Showcase (JX1017)                 Mesmerize (JX1015)


190. The jury also found that Samsung Galaxy SII phones—Galaxy S II AT&T (JX1031), Skyrocket
     (JX1035), and Infuse 4G (JX1027)—infringe the D’677 patent. I have examined these phones,
     which are shown here, in regard to the D’677 patent:




           Galaxy S II                       Galaxy S II                      Galaxy S II
         AT&T (JX1031)                   Skyrocket (JX1035)               Infuse 4G (JX1027)


191. The jury also found that additional Samsung Galaxy SII phones—Galaxy S II i9100 (JX1032),
     Galaxy S II T-Mobile (JX1033), and Galaxy S II Epic 4G Touch (JX1034)—infringe the D’677
     patent. I have examined these phones, which are shown here, in regard to the D’677 patent:

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            Galaxy S II                        Galaxy S II                          Galaxy S II
          i9100 (JX1032)                    T-Mobile (JX1033)                 Epic 4G Touch (JX1034)


192. The D’677 design—including the overall shape of the front face of the phone, including the relative
     proportions, straight edges and rounded corners, the glass front face extending from edge-to-edge
     of the device, and the black front face—is very prominent in these twelve infringing Samsung
     phones, and contributes greatly to their overall appearance. These are primary design features that
     are noticed quickly when looking at the products and contribute significantly to the look of the
     infringing phones as a whole. The claimed design influences the shape and size of other portions of
     the infringing phones, for example by defining the general shape of the device. The claimed design
     also serves to differentiate the infringing phones from other phone designs (see paragraphs 53-75,
     117-122 above).
193. Having examined the twelve Samsung phones that the jury found to infringe the D’677 patent, it is
     my opinion that the D’677 design is extremely prominent within the infringing products as a whole,
     and this factor supports the conclusion that the article of manufacture is the entire infringing phone.

           How ordinary observers perceived Samsung’s infringing phones

194. I have also considered the perspective of ordinary observers in assessing the prominence of the
     D’087 and D’677 designs within Samsung’s infringing phones. I reviewed and considered internal
     Samsung documents, deposition testimony, and comments made by industry reviewers and
     consumers as evidence relevant to how an ordinary observer would perceive the asserted D’087
     and D’677 designs with respect to the Samsung infringing products as a whole. This evidence
     provides further support for my opinion that the infringing designs of the D’087 and D’677 patents
     are hugely prominent within the Samsung infringing products as a whole.
195. As discussed previously in this report, prior to the introduction of the iPhone, smartphones typically
     had numeric keypads and/or QWERTY keyboards. Many also had either a ‘flip’ or ‘slider’ form
     factor. The user often controlled the phone with a cursor control device or a stylus on the screen,
     with data entry through the keyboard or keypad. Sometimes these features were on the front of the
     phone and sometimes they were on the side. A sliding smartphone actually changed shape,
     depending on how it was being used at the time. The front of these phones greatly determined their
     overall design, but other features and articulating parts beside the front surface contributed to the
     overall design.

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196. The iPhone was the first successful smartphone to use a large capacitive touchscreen, through
     which the user controlled the phone and entered data. This eliminated the need for a keyboard, key
     pad, cursor control buttons, and stylus. The entire front surface of the iPhone was a display and an
     input device.
197. The same is true of the infringing Samsung phones. Virtually all of the interaction the user has with
     the infringing phones is done through the front face of the phone. The user must interact with the
     front face in order to unlock the infringing phones, make phone calls, read or write text messages,
     browse the web, etc.
198. The front face of the infringing phones is clearly the most important, most viewed, and most
     manipulated side of the devices, and the appearance of the front side, more than any other side or
     even all sides together, determines the overall design of the smartphone in the eyes of an ordinary
     observer.
199. Both the D’087 and D’677 patents claim ornamental designs of the front face, which is clearly the
     most prominent side of the infringing Samsung phones. Both of these designs cover the entire
     surface area of the front face of the phone. This is by far the most important viewpoint of the entire
     device. It is the perspective that is most often viewed when the phone is being used. An ordinary
     observer would recognize the product by looking at the front surface, not the back or sides.

200. A consumer’s first interaction with the infringing products commonly would have been through
     marketing from Samsung. When Samsung marketed the infringing phones, it did so in a way that
     showcased the front faces, including the D’087 and D’677 designs.

            a. The following advertisement for Samsung’s Infuse 4G phone is illustrative
               (SAMNDCA00311548):




                The views of the device shown in the advertisement are from angles identical to two of
                the figures in the D’677 patent. The largest, most salient image is a head-on view of the
                front face, which embodies the D’677 design.

            b. Similarly, marketing collateral for the Galaxy S II Epic 4G Touch prominently featured the
               phone’s front face including the D’677 design (SAMNDCA00311971):




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     c.    A television advertisement featuring a Galaxy S II user conversing with friends who are
           waiting in line to purchase a new iPhone also shows the prominence of the D’677 design.
           The Galaxy S II user remarks on the phones “sleek design” as the commercial zooms in
           on the following shot of the Galaxy S II side-by-side with the iPhone
           (SAMNDCA00311579):




           The fact that this advertisement shows this view of the phones and identifies these
           phones by prominently displaying their front faces—and featuring the area claimed by the
           D’677 patent—demonstrates the prominence of the D’677 design in the product as a
           whole.



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           d. Advertisements such as the following Vibrant advertisement prominently display the
              D’087 design. Again, the fact that Samsung chose to feature the front face of the phone
              and surrounding bezel, including the D’087 design, and to the exclusion of any other
              sides of the phone is further evidence that the claimed designs are hugely prominent to
              the product as a whole (SAMNDCA00311510 at SAMNDCA00311519):




201. Ordinary observers also would have encountered Samsung phones in their packaging. Photos of
     the infringing phones in their packaging are here:




          The Galaxy S phones, including the Fascinate, the Showcase, and the Mesmerize,
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                        shown in their display packaging.




              The Galaxy S i9000, the Galaxy S 4G, and the Vibrant,
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                 The Galaxy S II, Skyrocket, and Infuse phones,
                       shown in their display packaging.




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                    The Galaxy S II i9100, Galaxy S II T-Mobile, and Epic 4G Touch,
                                   shown in their display packaging.


202. The packaging for many of the infringing phones shows the front face of the phone on the outside
     of the box, and the packaging for all of the infringing phones is designed to showcase the front face
     of the phone, to the exclusion of all other sides, when the top cover of the box is removed. The
     claimed designs are therefore the first and only thing a purchaser sees of the infringing devices
     when the box is first opened.
203. The design of the packaging to clearly show the front face of the phone, over any other side of the
     phone, demonstrates that the front face of the phone communicates much of the overall design of
     the phone in the eyes of a purchaser (ordinary observer). It is my opinion that the design of this
     packaging is evidence of the importance of the appearance of the front face of the phone, with its
     ornamental design clearly being the most prominent contributor to the overall design of the phone.
204. The prominence of the D’087 and D’677 designs to Samsung’s phones as a whole is further
     confirmed by industry reviews. When Samsung released the infringing phones, several articles
     recognized the claimed design features as integral to the products as a whole and cited those
     designs as a basis for their overall similarity to iPhone models that embodied the D’087 and D’677
     designs.
            a. A PCWorld review of Samsung’s Galaxy S phone dated June 29, 2010 observed that
               “[t]he design is actually very iPhone 3GS-like with an all black, shiny plastic body and
               minimal buttons on the phone’s face.” (PX6.1.)

            b. A Wired.com article titled “First Look: Samsung Vibrant Rips Off iPhone 3G Design,”
               published on July 15, 2010, stated that the “Vibrant’s industrial design is shockingly
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                  similar to the iPhone 3G: The rounded curves at the corners, the candybar shape, the
                  glossy, black finish and the chrome-colored metallic border around the display.” It also
                  featured side-by-side photos of the two phones from a view that prominently shows the
                  D’087 and D’677 designs (PX174 at APLNDC-Y0000236157):




            c.    A Laptop review of the Vibrant, dated July 20, 2010, stated that “[a]t a glance, the
                  chrome-like border, edge to edge glass display (overlying black plastic), and curved
                  candy bar shape of the Vibrant could easily be mistaken for the iPhone 3GS.” (PX6.1-2.)

            d. A MobileTechReview article dated July 21, 2010, stated that “[a]t first glance, the Vibrant
               looks like a thinner iPhone 3GS, complete with curved plastic back and a front face
               dominated by glass and a black surround.” (PX6.2.)

            e. A Wall Street Journal article dated July 22, 2010, observed that the “Vibrant has rounded
               corners and a prominent border that make it look very much like last year’s iPhone 3GS
               model.” (PX6.2.)

            f.    A TechRebublic review dated September 15, 2010 remarked “[t]he designers [of the
                  Vibrant] were obviously mimicking the look of the old iPhone (pre-iPhone4) with the
                  chrome edge around the screen and the plastic backing.”) (PX6.3.)

205. As discussed above (paragraph 137), the jury concluded that Samsung’s smartphone “products”
     infringed the D’087 and D’677 patents. This further supports my opinion that the claimed designs
     are prominent within the phones.

           Samsung’s copying shows the designs were prominent

206. Samsung’s choice to copy the D’087 and D’677 designs is also evidence of their prominence. In
     order to compete with the iPhone’s success, Samsung misappropriated its most iconic designs.

207. In Apple’s presentation to Samsung about Samsung’s use of Apple’s patents, Apple showed
     Samsung a slide showing an iPhone next to a Samsung Galaxy S phone (I note that while the
     photo is labeled “Apple iPhone 4,” the image of the iPhone in the slide appears to be of an iPhone
     3GS) (PX52.17):

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208. The fact that Apple would use images of the front face of the iPhone and Galaxy S—both of which
     embody the D’677 and D’087 designs—to make its point that Samsung was misappropriating its
     designs further shows that was the most prominent view of the phone. Boris Teksler, Apple’s
     Director of Patents and Patent Licensing, stated that this presentation showed “the remarkable
     similarity of the two products” including the “overall appearance.” (Dkt. 1695 at 1960-1961.)

          The D’087 and D’677 designs are prominent in Apple’s iPhones

209. While I understand the inquiry for the second factor focuses primarily on whether the D’087 and
     D’677 designs are prominent in Samsung’s infringing phones as a whole, I have also been asked to
     consider whether the D’087 and D’677 designs are prominent in the Apple phones that practice
     those patents. In my opinion, they are.

210. The D’677 design is prominent in Apple’s original iPhone, iPhone 3G, iPhone 3GS, iPhone 4, and
     iPhone 4S. Again, this can be seen from a visual inspection of the products:




              iPhone (1st generation)                                  iPhone 3G




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                    iPhone 3GS                                             iPhone 4




                                               iPhone 4S

      The particular rounded corners and straight edges, the glass front face extending from edge-to-
      edge of the device, and the black front face are primary features that stand out and dominate when
      viewing and using the products. They define the iconic “look and feel” of the iPhone, which
      differentiated the iPhone from other mobile phone designs (see paragraphs 53-75 above).

211. The D’087 design is prominent in Apple’s original iPhone, iPhone 3G, and iPhone 3GS. As shown
     in the images above, the particular rounded corners and straight edges, the glass front face
     extending from edge-to-edge of the device, and the bezel are primary features that stand out and
     dominate when viewing and using the products. Again, they define the iconic “look and feel” of the
     iPhone, which differentiated the iPhone from other mobile phone designs (see paragraphs 53-75
     above).

212. Apple viewed the claimed D’087 and D’677 designs as extremely important to the iPhone as a
     whole when developing a new smartphone. When Apple developed the iPhone, it started from the
     overall design for the product as a whole—as reflected in the D’087 and D’677 designs—and then
     made everything else fit to those designs. (See paragraphs 66-68 above.) As Vice President of
     Procurement Tony Blevins testified, “[e]verything is subservient to that design …That means
     instead of buying something available off the shelf and choosing the best off-the-shelf component,
     we almost exclusively design things that are unique and differentiated because they must be to fit in
     that final design.” (Blevins 2017 Dep. 196:6-12; Stringer August 2011 Dep. 47:3-4, 48:10-13 (“We
     always invent manufacturing solutions for our designs. … In all the instances when we have
     shipped a product, we have conceived of manufacturing solutions such that the design can be
     manufactured.”).)

213. The importance of the designs claimed by the D’677 and D’087 patents is also evident in Apple’s
     marketing of the iPhone. Apple has referred to its approach to advertising using the phrase “product
     as hero.” This approach focused on design and made the product as a whole the central feature of
     all advertisements.
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     a. As Apple marketing executive Phil Schiller testified, “the most important [thing] we do at
        Apple is to create a product … and we want to showcase those products as prominently
        as we can.” (Dkt. 1610 at 639.) Mr. Schiller also stated that the reason “product as hero”
        works for Apple is “because the product is really beautiful and really unique.” (Dkt. 2842
        at 824.)

     b. Guidelines for advertisements of the iPhone state: “In all iPhone marketing
        communications, the product is the hero. Show it front and center in all layouts.”
        (APLNDC0002008363 at APLNDC0002008368.) These guidelines also provide “hero
        images” of the iPhone to be used in advertisements, each of which prominently shows
        the front face of the iPhone:




     c.    The “product as hero” approach remained Apple’s strategy across the generations of the
           iPhone. (APLNDC0002155318 at APLNDC0002155320; APLNDC0002155335 at
           APLNDC0002155336; APLNDC0002203457 at APLNDC0002203459; APLNDCY-
           0000236364 at APLNDCY-0000236368; APLNDC0002876270 at APLNDC0002876304.)
           iPhone advertisements, such as the one displayed below, consistently featured the
           phone itself as the largest, most prominent aspect, showing a “hero image” that
           showcased the front face including the D’087 and D’677 designs (PX130; see also
           PX11.3-4, 11.12-14; PX12; PX127):




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            d. Greg Joswiak, Apple’s Vice President of Product Marketing, testified that the purpose of
               Apple’s advertising was not to showcase or market particular functionalities or features of
               Apple’s iPhones, but to market phones as a whole. (Joswiak 2017 Dep. 88:4-11
               (describing advertisements discussing apps available for Apple’s products and explaining
               that “what this was about, right, is driving the sales of the iPhone . . . We wanted to sell
               more iPhones”); id. at 91:4-10 (“And in the end, of course, that was what our hope was,
               that this would help encourage you to buy an iPhone.”); id. at 101:9-14 (“The principal
               reason for this is to promote the iPhone, right? It's to get you to want to purchase the
               iPhone, and these are some of the cool things that you can do with your iPhone and get
               for your iPhone, which would hopefully make you want to buy an iPhone, if you didn't
               already have one.”).)

214. Apple’s packaging also focuses on the front face of the phone. An image of the front face on the
     outside of the packaging and when a purchaser removes the top of the box, the first thing that is
     visible is the front face of the phone and the surrounding bezel. The phone is nestled into the
     packaging in a way that emphasizes the front face and bezel:




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                                        iPhone 3GS and Packaging




      Factor 3: “Whether the Design Is Conceptually Distinct from the Product as a Whole”

215. The third factor that I considered in my article of manufacture analysis is “whether the design is
     conceptually distinct from the product as a whole.” (Dkt. 3530, Order Requiring New Trial (Oct. 22,
     2017).)

216. For the reasons discussed below, it is my opinion that the D’087 and D’677 designs are not
     conceptually distinct from the infringing Samsung products as a whole; they are completely
     integrated into the products as a whole. This factor therefore supports my conclusion that the article
     of manufacture is the entire phone for each Samsung phone found to infringe the D’087 and D’677
     patents.

           Examples demonstrating conceptual distinctness

217. To evaluate whether a design is conceptually distinct from a product, I find it useful to consider
     some examples. The HP Photosmart 6520 printer is a helpful reference:




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      The control panel of this printer looks similar to the claimed portion of the D’677 patent. But
      “conceptually,” the control panel is distinct from the rest of the product. It looks stuck onto the
      device, almost floating in front of the rest of the printer. It is easy to conceive of the control panel as
      a thing separate from the rest of the device, or to imagine the entire control panel removed from the
      remainder of the printer, potentially to be used like a remote control. This is a good example of a
      design that is conceptually distinct from the product as a whole.

218. Another example of a design that is conceptually distinct from the rest of a product is that of
     Motorola’s “moto mods” on the moto z phone:




                           Moto Z front face with Moto Mod (APLNDC-WH0004001352)




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                  Select Moto Mods (APLNDC-WH0004001352 at APLNDC-WH0004001359)

      The “moto mods” allow users to pick and choose among different phone backs (with different
      functionalities). It is easy to conceive of these backs as separate accessories distinct from the front
      face of the phone, and vice versa.

219. Other examples may include designs in which there is an expectation or convention in the industry
     that the portion of the claimed design is expected to work with other products or parts of products.
     Many stick-goods (e.g., brooms, mops) are designed so the handle or pole can and will be
     dissociated from the end and used with other handles.

           The D’087 and D’677 designs are not conceptually distinct from the infringing phones
           as a whole

220. Unlike the examples above, the D’087 and D’677 designs are not conceptually distinct from the
     infringing phones as a whole. To the contrary, these designs are integral to the overall devices. It is
     difficult to imagine the infringing phones existing separately from these designs. Without either of
     the claimed designs, the infringing product would not even be a solid form—it would simply be five
     sides and an open face.

221. Perhaps the most obvious reason the D’087 and D’677 designs are not “conceptually distinct” from
     the Samsung infringing products as a whole is that without the portions claimed by those patents,
     the infringing products would not be phones at all. Both the D’087 and D’677 patents cover the front
     face of the infringing phones. If the infringing products did not have the glass front face that
     embodies these designs, they would be unrecognizable and would have no use or value.
     Samsung’s designer Jinsoo Kim agreed that without the front glass “you can’t use [the phone] as a
     phone, so there’s no usability.” (J. Kim 2017 Dep. 62:25-63:8.)

222. The glass front face and bezel would also have no value as individual components separate from
     the rest of an infringing device. When Samsung executive Justin Denison was asked if the flat front
     face would function separately from the phone, he stated: “I’m just having a hard time picturing
     what a flat front face of a phone by itself is. I’m not sure that that’s something I can hold.” (Denison
     2017 Dep. 73:12-17.) Other Samsung witnesses confirmed that, apart from the infringing devices
     as a whole, the glass front face is “not usable to a consumer.” (J. Kim 2017 Dep. 62:13-24; see also
     D. Kim 2017 Dep. 30:5-19 (“I don’t think the consumers will be able to do much with just the
     glass. … If it’s separated, I don’t think it will be of any use to consumers.”).) They also stated that
     the bezel alone has “no role to play” separate from the rest of the phone. (J. Kim 2017 Dep. 102:17-
     103:15.) According to Jinsoo Kim, in order for these components “to work” and serve their intended
     purpose, “[t]hey have to be assembled as designed.” (J. Kim Dep. 76:8-17.)

223. I am not aware of any instance in which a consumer has used the glass front face or bezel of an
     infringing Samsung device separately from the rest of the device. Samsung has also not identified
     any such instance. (See, e.g., J. Kim 2017 Dep. 75:25-76:7 (“Q. Are you aware of any instance in

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      which a consumer has used the phones [found to infringe the D’087 patent] without the bezel on
      them? A. Not to my knowledge. Q. Are you aware of any instance in which a consumer has used
      the phones [found to infringe the D’087 patent] without the glass front face plus surrounding bezel?
      A. The same. Not to my knowledge.”).

224. As discussed above (paragraph 137), the jury found that the products in their entirety infringe the
     D’087 and D’677 patents. This further supports my opinion that neither the claimed designs nor the
     components that Samsung alleges to be the articles of manufacture are conceptually distinct from
     the infringing phones as a whole.

           Samsung designed the infringing phones as whole products with a focus on having a
           holistic appearance

225. Samsung’s design approach for the infringing phones also indicates that the D’087 and D’677
     designs are not conceptually distinct from the products as a whole.

226. Samsung’s approach to designing its mobile phones is to design complete phones, not to design
     components in isolation that are later combined. As Samsung’s corporate representative Drew
     Blackard testified, Samsung “create[s] consumer electronic products including mobile handsets.”
     (Blackard Dep. 120:12-19.)

227. This approach of designing phones as complete products was the approach Samsung used when
     designing the infringing phones. There was no designer or design team devoted to designing the
     glass front face and/or bezel separate from the infringing phones as a whole. (J. Kim 2017 Dep.
     97:25-98:10 (“[T]here was nobody who worked on just the front face.”); id. at 101:1-8 (“[T]here is no
     designer that works on designing the bezels alone.”).) Rather, designers worked on complete
     phone designs and referred to designs of phones holistically.

            a. Samsung designer Bo-Ra Kim testified that “[a]s far as the Infuse 4G project is
               concerned, I handled it, and I handled it by myself … I designed it by myself.” (B. Kim
               2012 Dep. 16:3-9.) Mr. Kim also stated there came a time when “the exterior hardware of
               the phone, the design of it, had been selected.” (B. Kim 2012 Dep. 71:19-72:10.)

            b. Samsung designer Jinsoo Kim testified that he personally designed the infringing Galaxy
               S II phones and provided direction for the design of other infringing phones. Mr. Kim
               confirmed that he “worked in the mobile product design team,” where his job was “to
               design mobile phones.” (J. Kim 2017 Dep. 15:2-22, 30:18-31:12; Dkt. 1841 2787:23-
               2788:8.) In that role, Mr. Kim “designed the outside appearance of the exterior,” which
               included all “the parts you can see on the exterior,” and was not limited to any particular
               aspects or components. (J. Kim 2017 Dep. 42:14-24, 97:4-24.)

228. Testimony of Samsung’s witnesses also confirms that when designing the infringing products,
     Samsung’s designers took into consideration the overall design of the whole product. They sought
     to create “one design” that was not complex and that “integrated” the form factors of the phone.
     They also acknowledged that considering the overall design is important for ensuring that certain
     components do not become limitations on the design of the product and that the product can have
     “one design.”

            a. Samsung designer Jinsoo Kim testified that when the infringing phones were designed
               “Samsung consider[ed] overall design.” (J. Kim 2017 Dep. 30:18-31:12, 86:11-24.) As Mr.
               Kim explained, Samsung considered the overall design of theses phones because “it’s
               elementary to get an overall constitution, then design.” (J. Kim 2017 Dep. 86:25-87:9.)

            b. Mr. Kim stated that “various components can become constraint[s] to a design,” and it’s
               necessary to find a “way to avoid those constraints” to “create a combination that will


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                  present one design” and make various parts and pieces “not appear complex.” (J. Kim
                  2017 Dep. 87:10-89:3.)

            c.    When he designed the infringing Galaxy S II phones, Mr. Kim “made efforts to make it
                  look like one and [not] look complex.” (J. Kim. 2017 Dep. 89:4-17.)

            d. Justin Denison, SEA’s Senior Vice President of Marketing for Mobile Phones and IoT
               Things, testified about Samsung’s philosophy of “holistic design,” and explained that
               “holistic design” means that “Samsung is bringing together the thousands of technology,
               the hundreds of parts, the millions of lines of code, to create, you know, a beautiful end
               product.” (Denison 2017 Dep. 93:11-18.)

229. The fact that Samsung designed the infringing phones as complete products rather than as
     separate components, and focused on overall product design with an emphasis on making the
     infringing phones look like “one,” further supports my opinion that the D’087 and D’677 designs are
     integral to and not conceptually distinct from the Samsung infringing phones in their entirety.

           Samsung’s sales, advertising and other activities also conceive of the infringing
           phones holistically

230. Samsung’s sales and advertising of the infringing phones also conceive of the infringing phones as
     complete products. As discussed below (paragraphs 254-260), Samsung’s main business is selling
     complete, finished products. Samsung never advertised the components that Samsung alleges are
     the articles of manufacture separately from the infringing phones as a whole. As discussed above,
     the front faces of Samsung’s phones are prominently featured in Samsung’s advertisements, but in
     a manner where they are being shown as part of a complete, finished product. This further supports
     my opinion that these designs are not conceptually distinct from the devices.

231. Also as discussed below (paragraphs 241-249), Samsung only instructs its users to use the phones
     as a whole.

232. Another indication that Samsung conceived of the D’087 and D’677 designs as part of whole
     phones, and not pertaining to separate components only, is that Samsung does not internally have
     terms to identify the components it claims are the article of manufacture in this case. When handed
     the component that Samsung has identified as the article of manufacture for the D’677 patent, one
     Samsung designer testified that she did not know what it was called and had never seen that
     component separate from an entire phone. (Wang 2017 Dep. 34:19-35:36:4.) Another Samsung
     witness, when asked whether particular Samsung phones had a round-corndered glass front face,
     responded “the glass front face [is] a component of any Samsung smartphone,” responded: “I don’t
     know what [a] glass front face is.” (Han 2017 Dep. 57:25-58:6.) A third Samsung witness stated
     that the components Samsung contends are the articles of manufacture in this case were “not
     immediately recogniz[able]” to him and testified that he would “not know how to refer to” or “identify
     [] with specifc words” those components. (Denison 2017 Dep. 78:20-24, 80:12-13, 81:1-3, 81:20-
     21.)

233. When asked about Samsung’s infringing phones, Apple’s designer noted that the D’087 and D’677
     designs are “not distinct” from the phones; they are “part of the product.” (Howarth 2017 Dep.
     179:18-179:23.)

           Samsung copied the D’087 and D’677 designs in an effort to copy the iPhone as a whole

234. The fact the D’087 and D’677 designs are intertwined with the phones as a whole and not
     conceptually distinct is further demonstrated by the manner in which Samsung appropriated the
     patented designs. As discussed above, Samsung had phones with numerous different designs and
     form factors before it launched the infringing products. When it copied Apple’s designs, Samsung

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      did not borrow discrete elements of these designs but applied them to Samsung’s phones in a
      manner that made the entire phones look like the iPhone (PX3.3):




235. The similarities between the infringing phones and the iPhone, including design features such as
     the flat, black front faces, the glass front face extending edge-to-edge, the relative proportions, and
     the rounded corners, make the products overall look extremely similar. As noted above, product
     reviewers and others recognized these similarities when Samsung released the infringing products
     and cited them as a basis for concluding that Samsung’s phones as a whole resembled the iPhone.

           The D’087 and D’677 designs are fully integrated into and not conceptually distinct from
           Apple’s iPhones

236. While I understand the inquiry for the third factor focuses on whether the D’087 and D’677 designs
     are conceptually distinct from Samsung’s infringing phones, I have also been asked to consider
     whether the D’087 and D’677 designs are conceptually distinct from the Apple phones that practice
     those patents. In my opinion, they are not.

237. Apple did not conceive of the glass front face or bezel separately from the iPhone. When Apple
     designed the iPhone, it conceived of and designed the product as a whole—not as a combination of
     individual components or parts.

            a. As Richard Howarth, one of the lead designers of the original iPhone and named inventor
               on both the D’087 and D’677 patents put it: “We’re all about the product. We’re not in –
               we’re not – we don’t design individual parts. Our goal is to create a thing, a tool, a whole
               product … .” (Howarth 2017 Dep. 176:11-15.) Components like the bezel are only “part of
               a design” or “overall concept,” and while Apple “might focus on the bezel for a little part of
               some time during the design process … it’s all in the effort of creating the product.”
               (Howarth 2017 Dep. 170:7-25.)

            b. Dan De Iuliis, another iPhone designer and inventor named in the D’087 and D’677
               patents, confirmed the group “design[s] products in their entirety.” (De Iuliis 2011 Dep.
               140:10-23.) He explained that Apple doesn’t separate its designs into features: “[Y]ou
               design something in its entirety. It has to work together. There has to be a – elements
               that are sympathetic to each other. So it’s not a laundry list of features that make a
               design.” (De Iuliis 2011 Dep. 171:15-24.)

            c.    When asked about only specific elements of the iPhone’s design including its
                  “rectangular shape with four evenly rounded corners,” Jonathan Ive, the lead of the group

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                that designed the iPhone testified that “I as a designer struggle to – to be able to sort of
                parse out and separate all of those – you know, those different aspects of the design.”
                (Ive 2011 Dep. 102:18-103:16.) According to Mr. Ive, “design and the product itself are
                inseparable.” (Ive 2011 Dep. 51:3-12.)

            d. Apple marketing executive Greg Joswiak confirmed that the design team worked to
               design the entire phone and that when designs were shown to executives for input, it was
               as a complete product, not just components. (Joswiak 2017 Dep. 139:12-19 (“Q. And
               were you shown different variations of this, this cover, the surface that's claimed here [in
               the D’677 patent]? A. Well, the product itself. I wouldn't look at this as just a cover. We
               looked at various designs for what would become the initial iPhone. Not so much a cover.
               There's not somebody working on covers. You know, there's people working on
               iPhones.”).)

238. Indeed, Apple’s design for the phone as a whole dictated the manufacture of the individual
     components. (Blevins 2017 Dep. 196:6-12 (“Everything is subservient to that design, which makes
     my job really, really hard. That means instead of buying something available off the shelf and
     choosing the best off-the-shelf component, we almost exclusively design things that are unique and
     differentiated because they must be to fit in that final design.”); id. at 198:7-13 (“The external design
     and appearance dictates everything else about the phone that you fit in that design envelope and
     those design requirements.”); Dkt. 1547 at 494-495 (designer Chris Stringer testifying regarding
     manufacturing challenges due to iPhone design).)


      Factor 4: “The Physical Relationship Between the Patented Design and the Rest of the
      Product”

239. The fourth factor that I considered in my article of manufacture analysis is “the physical relationship
     between the patented design and the rest of the product, including whether the design pertains to a
     component that a user or seller can physically separate from the product as a whole, and whether
     the design is embodied in a component that is manufactured separately from the rest of the
     product, or if the component can be sold separately.” (Dkt. 3530, Order Requiring New Trial (Oct.
     22, 2017).)

240. As discussed below, the Samsung products found to infringe the D’087 and D’677 patents are all
     monolithic, unitary devices. They are manufactured to be sold and used as monolithic, unitary
     devices. The physical relationship between the patented designs and the rest of the product
     therefore supports my conclusion that the article of manufacture is the entire phone for each
     Samsung phone found to infringe the D’087 and D’677 patents.

           Users use the infringing products as a whole, and cannot separate the glass front face
           and/or bezel without breaking the product

241. For each Samsung product found to infringe the D’677 patent, the D’677 design does not pertain to
     a component that a user can physically separate from the product as a whole during normal use of
     the product. The same is true for the Samsung products found to infringe the D’087 patent: the
     D’087 design does not pertain to a component that the user can physically separate during normal
     use of the product.

242. Samsung’s infringing phones were designed and intended to be used as a whole, including with the
     glass front face and bezel. They were not designed under the assumption that the glass front faces
     or bezels would be used separately from the rest of the phone. (J. Kim 2017 Dep. 100:16-25 (“I do
     not believe Samsung would have designed under the assumption that these [front faces] would be
     used separately.”); id. at 101:19-102:2 (“I don’t think the – it was designed with the – under the
     assumption that the bezel would be separated in its usage.”).)

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243. Consistent with the manner in which they were designed, as Samsung’s user manuals show and
     Samsung’s witnesses confirmed, Samsung told consumers to use the infringing phones as a whole.
     I am aware of no instance in which Samsung ever instructed a user to physically separate the glass
     front face or bezel from the rest of the phone or to use those components separate from the rest of
     the phone.

            a. The user manuals for the infringing phones do not contain any instructions regarding how
               to remove the glass front face or bezel. (S-ITC-007284514 (Fascinate); S-ITC-
               000122664 (Showcase); SAMNDCA00018395 (Galaxy S 4G); SAMNDCA630-00922823
               (Galaxy S II, AT&T); S-ITC-000018872 (Galaxy S II, Epic 4G Touch); SAMNDCA630-
               00924419 (Galaxy S II, Skyrocket); S-ITC-003723510 (Galaxy S II, T-Mobile);
               SAMNDCA00009582 (Infuse 4G); S-ITC-007283163 (Mesmerize); SAMNDCA00017928
               (Vibrant); SAMNDCA10712069 (Galaxy S i9000); SAMNDCA630-04328647 (Galaxy S II
               i9100).)

            b. Samsung corporate representative Drew Blackard agreed that “Samsung does not
               encourage individual customers to break apart their phones,” explaining “[i]t’s not
               something …we promote.” (Blackard 2017 Dep. 146:18-147:12.) The only components
               Mr. Blackard identified as components that Samsung instructed its consumers to remove
               from any of the infringing phones were removal batteries and expandable memory. He
               contrasted these items, which he described as “value proposition[s],” with removing a
               cracked screen which he described as “a problem … not a feature.” (Id. at 147:22-
               149:24.)

            c.    Samsung designer Jinsoo Kim testified that Samsung has not made available to the
                  public information regarding how to remove the glass front face or bezel from the
                  infringing phones. (J. Kim 2017 Dep. 74:6-75:24.) In other words, instructing users how to
                  take those components off the infringing phones is not something Samsung would do
                  and, as Mr. Kim stated, “there is no official material made by Samsung” instructing users
                  how to do it. (Id. at 60:15-23.)

244. I understand that Samsung contends that a user could theoretically separate the glass front face
     and/or bezel from the infringing phones and has cited certain third-party websites that provide
     instructions on how to repair and replace these components. (Samsung’s Second Supplemental
     Response to Interrogatory No. 1.) One of these websites describes replacing the “Samsung Galaxy
     S II Front Glass/Digitizer” as “[v]ery difficult.” (APLNDC-WH0004000959.) It warns: “This procedure
     is very hard. You must have good experience to do this!!!” (Id.) The site also indicates the repair
     involves separate 15 steps and will take 25-35 minutes. (Id.) If anything, the degree of difficulty
     explained on this website suggests that this part is not separable in any reasonable way by a
     consumer.

245. Samsung’s own experience separating the glass front face and bezel from the infringing phones for
     purposes of this litigation proves that it would be extremely difficult, if not impossible, for the
     average consumer to do. Samsung corporate representative Tim Sheppard testified that the
     components Samsung alleges are the articles of manufacture were separated from four of the
     infringing devices for purposes of this litigation by Bob Nelson, a Samsung employee and “qualified
     repairperson” with “a significant number of years of training,” but that to successfully separate those
     components Mr. Nelson “needed some help” from a third-party company with “specialty
     equipment.” (Sheppard 2017 Dep. 28:18-29, 160:4-161:24.) Mr. Sheppard confirmed that “a
     significant amount of disassembly” was required to separate the phones into these components
     and that it “would have been very difficult for the average consumer” to disassemble. (Sheppard
     2017 Dep. 160:4-161:24.)

246. Another Samsung corporate representative who has worked for Samsung for 21 years, Dongwook
     Kim, stated that he would not know how to separate the glass front face or bezel from any of the
     infringing phones. (D. Kim Dep. 30:20-23, 35:4-6.) Mr. Kim also testified that “a special tool” and
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      likely “special training is needed” to separate the glass front face from the infringing phones. (Id. at
      31:11-32:13.) He stated he is not aware of any instance in which anyone outside of Samsung has
      ever removed the glass front face and bezel from any of the infringing phones. (Id. at 34:6-13.)

247. Samsung’s witnesses testified that there may be some small number of users who can separate
     the glass front face and/or bezel from the infringing phones. However, it is clear that such
     separation does not occur during the normal use of these products and that Samsung does not
     intend these components to be separated from the remainder of the device. As discussed above,
     the phones would not function as intended if the glass front face were removed, and there would be
     no use for the glass front face or surrounding bezel if they were separated from the rest of the
     phone.

248. Even assuming a user could separate the glass front face and/or bezel from the infringing phones,
     there would be no reason to do so (other than to repair or replace those components to recreate an
     entire phone), and many reasons not to. It would also make no sense, as the glass front face
     and/or bezel would serve no purpose if they were separated from the phone. There is no separate
     use for the glass front face or bezel apart from being used in the infringing phones, and separating
     the glass front face and/or bezel from the phone (if it were even possible) would render the phone
     non-functional. In other words, doing so would break the phone.

249. Separating the glass front face and/or bezel from the infringing phones would also void the
     warranty. The Samsung warranties for the infringing phones do not cover “defects or damage
     resulting from … misuse, abnormal use, abnormal conditions … unusual physical, electrical or
     electromechanical stress,” “cosmetic damage,” “damage resulting from the use of Product in
     conjunction or connection with …equipment not furnished or approved by SAMSUNG,” or “defects
     or damages resulting from improper … operation.” (APLNDC-WH0004002616 (Fascinate);
     APLNDC-WH0004002915 (Galaxy S II, Epic 4G Touch); APLNDC-WH0004002640 (Skyrocket);
     APLNDC-WH0004002891 (Infuse 4G); APLNDC-WH0004002899 (Galaxy S II, T-Mobile); S-ITC-
     000122664 at S-ITC-000122824 (Showcase); SAMNDCA00018395 at SAMNDCA00018623
     (Galaxy S 4G); SAMNDCA630-00922823 at SAMNDCA630-00923010 (Galaxy S II, AT&T); S-ITC-
     007283163 at S-ITC-007283308 (Mesmerize); SAMNDCA00017928 at SAMNDCA00018131
     (Vibrant).) As Samsung’s corporate representative Tim Sheppard confirmed, the language in these
     warranties implies that intentional breaking apart of components from the rest of the phone would
     void the warranty. (Sheppard 2017 Dep. 60:3-61:3.) User manuals similarly warn: “Do not
     disassemble, modify, or repair your device | Any changes or modifications to your device can void
     your manufacturer's warranty. For service, take your device to a Samsung Service Centre.”
     (SAMNDCA630-04328647 at SAMNDCA630-04328660.) This further proves that Samsung does
     not intend for users to take apart the infringing phones and that the components Samsung has
     identified as the articles of manufacture are not meant to be separated from the rest of the device
     once the phone is manufactured.

           Samsung manufactured the infringing products as a whole

250. Any multi-component product contains parts that are manufactured separately. This is a common
     characteristic of any mass-produced product, including the infringing phones.

251. To manufacture the infringing phones, I understand Samsung took components and sub-
     assemblies from various sources. While these components and sub-assemblies themselves may
     have been manufactured elsewhere or by other companies, Samsung took these components and
     used them to manufacture complete, finished phones.

252. I understand that many of the components used in the manufacture of these devices serve no
     purpose other than to be combined into the specific product they were made for. Each part or piece
     has to perform a specific function, and this requires that they are manufactured in a particular way,
     in a particular material. For example, the glass front face used in each of the infringing phones was
     made specifically for that phone (D. Kim 2017 Dep. 40:14-16), and “would only have worked on” the
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      phone for which it was made (Sheppard 2017 Dep. 132:21-25). This demonstrates that these
      components are not meant to be separated from the end product and that, even though they may
      be manufactured and provided by third parties, they are made specifically and solely for the
      purpose of being incorporated into a larger article of manufacture—the phone.

253. The end result of Samsung’s manufacturing process was to create the infringing phones, which, to
     carriers, retailers, and end users appear monolithic and inseparable.

           Samsung (and others) sold the infringing products as a whole, and cannot separate the
           glass front face and/or bezel without breaking the product

254. For each Samsung product found to infringe the D’087 and D’677 patents, the D’087 and D’677
     designs do not pertain to components that a seller can physically separate from the product as a
     whole in the normal course.

255. I understand from Julie Davis that STA’s primary business is selling smartphones as complete
     phones, not selling specific components.

256. Samsung’s witnesses confirmed that Samsung’s mobile division is in the business of selling phones
     as a whole, not components of phones.

            a. Samsung corporate representative Kyuhyun Han stated that “[s]elling tablets and
               smartphones are our main business.” (Han 2017 Dep. 72:16-18.)

            b. Samsung executive Justin Denison testified at trial that STA sold “mobile phones and
               other equipment.” (Dkt. 1610 at 791-792.)

            c.    Another Samsung executive, Tim Sheppard, when asked what STA does similarly
                  testified that it “sells handsets.” (Dkt. 2842 at 953.)

257. Samsung manufactured and then sold each and every one of the infringing products as a whole.
     Most of the infringing phones were sold by Samsung directly to carriers such as AT&T, Verizon,
     Sprint, and T-Mobile, who in turn sold the phones to individual consumers. (Blackard 2017 Dep.
     47:5-49:7.) Some of the infringing phones were sold to retailers, such as Wal-Mart and Best Buy,
     who in turn sold the phones to individual consumers and to enterprises, such as American Airlines,
     who provided the phones to their employees. (Blackard 2017 Dep. 126:15-128:1.) In all instances,
     the phones were sold as complete, finished products. (Blackard 2017 Dep. 128:2-7; Sheppard 2017
     Dep. 134:20-22; D. Kim 2017 Dep. 22:25-23:5.)

            a. Samsung’s corporate representative Tim Sheppard testified that Samsung Electronics in
               Korea transferred “finished product[s]” to Samsung’s U.S. entity. (Sheppard 2017 Dep.
               155:13-156:7.) He stated that when STA then “sold phones to carriers or consumers, we
               didn’t sell it as a modular kit to assemble at home; we sold a finished product.” (Id. at
               134:20-22.)

            b. Drew Blackard, another Samsung corporate representative, confirmed that for each of
               the channels Samsung sold to—carriers, retail locations, individual customers, and
               enterprises— Samsung sold “complete phones.” (Blackard 2017 Dep. 128:2-7.)

            c.    Samsung designer Jinsoo Kim also confirmed the infringing products “would have been
                  sold as finished products.” (J. Kim 2017 Dep. 26:2-8.)

            d. Justin Denison, SEA’s Senior Vice President of Marketing for mobile phones, testified
               that “[g]enerally speaking, [Samsung’s] selling the fully manufactured and assembled
               product when we sell a product to a channel partner who then sells it to an end


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                  customer.” (Denison 2017 Dep. 30:18-24.) He explained that Samsung put together “fully
                  assembled device[s]” that were ultimately sold to end users. (Id. at 31:6-32:12.)

258. I understand from Ms. Davis that each of the phones for which she has been asked to calculate
     damages was sold as a complete phone, that Samsung’s sales records and sales databases
     indicate that Samsung sold the infringing phones as a whole and that the financial records
     Samsung introduced at trial showed revenues and profits for complete phones. (DX676; DX753.76;
     JX1500.) Mr. Sheppard’s testimony confirmed as much. (Dkt. 1842 at 3005 (explaining that DX676
     was generated by “extract[ing] the data model by model”); id. at 3009-3010 (DX753.076 reflected
     revenue earned from carriers that Samsung “sell[s] the phones to”); Dkt. 2842 at 968 (DX676
     “shows revenue, sales, and costs for products”).) I also understand from Ms. Davis that the
     primary exhibit on which she relies (and on which Samsung relied) to calculate the profits for the
     infringing products show revenues, costs, and profits for the products as a whole and not for any
     individual components.

259. I understand from Ms. Davis that although Samsung has separate divisions that sell certain
     components, such as microprocessors, to other OEMs, those components are not relevant here.
     Outside the repair context, Samsung has never sold glass front faces or bezels for the infringing
     phones separately from the phones themselves. (Shepard 2017 Dep. 55:20-56:11, 58:4-59:9,
     63:18-64:3, 65:15-23; D. Kim 2017 Dep. 23:6-17; J. Kim 2017 Dep. 71:17-20; Denison 2017 Dep.
     54:11-21.)

260. The only reason Samsung would have sold glass front faces or bezels separate from phones was
     for the purpose of repair—in other words, to make the products whole again. This further indicates
     that these components are not intended to be separated from the phones. When the glass front
     face or bezel is damaged or broken, Samsung encourages users to seek out authorized repair
     providers so that the broken components can be replaced and the phones can be returned to
     complete, finished form. (Blackard 2017 Dep. 147:22-149:14.)

261. Samsung’s marketing was also directed to selling the infringing phones as a whole. For example,
     Samsung’s print and television advertisements were for the infringing phones as a whole, not
     components of those phones. I am aware of no instance in which Samsung advertised a glass front
     face or bezel separate from the infringing phones.

            a. With respect to the components Samsung that has identified as the alleged articles of
               manufacture, Mr. Blackard testified that outside of the repair context, Samsung has “not
               marketed [] the component itself to end-users,” rather, they have only been advertised as
               “part of the overall value proposition” of the whole phone.” (Blackard 2017 Dep. 162:9-
               163:1.)

            b. Justin Denison, SEA’s Senior Vice President of Marketing for mobile phones, also
               testified that he was unaware of any advertisements for the components Samsung has
               alleged are the articles of manufacture. (Denison 2017 Dep. 86:16-88:4.)

            c.    Samsung designer Jinsoo Kim testified that “[t]here were no instances of separate
                  advertisement” of the glass front face of the infringing phones. (J. Kim 2017 Dep. 64:19-
                  23.) Mr. Kim also testified that Samsung has not advertised either the bezel or the glass
                  front face with surrounding bezel. (Id. at 74:6-14.)

262. Network providers (such as AT&T, Verizon, Sprint, and T-Mobile) and retailers (such as Wal-Mart
     and Best Buy) also sold the infringing products as a whole to consumers. I am aware of no instance
     in which a network provider or retailer separated the glass front face and/or bezel from an infringing
     Samsung phone or sold such a component to a consumer. It would make no sense for them to do
     so.



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           Apple’s iPhones were designed, manufactured, sold, and used as unitary products

263. While I understand the inquiry for the fourth factor focuses on the physical relationship between the
     D’087 and D’677 designs (or the articles of manufacture Samsung alleges those designs have
     been applied) and Samsung’s infringing phones, I have also been asked to consider the physical
     relationship between the D’087 and D’677 designs and the Apple products that practice those
     patents.

264. As with the Samsung infringing phones, Apple’s iPhones incorporate the D’087 and D’677 designs
     into monolithic, unitary devices. The iPhones were designed and manufactured to be unitary
     products that were not intended to be separated into components by sellers or users, and removing
     the glass front face and/or bezel would destroy the iPhone and require repair.

265. Apple designed the iPhone—including the glass front face and bezel—to be a unitary whole and to
     function as a single unitary product, not as a combination of modular parts.

            a. Howarth 2017 Dep. 170:7-25 (“Q. What role does the final product play or the goals for
               the final product play in this design process? A. The -- the end product is always what we
               want to get to. We want to -- we want to design a fantastic product. The goal is to -- is to
               create a product that reaches customers and that is a tool that can improve their lives. So
               it's -- you know, or fulfill some function that they find useful. Q. So let's take as an
               example the bezel. During the design process will someone go off and just work on
               bezels? A. As a -- no, there's no -- I mean, usually what happens is the bezel will be part
               of a design, like an overall concept, and so it would be a part, and -- and we might focus
               on the bezel for a little part of some time during the design process, but it's all in -- it's all
               in the effort of creating the product.”).

            b. Howarth 2017 Dep. 176:11-15 (“We're all about the product. We're not in -- we're not --
               we don't design individual parts. Our goal is to create a thing, a tool, a whole product that
               people can use so that -- so that they can do things that they couldn't before.”)

            c.    Howarth 2017 Dep. 168:8-17 (“Q. And for that final process, what comes out of that
                  manufacturing? A. A product, a product that you can use. The iPhone fully functioning. Q.
                  And what does Apple ship? A. iPhones[.] Q. Bezels? Stand-alone components? A. No,
                  no. No. It ships products that people use every day. There's no -- yeah. We wouldn't ship
                  just a bezel.”).

266. As Tony Blevins, Apple’s Vice President of Procurement, explained, Apple is not a manufacturer of
     “front faces,” “display screens,” or “bezels” of iPhones. (Blevins 2017 Dep. 201:6-14.) Instead,
     Apple sought to transform components into a singular object of great value and beauty. The goal,
     and the result of the manufacturing process, was to create a complete and unitary product—the
     iPhone.

            a. Blevins 2017 Dep. 198:24-199:12 (“Q. Are you familiar with the managing concept of
               Apple referred to as transformation? A. Yes. Q. What is that concept? A. That’s our
               philosophy where we take a wide variety of components, assemblies, and subassemblies
               that otherwise would not have value or utility, and we transform them in such a way to
               reach our objectives of a final product that will surprise and delight, and so the overall
               concept we use is that of transformation, that you take things that have no value
               independently or individually, and you transform them into such a way that they have
               tremendous value.”).

            b. Blevins 2017 Dep. 200:12-19 (“[W]e take each of those unique components, assemblies,
               and subassemblies that otherwise would not have value, utility, and we transform them in
               such a way so that the create the end device that, again, we think has tremendous
               value.”).
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267. I understand that at no point during the design of the iPhone did Apple consider a design that would
     enable the user to change or remove the bezel or glass front face. Apple does not instruct users to
     remove the glass front face or bezel. (Conversation with Tony Blevins.)

268. Apple sold the iPhone products as a whole. Apple did not separately sell the glass front face or
     bezel of an iPhone, except to repair damaged products—in other words, to make the product whole
     again. (Blevins 2017 Dep. 201:15-20.) Apple did not separately record or calculate profits on the
     glass front face or bezel. (Blevins 2017 Dep. 201:21-202:4.)

269. Apple intended for consumers to use, and consumers do use, the iPhone as a whole. There is no
     separate use for the glass front face or the bezel, other than as a part of the phone as a whole.

            a. Blevins 2017 Dep. 198:17-20 (“Q. Are any components in the iPhone operable when they
               – when they are removed from the iPhone? A. To my knowledge, no. The only exception
               I could think of would be headphones.”).

            b. Howarth 2017 Dep. 119:3-10 (“So it's made up -- the product is made up of these
               separate components, but they're no good on their own. I mean, it's -- it's when they're
               together that they're good. So you could physically separate it if you're stripping one apart
               and taking it to pieces, but it wouldn't be any good. It's when it comes together that it's a
               product.”).

270. Apple designed its iPhones so that components such as the glass front face and bezel could not be
     removed or the product disassembled.

            a. Blevins Dep. 204:25-205:12 (“Q: How about the display glass? How easy or difficult was
               it to remove and replace the display glass on the original iPhone? A: Exceptionally
               difficult. Q: How – how so? Was any special equipment required? A: A significant
               amount of special equipment was required in order to attempt to disassemble. We would
               have what we called material attrition, which would mean in addition to the part that you
               were attempting to replace, you would irreparably damage a large number of other parts
               that would then have to be replaced.”).

            b. Blevins 2017 Dep. 205:25-206:10 (Q. How about for the bezel? How easy or difficult was
               it to remove and replace the bezel on the original iPhone? A. It was very, very difficult. Q.
               Why was that? A. Because removing the bezel would generally cause damage to all of
               the contingent components, including the display, the backing closure, various flexes
               because, again, we started with an original design concept that just didn’t leave the room
               for repair.”).

271. Apple does not and did not intend or provide for customers to perform repairs or disassemble
     iPhones themselves. (Blevins 2017 Dep. 206:17-21 (“Q. At any time has Apple ever provided
     instructions to consumers on how to disassemble an iPhone? A. Absolutely not. We’ve specifically
     not done that.”); id. at 207:1-6 (“Q. At any time has Apple encouraged consumers to disassemble
     their iPhones to remove any components on the front face of the iPhone? A. Absolutely not. In fact,
     even an attempt to do such a thing would totally and completely void the warranty.”).)

272. Trying to remove components such as the glass front face or bezel would destroy the product.
     (Howarth 2017 Dep. 119:16-22 (“Q. I'm asking whether or not the user or seller can physically
     separate the design shown in the '677 design patent from the product as a whole. Is that something
     that's possible? A. It's possible if you wanted to destroy the product.”).)

273. The purpose of Apple’s repair program was not to provide components to users, but to restore
     whole products to usable status. (Howarth 2017 Dep. 168:22-169:5 (“Q. What is the purpose of the
     repair program? A. To fix a broken part on your iPhone. Q. And what ideally comes out of the repair
     process? A. A brand – well, a fully functioning iPhone, hopefully. So you get – you might have an

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      iPhone. You break a part on it, and you want it to be replaced with a part that’s working so that you
      get a working product.”).)

274. Regarding Samsung’s infringing phones, Apple designer and inventor Richard Howarth testified
     that the D’677 design is integral to and not separate from the entire product—just like in Apple’s
     iPhone. (Howarth 2017 Dep. 179:24-180:14 (“Q. And, finally, let's look at the fourth factor, the
     physical relationship between the patented design and the rest of the product, and let's start with
     including whether the design pertains to a component that a user or seller can physically separate.
     In normal use of the Samsung products, can the design be separated? A. It -- it seemed to me that
     those – I mean, it's the same as ours, the same as our phone. It looked like it was an integral part
     of the housing of the -- of the product if we're talking about the bezel and the glass. They're not
     separate parts. They're parts of a whole, parts of a product that would be -- without it, it would be –
     probably wouldn't work as well, if at all.”).)


CONCLUSION

275. As discussed above, all four of the District Court’s factors individually and collectively support a
     conclusion that the article of manufacture Samsung applied the D’087 and D’677 designs to are the
     infringing phones in their entirety.

276. The intrinsic evidence of the D’087 and D’677 patents, including their titles, claims, written
     descriptions, and figures, indicate that the claimed designs are applied to an electronic device as a
     whole.

277. The D’087 and D’677 designs are very prominent within the Samsung infringing phones. These
     designs are embodied by the face of the phones—the most important side from the perspective of
     an ordinary observer and the side that Samsung has chosen to emphasize in its advertising and
     packaging.

278. The D’087 and D’677 designs are not conceptually distinct from the infringing phones themselves.
     Samsung designed the infringing phones holistically, not as separate components. The phones
     would have no utility if the components that Samsung alleges are the article of manufacture were
     removed, and those components have no utility other than as parts of the infringing devices.

279. The D’087 and D’677 designs are also not physically separable from the phones in their ordinary
     use. Samsung manufactured the infringing phones to be complete, unitary devices, and users use
     the phones as a whole. If the components that Samsung alleges are the articles of manufacture
     could be separated from the infringing phones, it would break the phones. Samsung (or an
     authorized third party) repairs or replaces the glass front face and/or bezel only for the purpose of
     repairing broken phones—in other words, to make the product whole again.

280. For the reasons discussed above, it is my opinion that the articles of manufacture to which
     Samsung applied the patented design of Apple’s D’677 patent are the Samsung phones found to
     infringe that patent, in their entirety. Those Samsung phones are: Fascinate (JX1013); Galaxy S,
     i9000 (JX1007); Galaxy S 4G (JX1019); Galaxy S II, AT&T (JX1031); Galaxy S II, i9100 (JX1032);
     Galaxy S II, T-Mobile (JX1033); Galaxy S II, Epic 4G Touch (JX1034); Galaxy S II, Skyrocket
     (JX1035); Galaxy S, Showcase, i500 (JX1017); Infuse 4G (JX1027); Mesmerize (JX1015); and
     Vibrant (JX1010).

281. Similarly, it is my opinion that the articles of manufacture to which Samsung applied the patented
     design of Apple’s D’087 patent are the Samsung phones found to infringe that patent, in their
     entirety. Those Samsung phones are: Galaxy S, i9000 (JX1007); Galaxy S 4G (JX1019); and
     Vibrant (JX1010).



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                 CONTAINS MATERIAL DESIGNATED HIGHLY CONFIDENTIAL —
              OUTSIDE ATTORNEYS’ EYES ONLY SUBJECT TO PROTECTIVE ORDER


SUPPLEMENTATION

282. I reserve the right to revise, supplement, or amend my opinions in light of any additional information
     that I might receive after the date of this report, including but not limited to rebuttal reports
     submitted by Samsung.


EXHIBITS TO BE USED AT TRIAL

283. If called as a witness at trial, I expect to rely upon visual aids and demonstrative exhibits that
     illustrate the bases of my opinions. These visual aids and demonstrative exhibits may include, for
     example, drawings and other excerpts from the patents-in-suit; illustrations or photos of Apple’s
     iPhones and Samsung’s infringing phones; excerpts from interrogatory responses, requests for
     admission, deposition testimony, deposition exhibits, or documents cited in this report; and charts,
     diagrams, videos, and animated or computer-generated video.



Dated: January 15, 2018                          _________________________

                                                 Alan D. Ball, IDSA




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              EXHIBIT A
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Alan D. Ball, IDSA
Industrial Designer, Inventor, and Design Expert.

50 Francesca Ave, Somerville, MA 02144-2002
Phone: 617.718.9342.
Email: alball@abidstudio.com. Website: www.abidstudio.com


Expert Witness Employment:

2017-present     Pono Paani v. Belkin, Civil Action No. 1:17-cv-00054-SS, United States District Court,
                 Western District of Texas, Austin Division.

                 Hired by Meyertons, Hood, Kivlin, Kowert & Goetzel (MHKKG) as expert witness for
                 plaintiff Pono Paani. Case pending.

2016-present     Nike Inc. v. Skechers USA Inc., Case No. IPR2017-00621, United States Patent and
                 Trademark Office Before the Patent Trial and Appeal Board.

                 Hired by Banner & Witcoff, LTD. as expert for patent owner Nike. Case pending.

2016-present     Snap-On, L.P. v. Harbor Freight, Case No. 2:16-cv-01265-LA, United States District
                 Court, Eastern District of Wisconsin, Milwaukee Division.

                 Hired by Quinn Emanuel Urquhart & Sullivan, LLP as expert for defendant Harbor
                 Freight. Services include expert declaration opposing injunction and testimony. Case
                 settled.

2015-present     Hinrichs v. Beats Electronics, LLC, Case No. BC 533089, Superior Court of The State
                 of California, County of Los Angeles.

                 Hired by Morrison & Foerster LLP as expert for defendant Beats. Case pending.

2015-present     C&A Marketing Inc. v. GoPro Inc., Complaint for Patent Infringement of D730,423;
                 Case No. 1:15-cv-7854-RMB-JS, United States District Court, District of New Jersey.

                 Hired by Morrison & Foerster LLP as expert witness for plaintiff C&A Marketing. Case
                 settled.

2015-16          Schluter Systems, L.P. v. Imre Batori and Progress Profiles, Complaint for Patent
                 Infringement of D706,459; Civ. Act No. 1:15cv144 (CMH/IDD), United States District
                 Court for the Eastern District of Virginia, Alexandria Division.

                 Hired by Fish & Richardson P.C. (Dallas) as expert witness for plaintiff Schluter Systems.
                 Expert services included initial consultation, photography of evidence, production of
                 infringement report and invalidity report, and deposition prep. Case settled.

2015             Hamilton Beach, petitioner v. Courtesy Products, patent owner, Cases IPR2014-
                 01257 and 01258, United States Patent and Trademark Office, before the Patent Trial
                 and Appeal Board.

                 Hired by Finnegan, Henderson, Farabow, Garrett & Dunner, LLP (Washington DC) as
                 expert for patent owner Courtesy Products. Expert services included initial consultation
                 and production of declaration. Case settled.




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2014-15          Caterpillar, Inc., petitioner, V. Miller International, Ltd., patent owner. Case IPR2015-
                 00416, Patent D673,982 S, United States Patent and Trademark Office, before the
                 Patent Trial and Appeal Board.

                 Hired by Finnegan, Henderson, Farabow, Garrett & Dunner, LLP (Washington DC) as
                 expert witness for petitioner Caterpillar, Inc. Expert services included initial consultation
                 and production of declaration of obviousness. PTAB decision found the patent invalid due
                 as obvious.

2014-present     Pass and Seymour, Inc., Opposer, v. Lutron Electronics Co., Inc., Applicant,
                 Application Nos. 85/298,572,85/298,600, 85/298,606, Mark: Product Configuration for
                 Light Dimmer Switch Opposition Nos. 91208865 (parent),91212529, 91212524. United
                 States Patent and Trademark Office before The Trademark Trial and Appeal Board

                 Hired by McCarter English as expert for opposer. Expert services include production of
                 reports, declaration and testimony regarding functionality of wall switch design. Case
                 pending.

2014-present     Dyson, Inc. v. SharkNinja Operating LLC, Case No. 1:14-cv-00779, United States
                 District Court for the Northern District of Illinois, Eastern Division.

                 Hired by Jones Day as expert for defendant. Expert services include production of
                 declaration and reports regarding design patent invalidity, claim construction and non-
                 infringement. Case pending.

2014-15          SkyHawke Technologies, LLC petitioner v. L&H Concepts, LLC patent owner,
                 Cases IPR2014-00437 & IPR2014-00438, United States Patent and Trademark Office,
                 before the Patent Trial and Appeal Board.

                 Hired by Fish & Richardson P.C. (Austin) as expert for US 5,779,566 patent owner L&H
                 Concepts, LLC. Expert services included consultation, production of declaration of non-
                 obviousness, and deposition. PTAB decision found certain claims unpatentable due to
                 obviousness.

2014             Sunlight Supply Inc. v. Maverick Sun Inc., Complaint for Patent Infringement,
                 Trademark Infringement, Trade Dress Infringement, Unfair Competition, and False
                 Designation of Origin Case No. 2:13-cv-2052, United States District Court Western
                 District of Washington at Seattle.

                 Hired by Betts Patterson Mines (Seattle) as expert witness for defendant Maverick Sun.
                 Expert services included initial consultation, photography of evidence, production of
                 patent invalidity/functionality report and design patent/trade dress non-infringement
                 report. Case settled.

2013-14          Nokia Corporation et al. v. HTC Corporation et al., In the Matter of Certain Portable
                 Electronic Communication Devices, Including Mobile Phones and Components Thereof,
                 Investigation Number 337-TA-847. United States International Trade Commission,
                 Washington DC, before the Honorable Thomas B. Pender, Administrative Law Judge.

                 Hired by Finnegan, Henderson, Farabow, Garrett & Dunner, LLP (Washington DC) as
                 expert witness for the defendant, HTC. Expert services included initial consultation,
                 preparation and presentation of Technology Tutorial for the ITC, and partial production of
                 Expert Non-Infringement Report. Case settled.




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2013-14          Ethicon Endo-Surgery, Inc. et al. v. Covidien Inc., et al., 11-cv-871 (S.D. Ohio).
                 Served as the expert witness for the plaintiff, Ethicon, concerning alleged infringement of
                 design patents US D661,801; US D661,802; US D661,803; and US D661,804.

                 Hired by Patterson Belknap Webb & Tyler LLP (NYC) as expert witness for plaintiff
                 Ethicon. These design patents claim an ornamental design for a user interface for a
                 surgical instrument. Expert services included initial consultation, photography of
                 evidence, production of Expert Infringement Report and Expert Validity Report (rebuttal),
                 Deposition, ongoing expert consultation, and Direct Examination preparation.

2012             Emerson Electric Company v. Anaheim Manufacturing Company, In the Matter of
                 Certain Food Waste Disposers and Components and Packaging Thereof, Investigation
                 Number 337-TA-838. United States International Trade Commission, Washington DC,
                 before the Honorable Thomas B. Pender, Administrative Law Judge.

                 Hired by Dechert LLP (Philadelphia) as expert witness for defendant Anaheim. Expert
                 services included production of Expert Reports concerning design patent invalidity,
                 Expert Report Rebuttal concerning non-infringement of design patent and trade dress,
                 Deposition, production of Direct Examination report and Testimony Preparation. Plaintiﬀ
                 withdrew the all complaints one day before trial.

2012             Samsung Electronics (UK) LTD. v Apple Inc., Case No: HC 11 C 03050, In the High
                 Court of Justice, Chancery Division Patents Court.

                 Hired by Morrison & Foerster LLP (San Francisco) and Freshfields Bruckhaus Deringer,
                 (London) as Expert Witness for Apple computer regarding the alleged infringement of the
                 Samsung Galaxy Tab(s) of Registered Community Design #000181607-001. Expert
                 services included production of Expert reports and 2 days of testimony before the High
                 Court.


Design Employment:

2002-present     Alan Ball Industrial Design, Inc. (A.B.I.D.), Somerville, Massachusetts, President.

2006-present     Margit Manufacturing Company, Somerville MA, President

2011-2013        Respirgames Inc., Somerville MA, Director of Product Development.

2000-2002        Ziba Boston LLC, Arlington, Massachusetts, Managing Director.

1994-2000        Shinola LLC, Somerville, MA, Founder and President.

1992-2000        Altitude Inc., Somerville, Massachusetts, Founder and Principal, Director of Design.

1991-1992        Herbst Lazar Bell, Inc., Cambridge, Massachusetts, Freelance Industrial Designer.

1988-1991        Design Continuum, Inc., Boston, Massachusetts, Industrial Designer.

1987-1988        Group Four Design Inc., Avon, Connecticut, Industrial Designer.


Education:

2008             IDSA Expert Witness Certification Seminar, Reston, VA.




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1981-1987        Syracuse University, Syracuse NY, Bachelors of Industrial Design, Minor in Information
                 Studies, 1987. Magna Cum Laude.


Awards, Honors and Other Activities:

2007             DIMe Mexican Design Industry Congress, featured keynote speaker.
2005             Best in Category, 2nd Annual HomeWorld Business® Housewares Design Awards, CSC-
                 650 Slow Cooker, Cuisinart Inc.
2004             Innovations CES Design and Engineering Showcase Award, PepperPad Handheld Tablet
                 Computer, Pepper Computer Inc.
2002             IDSA/BusinessWeek IDEA Gold Award, Xpressa IP Business Telephone, Pingtel
                 Corporation.
2000             IDSA/BusinessWeek IDEA Silver Award, DeWalt Worksite Radio/Charger, Black and
                 Decker, Inc.
2000             IDSA/BusinessWeek IDEA Silver Award, ID Research Process, PDT 7200 Barcode
                 Scanner Terminal, Symbol Technologies, Inc.
1999             IDSA/BusinessWeek IDEA Bronze Award, Brita Cascade Water Filtration Pitcher, the
                 Clorox Company.
1998             IDSA/BusinessWeek IDEA Gold Award, P300 Phaser Barcode Scanning Terminal,
                 Symbol Technologies, Inc.
1998             IDSA/BusinessWeek IDEA Silver Award, LS2100 Hotshot Retail Barcode Scanner,
                 Symbol Technologies, Inc.
1998             IDSA/BusinessWeek IDEA Silver Award, Cyclone Retail Scanner Concept, Symbol
                 Technologies, Inc.
1998             IDSA/BusinessWeek IDEA Bronze Award, LeashLight Dog Leash w/integrated flashlight,
                 Black and Decker, Inc.
1998             Bronze Bean Award: IDSA Boston Chapter, Award for leadership and contribution to the
                 local design community.
1997             IDSA/BusinessWeek IDEA Gold Award, DLL 5010M Laser Barcode Scanner, Symbol
                 Technologies, Inc. and Datalogic S.p.A.
1997             IDSA/BusinessWeek IDEA Bronze Award, Snake Light Outdoor Lanterns, Black and
                 Decker, Inc.
1997             IDSA/BusinessWeek IDEA Bronze Award, DeWalt 12.0 Volt Flexible Floodlight, Black
                 and Decker, Inc.
1997             IDSA NE Regional Conference Serious Fun Syracuse NY. Featured Speaker.
1997             Industrie Forum (iF) Seal for Design Excellence, PPT4600 Plato Barcode Scanning
                 Terminal, Symbol Technologies, Inc.
1997             Industrie Forum (iF) Seal for Design Excellence, LS4000 Eclipse Retail Barcode
                 Scanner, Symbol Technologies, Inc. and Datalogic S.p.A.
1996             IDSA/BusinessWeek IDEA Gold Award, PPT4600 Plato Barcode Scanning Terminal,
                 Symbol Technologies, Inc.




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1996             IDSA/BusinessWeek IDEA Silver Award, LS4000 Eclipse Retail Barcode Scanner,
                 Symbol Technologies, Inc.
1996             IDSA/BusinessWeek IDEA Silver Award, PDT 4000 Zircon Barcode Scanning Terminal,
                 Symbol Technologies, Inc.
1987             IDSA Student Merit Award.


US Design Patents (57):


2012   D690,992         Beverage Filter Stand, Eternal East (HK) Ltd. (Bonavita).
2010   D611,760         Blender, Cuisinart (Conair Corporation).
2009   D586,807         Hand-held Computer, Pepper Computer.
2008   D561,758         Hand-held Computer, Pepper Computer.
2008   D575,578         Slow Cooker, Cuisinart (Conair Corporation).
2008   D575,579         Slow Cooker, Cuisinart (Conair Corporation).
2008   D559,133         Temperature Probe, Cuisinart (Conair Corporation).
2007   D553,427         Food Processor, Cuisinart (Conair Corporation).
2006   D521,314         Control knob for toaster, Cuisinart (Conair Corporation).
2006   D522,308         Cooker, Cuisinart (Conair Corporation).
2006   D529,491         Handheld Computer, Pepper Computer.
2006   D530,146         Standmixer, Cuisinart (Conair Corporation).
2006   D532,644         Toaster oven, Cuisinart (Conair Corporation).
2006   D533,390         Toaster oven, Cuisinart (Conair Corporation).
2006   D534,189         Frozen food maker, Cuisinart (Conair Corporation).
2006   D534,190         Frozen food maker, Cuisinart (Conair Corporation).
2006   D554,637         Handheld Computer, Pepper Computer.
2005   D510,675         Coffee Urn, Cuisinart (Conair Corporation).
2005   D511,643         Cooker, Cuisinart (Conair Corporation).
2005   D512,058         Hand-held Computer, Pepper Computer.
2005   D507,149         Blender Base, Cuisinart (Conair Corporation).
2004   D492,770         Inhalation device, Glaxo Group Limited.
2004   D492,771         Mouthpiece for an inhalation device, Glaxo Group Limited.
2004   D492,993         Mouthpiece for an inhalation device, Glaxo Group Limited.
2004   D492,994         Mouthpiece for an inhalation device, Glaxo Group Limited.
2004   D493,222         Mouthpiece for an inhalation device, Glaxo Group Limited.
2004   D494,673         Inhalation device, Glaxo Group Limited.
2004   D494,674         Actuator body for an inhalation device, Glaxo Group Limited.
2004   D495,414         Inhalation device, Glaxo Group Limited.
2004   D496,455         Actuator body for an inhalation device, Glaxo Group Limited.



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2004    D497,988        Actuator body for an inhalation device, Glaxo Group Limited.
2004    D498,840        Inhalation device, Glaxo Group Limited.
2004    D507,149        Consumer blender base design, Cuisinart (Conair Corporation).
2003    D480,475        Actuator body for an inhalation device, Glaxo Group Limited.
2001    D437,027        Water filter reservoir, The Clorox Company.
2001    D438,524        Telephone base, Pingtel Inc.
2001    D445,627        Coffee maker, Black & Decker Inc.
2001    D445,795        Game controller precision button, Acco Brands, Inc.
2001    D450,687        Scroll wheel for a telephone base, Pingtel Inc.
2001    D451,091        Bezel for a telephone base, Pingtel Inc.
2000    D418,714        Water filtration pitcher, The Clorox Company.
2000    D419,027        Water filtration pitcher, The Clorox Company.
2000    D425,980        Hand-held tissue examination device, Assurance Medical, Inc.
2000    D435,084        Water filter, The Clorox Company.
2000    D445,627        Electric coffee maker housing, Black and Decker.
1999    D408,566        Flexible Flashlight, Black and Decker Inc.
1999    D410,117        Combination light and retractable leash, Black & Decker Inc.
1999    D414,171        Optical Scanner, Symbol Technologies Inc.
1999    D416,247        Game pad for laptop computers, Acco Brands, Inc.
1999    D417,934        Combined mop head with squeegee, Easy Day Manufacturing Company.
1998    D391,250        Ring mounted optical scanner, Symbol Technologies Inc.
1997    D378,295        Binoculars, Essecson Associates, Inc.
1997    D382,359        Miniature Lantern, Black and Decker Inc.
1997    D385,075        Electric Iron, Black and Decker Inc.
1997    D388,076        Optical Scanner, Symbol Technologies Inc.
1996    D370,478        Combined optical scanner and portable terminal, Symbol Technologies Inc.
1996    D372,772        Portable fan, Black and Decker Inc.

U.S. Utility Patents (11)

2008    7,325,413       Ice cream maker & dispenser apparatus, Cuisinart (Conair Corporation).
2007    7,224,345       Pad computer, Pepper Computer.
2000    6,024,054       Combined retractable leash and flashlight, Black & Decker Inc.
2000    6,058,548       Removable cleaning element from mop, Easy Day Manufacturing Company.
2000    6,098,886       Glove-mounted System for reading bar code symbols, Symbol Technologies.
1999    5,950,020       Folding photographic method and apparatus, Polaroid Corporation.
1999    5,979,764       Hand-held electronic apparatus with pivoting display, Symbol Technologies
Inc.



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1999   6,003,187         Combination mop and wiper, Easy Day Manufacturing Company.
1999   6,003,472         Combined retractable leash and flashlight, Black & Decker Inc.
1998   5,763,865         Bar code reader terminal module, Symbol Technologies Inc.
1997   5,610,386         Portable optical scanning system, Symbol Technologies Inc.

Professional Aﬃliations:

1983-present     Member Industrial Designs Society of America (IDSA).
2004-present     Member, Design Management Institute (DMI).
1994-present     Member, American Institute of Graphic Artists (AIGA).
2004- 2008       Member, Toastmasters International.
1994-1999        Member Color Marketing Group (CMG).




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              EXHIBIT B
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                               List of Materials Considered


                    Design-Patents-in-Suit and File Histories

U.S. Patent D593,087 (JX1041)                         APLNDC00030426
U.S. Patent D604,305 (JX1042)                         APLNDC00030421
U.S. Patent D618,677 (JX1043)                         APLNDC00032473
File History for D’087 Patent (JX1062)                APLPROS0000010774
File History for D’677 Patent (JX1064)                APLPROS0000011597
Application 29/270,888                                SAMNDCA00405876

                      Devices (In-Person and Photographs)

Galaxy S 4G (JX1019)
Vibrant (JX1010)
Galaxy S i9000 (JX1007)
Galaxy S Fascinate (JX1013)
Galaxy S Showcase (JX1017)
Galaxy S Mesmerize (JX1015)
Galaxy S II AT&T (JX1031)
Galaxy S II Skyrocket (JX1035)
Galaxy S II Infuse 4G (JX1027)
Galaxy S II i9100 (JX1032)
Galaxy S II T-Mobile (JX1033)
Galaxy S II Epic 4G Touch (JX1034)
iPhone (JX1000)
iPhone 3G (JX1001)
iPhone 3GS (JX1002)
iPhone 4 (JX1003)
iPhone 4S

                             Deposition Transcripts

Blackard, Drew (December 13, 2017)
Blevins, Tony (December 17, 2017)
Denison, Justin (December 20, 2017)
Han, Kyuhyun (December 20, 2017)
Howarth, Richard (December 19, 2017)
Joswiak, Greg (December 21, 2017)
Kim, Dongwook (December 22, 2017)
Kim, Jinsoo (December 12, 2017)
Sheppard, Timothy (December 14, 2017)
Wang, Jee-Yeun (December 20, 2017)
Andre, Bartley (October 26, 2011)
Coster, Daniel (October 27, 2011)
                                            1
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De Iuliis, Daniele (October 21, 2011)
Ive, Jonathan (December 1, 2011)
Ive, Jonathan (February 7, 2012)
Kerr, Duncan (October 26, 2011)
Kim, Bo-Ra (January 11, 2012)
Kim Jinsoo (February 2, 2012)
Lee, Gi Young (February 16, 2012)
Lee, MinHyouk (February 12, 2012)
Lee, SungSik (March 1, 2012)
Nishibori, Shin (May 2, 2012)
Park, Hyoung Shin (March 3, 2012)
Park, Hyoung Shin (February 29, 2012)
Rohrbach, Matt (October 24, 2011)
Ryu, Dongseok (February 29, 2012)
Satzger, Douglas (November 8, 2011)
Song, Hangil (February 8, 2012)
Wang, Jinsoo (February 2, 2012)
Whang, Eugene (October 27, 2011)
Zorkendorfer, Rico (October 21, 2011)
Bressler, Richard (April 24, 2012)
Howarth, Richard (October 31, 2011)
Kare, Susan (April 27, 2012)
Lucente, Sam (May 9, 2012)
Sherman, Itay (September 15, 2011)
Sherman, Itay (April 20, 2012)
Sherman, Itay (April 21, 2012)
Stringer, Christopher (August 3, 2011)
Stringer, Christopher (November 4, 2011)

                                 Expert Reports

Expert Report of Nicholas P. Godici, March 22, 2012
Expert Report of Mark Lehto, March 22, 2012
Expert Report of Sam Lucente, March 22, 2012
Expert Report of Itay Sherman, March 23, 2012
Expert Report of Robert John Anders, IDSA
(including Corrected Part D), April 16, 2012
Rebuttal Expert Report of Peter W. Bressler, FIDSA,
April 16, 2012
Expert Report of James T. Carmichael, April 16, 2012
Rebuttal Expert Report of Dr. Alan Hedge, April 16,
2012
Rebuttal Expert Report of Susan Kare, April 16, 2012
Peter W. Bressler Expert Report, March 22, 2012
Corrected Expert Report of Itay Sherman March 23,
2012
                                            2
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Susan Kare Expert Report, March 22, 2012
Sam Lucente Report, March 23, 2012
Henry Urbach Expert Report, March 22, 2012
Expert Report of Russell S. Winer, March 22, 2012
Expert Report of Sanjay Sood, March 22, 2012

                              Court Filings/Orders

Docket 1, Complaint
Docket 75, Amended Complaint
Docket 1425, Order Regarding Design Patent Claim
Construction
Docket 1447, Order Amending Design Patent Claim
Construction
Docket 1903, Final Jury Instructions
Docket 1931, Amended Verdict Form
Docket 2220, Order Granting in Part and Denying in
Part Motion for Judgment as a Matter of Law
Docket 2784, Final Jury Instructions
Docket 2822, Jury Verdict
Docket 3530, Order Regarding New Trial on Design
Patent Damages
Samsung Elecs. Co. v. Apple Inc., 137 S. Ct. 429
(2016)

                                Written Discovery

Apple Inc.’s First Set of Requests for Admission
Regarding Articles of Manufacture to Defendants
Samsung Electronics Co., LTD., Samsung Electronics
America, Inc., And Samsung Telecommunications
America, LLC (Nos. 1-304)
Samsung’s Objections And Responses To Plaintiff
Apple Inc.’s First Set Of Requests For Admission
Regarding Articles Of Manufacture (Nos. 1-304)
Samsung’s First Set of Requests for Admission to
Apple Regarding Article of Manufacture (Nos. 1-46)
Apple’s Objections and Responses to Samsung’s First
Set of Requests for Admission Regarding Article of
Manufacture (Nos. 1-46)
Plaintiff Apple Inc.’s First Set of Interrogatories
Regarding Articles of Manufacture to Defendants
Samsung Electronics Co., LTD., Samsung Electronics
America, Inc., and Samsung Telecommunications
America, LLC (Nos. 1-9)

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Samsung’s Objections and Responses to Plaintiff
Apple Inc.’s First Set of Interrogatories Regarding
Articles of Manufacture (Nos. 1-9)
Samsung Supplemental Responses to Apple’s First Set
of Interrogatories Regarding Articls of Manufacture
(Nos. 1-9)
Samsung’s First Set of Interrogatories to Apple
Regarding Article of Manufacture (Nos. 1-11)
Apple’s Objections and Responses to Samsung’s First
Set of Interrogatories Regarding Article of
Manufacture (Nos. 1-11)
Apple’s Supplemental Objections And Responses To
Samsung’s First Set Of Interrogatories Regarding
Article Of Manufacture (No. 1)
Samsung’s Second Set of Interrogatories to Apple
Regarding Article of Manufacture (Nos. 12-13)
Apple’s Objections and Responses to Samsung’s
Second Set of Interrogatories Regarding Article of
Manufacture
(Nos. 12-13)
Apple Inc.’s Second Set of Interrogatories Regarding
Articles of Manufacture to Defendants Samsung
Electronics Co., LTD., Samsung Electronics America,
Inc., and Samsung Telecommunications America,
LLC (Nos. 10-18)
Samsung's Responses to Apple's Second Set of ROGs
(Nos. 10-18)
Apple Inc.’s Third Set of Interrogatories Regarding
Articles of Manufacture to Defendants Samsung
Electronics Co., LTD., Samsung Electronics America,
Inc., and Samsung Telecommunications America,
LLC (No. 19)
Samsung’s Responses And Objections To Apple's
Third Set Of Interrogatories Regarding Articles Of
Manufacture (No. 19)
Samsung’s Second Set of Requests for Admission to
Apple Regarding Article of Manufacture (Nos. 47-52)
Apple’s Objections And Responses To Samsung’s
Second Set Of Requests For Admission Regarding
Article Of Manufacture (Nos. 47-52)
Samsung's Responses to Apple's First RFPs (Nos. 1-3)

                                Other Materials

Transcripts from 2012 Trial
Transcripts from 2013 Trial
                                            4
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Prior Art Cited by D’087 Patent (Listed in Exhibit C)
Prior Art Cited by D’677 Patent (Listed in Exhibit D)
MPEP § 1503.01-02
PX3A – Photos of Samsung and Apple Devices
PX6 – Summary of Press Reports Regarding Samsung
Phone Designs
PX11 – iPhone and iPad advertisements
PX12 – iPhone television advertisements
PX17 – Summary of iPhone and iPad News Coverage
PX34 - Translation of Presentation: Feasibility
Review on Standalone AP Business for Smart Phone        SAMNDCA10809390
Market
PX36 Presentation: Touch Portfolio Rollout Strategy
                                                        SAMNDCA00191811
Recommendation Based on Consumer Insight
PX 40 -
Translation of Email from Bong-Hee Kim regarding
                                                        SAMNDCA10247373
Summary of Executive-Level Meeting Supervised by
Head of Division (February 10)
PX47 - Translation of Email from Saejin Cha
                                                        SAMNDCA10159856
regarding China GDI evaluation and attachments
PX52 - Presentation: Samsung's Use of Apple Patents
                                                        APLNDC00001103
in Smartphones
PX60 - Presentation: STA Competitive Situation
                                                        SAMNDCA11547401
Paradigm Shift
PX127 – How to TV ad for iPhone                         APLNDC-X0000007535
PX 129 – iPhone ad                                      APLNDC-X0000007531
PX130 – iPhone 3G ad                                    APLNDC-X0000007557
PX133 - “Apple Waves Its Wand at the iPhone,” by
                                                        APLNDC-Y0000235973
David Pogue, New York Times, January 11, 2007
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DX753 – Samsung Financial Statements
JX1091 – MacWorld 2007 Video                          APLNDC-Y0000066914
JX1500 – Samsung Financials
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iPhone 3GS Launch Kit                                 APLNDC0002008363
iPhone Advertising Guidelines                         APLNDC0002155318
iPhone 3G Advertising Guidelines                      APLNDC0002155335
Triennial, Cooper Hewitt, Smithsonian Design          APLNDC0002169993
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iPhone Marketing Communications                       APLNDC0002203457
Apple Competitive Device Survey                       APLNDC0002230186
Email – Subject: Competitive Phone Tracker 02/25      APLNDC0002230186
iPhone 4S Marketing Guide                             APLNDC0002876270
Apple – Pres Info – Apple Reinvents the Phone with    APLNDC-WH-0000026142
iPhone
iFixit – Samsung Epic 4G Touchscreen Replacement      APLNDC-WH0004000947
iFixit – Samsung Galaxy S II Font Glass Digitizer     APLNDC-WH0004000959
Replacement
Samsung Galaxy S II Take Apart Repair Guide           APLNDC-WH0004000969
iFixit - Samsung Galaxy S Vibrant LCD Screen          APLNDC-WH0004000971
Replacement
Samsung Galaxy S 2 repair services                    APLNDC-WH0004000981
Cellphonerepair - Samsung Galaxy S 2 Screen           APLNDC-WH0004000988
Replacement & Repair
iFixit – Solved: Samsung Galaxy S screen repair       APLNDC-WH0004000993
Moto mods                                             APLNDC-WH0004001352
Fascinate Warranty                                    APLNDC-WH0004002616
Skyrocket Warranty                                    APLNDC-WH0004002640
Infuse 4G Warranty                                    APLNDC-WH0004002891
Galaxy S II T-Mobile Warranty                         APLNDC-WH0004002899
Galaxy S II Epic 4G Touch Warranty                    APLNDC-WH0004002915
Science/Technology: iPhone Launch – The New York      APLNDC-Y0000055081
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Apple’s New Calling: The iPhone –Printout – Time      APLNDC-Y0000055301
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Exhibition of Apple Design Debuts in German           APLNDC-Y0000142052
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of 2007 - TIME
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America - IDSA
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Homepage
Apple’s iPhone Tops List of Innovative Inventions     APLNDC-Y0000233345
Samsung Galaxy S: How Does it Measure Up to the       APLNDC-Y0000233425
Competition?
Steve Jobs: Designer First, C.E.O. Second             APLNDC-Y0000234831
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Apple buffs Marketing Savvy to a High Shine           APLNDC-Y0000234859
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Innovative Cellphone
Apple Unveils all-in-one iPhone Cell Phone Will       APLNDC-Y0000234867
Have Music, Internet Capabilities, Camera and More
Apple iPhone Review – Watch CNET’s Video              APLNDC-Y0000235785
Review
Apple Unveils all-in-one iPhone                       APLNDC-Y0000235904
iPhone Advertising Guidelines                         APLNDC-Y0000236364
Samsung INFUSE 4G User Manual                         SAMNDCA00009582
Samsung Vibrant Galaxy S User Manual                  SAMNDCA00017928
Galaxy S 4G User Manual (T-Mobile)                    SAMNDCA00018395
Now You See it. Now You Don’t AT&T Samsung            SAMNDCA00311548
Infuse Ad
Television Ad for Galaxy S II                         SAMNDCA00311579
Television Ad for Galaxy S II                         SAMNDCA00311654
Big Screen Ticket Samsung Infuse                      SAMNDCA00311758
Epic 4G Touch Marketing Materials                     SAMNDCA00311971
Samsung Galaxy S GT-I9000                             SAMNDCA10712069
iFixit – Galaxy S teardown guide                      SAMNDCA30000009
Fixez.com Galaxy S II Epic 4G teardown guide          SAMNDCA30000017
iFixit Samsung Epic 4G teardown guide                 SAMNDCA30000026
TechRepublic Epic 4G Touch teardown                   SAMNDCA30000034
iFixt Galaxy S II Teardown                            SAMNDCA30000038
Galaxy S II Teardown                                  SAMNDCA30000046
Vibrant marketing materials GOT IT                    SAMNDCA00311510
Television Ad for Galaxy S II                         SAMNDCA00311582
Samsung Galaxy S II AT&T User Manual                  SAMNDCA630-00922823
Skyrocket User Manual                                 SAMNDCA630-00924419
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Samsung Epic 4G User Guide                            S-ITC-000018872
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Showcase User Manual                        S-ITC-000122664
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Samsung Mesmerize User Manual               S-ITC-007283163
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              EXHIBIT C
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                                                                         Summary of Prior Art Cited by D'087 Patent

                                                                                                                                                                                                         Cited by
         Prior Art Reference     Reference Type                       Title                                 Claim (If Applicable)                    Figures (Design Patents/Applications)               Examiner
                                                                                                                                                   Portions of electronic notebook – front, top,
                                                                                            The ornamental design for a light emitting strip for a and side perspectives, as well as an
US D420,354                    US Design Patent   Light Emitting Strip for a Pager          pager, as shown and described.                         exploded perspective                            Yes
                                                                                            The ornamental design for a cellular phone, as
US D563,929                    US Design Patent   Cellular Phone                            shown.                                                 Entire cellular phone                           Yes
                                                                                            The ornamental design for a DMB MP3 player, as
US D563,432                    US Design Patent   DMB MP3 Player                            shown and described.                                   Entire DMB MP3 player                           No
                                                                                            The ornamental design for a mobile phone, as
US D562,285                    US Design Patent   Mobile Phone                              shown and described.                                   Entire mobile phone                             Yes
                                                                                            The ornamental design for a MP3 player, as shown
US D561,782                    US Design Patent   MP3 Player                                and described.                                         Entire MP3 player                               Yes
                                                                                            The ornamental design for a media player,
US D561,204                    US Design Patent   Media Player                              substantially as shown and described.                  Entire media player                             No
                                                                                            The ornamental design for a mobile phone, as
US D561,153                    US Design Patent   Mobile Phone                              shown and described.                                   Entire mobile phone                             No
                                                                                            The ornamental design for a digital audio player, as
US D560,686                    US Design Patent   Digital Audio Player                      shown and described.                                   Entire digital audio player                     No
                                                                                            The ornamental design for a portable media player,
US D560,683                    US Design Patent   Portable Media Player                     as shown and described.                                Entire portable media player                    Yes
                                                                                            The ornamental design for a digital audio player, as
US D558,792                    US Design Patent   Digital Audio Player                      shown and described.                                   Entire digital audio player                     No
                                                                                            We claim the ornamental design for an electronic
US D558,758                    US Design Patent   Electronic Device                         device, substantially as shown and described.          Entire electronic device                        Yes
                                                                                            We claim the ornamental design for an electronic
US D558,757                    US Design Patent   Electronic Device                         device, substantially as shown and described.          Entire electronic device                        No
                                                                                            We claim the ornamental design for an electronic
US D558,756                    US Design Patent   Electronic Device                         device, substantially as shown and described.          Entire electronic device                        No
                                                                                            The ornamental design for a digital photo frame, as
US D558,460                    US Design Patent   Digital Photo Frame                       shown.                                                 Entire digital photo frame                      Yes
                                                                                            The ornamental design for a mobile phone, as
US D557,238                    US Design Patent   Mobile Phone                              shown and described.                                   Entire mobile phone                             No
                                                                                            The ornamental design for a hand-held mixed media
US D556,211                    US Design Patent   Hand-Held Mixed Media Player              player, as shown and described.                        Entire media player                             No

US D554,098                    US Design Patent   Mobile Phone                              The ornamental design for mobile phone, as shown. Entire mobile phone                                  Yes
                                                                                            We claim the ornamental design for a media device,
US D548,747                    US Design Patent   Media Device                              substantially as shown and described.                Entire media device                               No
                                                                                            The ornamental design for a front panel of a housing
                                                  Front Panel of a Housing for a Portable   for a portable computing device, as shown and        Portions of portable computing device - front
US D548,732                    US Design Patent   Computing Device                          described.                                           and side perspectives                             No
                                                                                            The ornamental design for a mobile phone, as
US D546,313                    US Design Patent   Mobile phone                              shown and described.                                 Entire mobile phone                               No
                                                                                            The ornamental design for a cellular phone, as
                                                  Cellular phone
US D541,785                    US Design Patent                                             shown and described.                                 Entire cellular phone                             Yes
                                                                                            We claim the ornamental design for a media device,
                                                  Media device
US D541,299                    US Design Patent                                             substantially as shown and described.                Entire media device                               No
                                                                                            We claim the ornamental design for a media device,
                                                  Media device
US D541,298                    US Design Patent                                             substantially as shown and described.                Entire media device                               No
                                                                                            We claim the ornamental design for an electronic
                                                  Electronic device
US D538,822                    US Design Patent                                             device, substantially as shown and described.        Entire electronic device                          No
                                                                                            The ornamental design for a “container,” as shown
                                                  Container
US D536,962                    US Design Patent                                             and described.                                       Entire container                                  Yes
                                                                                            I claim the ornamental design for cellular phone, as
                                                  Cellular phone
US D536,691                    US Design Patent                                             shown and described.                                 Entire cellular phone                             No
                                                  Sound Recording and Reproducing           The ornamental design for a sound recording and
US D535,281                    US Design Patent   Apparatus                                 reproducing apparatus, as shown and described.       Entire apparatus                                  No




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                                                                                 Summary of Prior Art Cited by D'087 Patent

                                                                                                                                                                                                           Cited by
           Prior Art Reference              Reference Type                     Title                                   Claim (If Applicable)                  Figures (Design Patents/Applications)        Examiner
                                                                                                      The ornamental design for a mobile phone, as
US D534,143                               US Design Patent   Mobile Phone                             shown and described.                                  Entire mobile phone                         No
                                                                                                      The ornamental design for a MP3 player, as shown
                                                             MP3 Player
US D532,791                               US Design Patent                                            and described.                                        Entire MP3 player                           No
                                                                                                      The ornamental design for a portable multi media
                                                             Portable Multi Media Player
US D529,045                               US Design Patent                                            player, as shown.                                     Entire portable media player                No
                                                                                                      The ornamental design for a media player,
US D528,561                               US Design Patent   Media Player                             substantially as shown and described.                 Entire media player                         No
                                                                                                      We claim, the ornamental design for a handheld
                                                             Handheld Information Handling System     information handling system, as shown and
US D528,542                               US Design Patent                                            described.                                            Entire handheld information handling system No
                                                                                                      The ornamental design for a portable multimedia
                                                             Portable Multimedia Player
US D520,020                               US Design Patent                                            player, as shown.                                     Entire portable media player                No
                                                                                                      The ornamental design for a portable media player,
US D519,523                               US Design Patent   Portable Media Player                    as shown and described.                               Entire portable media player                No
                                                                                                      The ornamental design for a mobile computer, as
US D519,116                               US Design Patent   Mobile Computer                          shown and described.                                  Entire mobile computer                      No
                                                                                                      The ornamental design for a handheld computing
US D505,950                               US Design Patent   Handheld Computing Device                device, as shown and described.                       Entire handheld computing device            No
                                                                                                      We claim the ornamental design for an electronic
US D504,889                               US Design Patent   Electronic Device                        device, substantially as shown and described.         Entire electronic device                    No
                                                                                                      We claim the ornamental design for a housing for
US D502,173
                                          US Design Patent   Housing for Electronic Device            electronic device, as shown and described.            Housing of electronic device                No
                                                                                                      The ornamental design for a portable media player,
US D499,423                                                  Portable Media Player
                                          US Design Patent                                            substantially as shown and described.                 Entire portable media player                No
                                                                                                      The ornamental design for a personal digital
US D498,754
                                          US Design Patent   Personal Digital Assistant               assistant, as shown and described.                    Entire portable media device                No
                                                                                                      The ornamental design for the portable media
US D489,731
                                          US Design Patent   Portable Media Player                    player, as shown and described.                       Entire portable media device                No
                                                                                                      The ornamental design for a display, as shown and
US D456,023
                                          US Design Patent   Display                                  described.                                            Entire display device                       No
                                                                                                      The ornamental design for a data terminal for replies
                                                             Data Terminal for Replies from Customers
US D424,535                               US Design Patent                                            from customers, as shown and described.               Entire data terminal device                 No
                                                                                                      The ornamental design for an electronic notebook
US D337,569                                                  Electronic Notebook for Data Entry
                                          US Design Patent                                            for data entry, as shown and described.               Entire electronic notebook                  No
                                                                                                      The ornamental design for a flat panel display for
                                                             Flat Panel Display for Personal Computer
US D289,873                               US Design Patent                                            personal computer, substantially as shown.            Entire panel display                        No
                                                                                                      The ornamental design for a digital audio player, as
US D514,590                               US Design Patent   Digital Audio Player                     shown and described.                                  Entire digital audio player                 No
                                                                                                      The ornamental design for digital audio player with
US D514,121                               US Design Patent   Digital Audio Player with Sliding Cover  sliding cover, as shown and described.                Entire digital audio player                 No
                                                                                                      The ornamental design for a portable multimedia
US D507,003                               US Design Patent   Portable Multimedia Playback Apparatus playback apparatus, as shown and described.             Entire playback apparatus                   No
US Appl. No. 29/270,887, Andre, et al.,   US Design Patent                                            We claimed the ornamental design for an electronic
Electronic Device (1.8.2007)              Application        Electronic Device                        device substantially as shown and described.          Entire device                               No
US Appl. No. 29/282,834, Andre et al.,    US Design Patent                                            The ornamental design for an electronic device,
Electronic Device (7.30.2007)             Application        Electronic Device                        substantially as shown and described.                 Entire device                               No
US Appl. No. 29/284,187, Andre et al.,    US Design Patent                                            The ornamental design for an electronic device,
Electronic Device (8.31.2007)             Application        Electronic Device                        substantially as shown and described.                 Entire device                               No
US Appl. No. 29/324,262, Andre et al.,    US Design Patent                                            The ornamental design for an electronic device, as
Electronic Device (9.9.2008)              Application        Electronic Device                        shown and described.                                  Entire device                               No
US Appl. No. 29/324,137, Andre, et al.,   US Design Patent                                            The ornamental design for an electronic device, as
Electronic Device (9.6.2008)              Application        Electronic Device                        shown and described.                                  Entire device                               No
US Appl. No. 29/324,130, Andre et al.,    US Design Patent                                            The ornamental design for an electronic device, as
Electronic Device (9.5.2008)              Application        Electronic Device                        shown and described.                                  Entire device                               No
US Appl. No. 29/319,433, Andre et al.,    US Design Patent                                            The ornamental design for an electronic device, as
Electronic Device (6.9.2008)              Application        Electronic Device                        shown and described.                                  Entire device                               No




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                                                                                      Summary of Prior Art Cited by D'087 Patent

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            Prior Art Reference               Reference Type                        Title                                Claim (If Applicable)                  Figures (Design Patents/Applications)        Examiner
US Appl. No. 29/319,377, Andre et al.,      US Design Patent                                             The ornamental design for an electronic device, as
Electronic Device (6.6.2008)                Application         Electronic Device                        shown and described.                                 Entire device                             No
US Appl. No. 29/319,239, Andre et al.,      US Design Patent                                             The ornamental design for an electronic device, as
Electronic Device (6.5.2008)                Application         Electronic Device                        shown and described.                                 Entire device                             No
US Appl. No. 29/306,950, Andre et al.,      US Design Patent                                             The ornamental design for an electronic device, as
Electronic Device (4.18.2008)               Application         Electronic Device                        shown and described.                                 Entire device                             No
US Appl. No. 29/306,334, Andre et al.,      US Design Patent                                             The ornamental design for an electronic device, as
Electronic Device (4.7.2008)                Application         Electronic Device                        shown and described.                                 Entire device                             No
US Appl. No. 29/284,308, Andre et al.,      US Design Patent                                             The ornamental design for an electronic device,
Electronic Device (9.5.2007)                Application         Electronic Device                        substantially as shown and described.                Entire device                             No
US Appl. No. 29/284,288, Andre et al.,      US Design Patent                                             The ornamental design for an electronic device,
Electronic Device (9.5.2007)                Application         Electronic Device                        substantially as shown and described.                Entire device                             No
US Appl. No. 29/284,276, Andre et al.,      US Design Patent                                             The ornamental design for an electronic device,
Electronic Device (9.5.2007)                Application         Electronic Device                        substantially as shown and described.                Entire device                             No
US Appl. No. 29/284,272, Andre et al.,      US Design Patent                                             The ornamental design for an electronic device,
Electronic Device (9.5.2007)                Application         Electronic Device                        substantially as shown and described.                Entire device                             No
US Appl. No. 29/284,271, Andre et al.,      US Design Patent                                             The ornamental design for an electronic device,
Electronic Device (9.4.2007)                Application         Electronic Device                        substantially as shown and described.                Entire device                             No
US Appl. No. 29/284,269, Andre et al.,      US Design Patent                                             The ornamental design for an electronic device,
Electronic Device (9.4.2007)                Application         Electronic Device                        substantially as shown and described.                Entire device                             No
US Appl. No. 29/284,188, Andre et al.,      US Design Patent                                             The ornamental design for an electronic device,
Electronic Device (8.31.2007)               Application         Electronic Device                        substantially as shown and described.                Entire device                             No
US Appl. No. 29/282,832, Andre et al.,      US Design Patent                                             The ornamental design for an electronic device,
Electronic Device (7.30.2007)               Application         Electronic Device                        substantially as shown and described.                Entire device                             No
US Appl. No. 29/282,831, Andre et al.,      US Design Patent                                             The ornamental design for an electronic device,
Electronic Device (7.30.2007)               Application         Electronic Device                        substantially as shown and described.                Entire device                             No
                                                                Battery Cover Assembly for Portable
US 7,303,424                                US Utility Patent   Electronic Device                        1. A battery cover assembly, comprising:..            N/A                                      No
                                                                Keypad Battery Pack Mobile Terminal      1. A keypad battery pack having a first surface and a
                                                                Available for Different Keypad Battery   second surface and including a battery therein, the
                                                                Packs, and Method of Changing Keypad     keypad battery pack comprising:
                                            US Utility Patent   Battery Packs, and Method of Changing    a keypad formed on the first surface; and
US 2008/0004085                             Application         Keypad of Mobile Terminal                a battery terminal formed on the second surface.      N/A                                      No
                                                                Curved Sliding-Type Portable
                                            US Utility Patent   Communication Apparatus and Sliding      1. A sliding-type portable communication apparatus
US 2007/0082718 Al                          Application         Device Thereof                           comprising…                                        N/A                                         No
                                            US Utility Patent   Battery Cover Latching Assembly for
US 2006/0281501 Al                          Application         Portable Electronic Device               1. A portable electronic device comprising…          N/A                                       No
                                            US Utility Patent
US 2005/0130715 Al                          Application         Portable Terminal Unit                   1. A portable terminal unit comprising…              N/A                                       No
                                                                System and Method for Implementing a
                                            US Utility Patent   Landscape User Experience in a
US 2004/0223004 Al                          Application         Handheld Computing Device                A hand-held computing device comprising…             N/A                                       No
                                            US Utility Patent
US 2004/0166907 Al                          Application         Portable Radiotelephone                  1. A portable radiotelephone comprising …            N/A                                       No
                                            US Utility Patent
US 2004/0132499 Al                          Application         Portable Terminal                        1. A portable terminal comprising…                   N/A                                       No
                                            Foreign Patent
KR XX-XXXXXXX                               Document            Mobile Phone                             N/A                                                  N/A                                       No
ZL200730148767.X, Patent Reexamination
Board of the State Intellectual
Property Office of the PRC and English
translation, mailed
Dec. 11, 2008, 19 pgs.
Notification and Request for Invalidation of Foreign Patent
Chinese Patent                               Document           N/A                                      N/A                                                  N/A                                       No




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             Prior Art Reference                 Reference Type                       Title                        Claim (If Applicable)    Figures (Design Patents/Applications)        Examiner
ZL2007300148751.9, Patent
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English translation, mailed Dec. 11, 2008,     Document           N/A                                   N/A                                N/A                                      No
Notification and Request for Invalidation of
Chinese Patent ZL20073018719.0, Patent
Reexamination Board of the State
Intellectual Property Office of the PRC and
English translation, mailed Dec. 11, 2008,     Foreign Patent
19 pgs.                                        Document           N/A                                   N/A                                N/A                                      No
                                               Foreign Patent
KR XX-XXXXXXX                                  Document           Mobile Media Player                   N/A                                N/A                                      No
                                               Foreign Patent
KR XX-XXXXXXX                                  Document           Mobile Media Player                   N/A                                N/A                                      No
                                               Foreign Patent
JP 1250487                                     Document           Mobile Media Player                   N/A                                N/A                                      No
                                               Foreign Patent
JP 1159881                                     Document           Mobile Media Player                   N/A                                N/A                                      No
                                               Foreign Patent
EM 5691570005                                  Document           Mobile Phone                          N/A                                N/A                                      No

Mobiz Apple iPhone Review, posted Apr.
30, 2007, [online], [retrieved on Nov. 5,
2008], Retrieved from Internet ,<URL: http://
mobchina.blogspot.com/2007_04_01_archi
ve.html>.*                                    News Article        Apple iPhone                          N/A                                N/A                                      No
iPod U2 Special Edition, downloaded from
http://ipod.wikia.com/
wiki/IPod_U2_Special_Edition, Oct. 2004. News Article             Apple iPod                            N/A                                N/A                                      No
“Apple Introduces the U2 iPod,” Apple
Corporation press Release,
http://www.apple.com/pr/library/2004/oct/26
u2ipod.html , Oct. 26, 2004.                  News Article        Apple iPod                            N/A                                N/A                                      No
Hilon LG DMB MP3 FM35, posted Jun. 26,
2006, [online], [retrieved on Dec. 26, 2008],
Retrieved from Internet, <URL: http//
hilon.com.cn.autobak/a88100005549>, 18
pgs.                                          News Article                                              N/A                                N/A                                      No
Meizu Μ8, posted Jan. 29, 2007, [online],
[retrieved on Sep. 13,
2007], Retrieved from Internet
,<URL:http://www.engadget.com>.               News Article        Apple iPhone                          N/A                                N/A                                      No
eFashion Magazine, Jun. 1, 2005, vol. No.
119, ρ. 45, China.                            News Article        Electronic device                     N/A                                N/A                                      No
eFashion Magazine, Apr. 2006, vol. No.
172, ρ. 26, China.                            News Article        Mobile phones                         N/A                                N/A                                      No
eFashion Magazine, 2004, vol. No. 12, ρ.
60, China.                                    News Article        Pocket PC                             N/A                                N/A                                      No
Samsung F490, announced Jan. 2008,
[online], [retrieved on Jan. 18, 2008],
Retrieved from Internet ,<URL:                Product
http://www.gsmarena.com>.                     Announcement        Samsung 490                           N/A                                N/A                                      No
LG KF700, announced Feb. 2008, [online],
[retrieved on Mar. 21, 2008], Retrieved from
Internet ,<URL:                               Product
http://www.gsmarena.com>.                     Announcement        LG KF700                              N/A                                N/A                                      No




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              Prior Art Reference               Reference Type                       Title                        Claim (If Applicable)          Figures (Design Patents/Applications)        Examiner
Tinnos PDA, posted May 19, 2006, [online],
[retrieved on Aug. 22, 2007], Retrieved from
Internet                                     Product
,<URL:http://www.mobilewhack.com>.           Announcement        Tinnos PDA                            N/A                                     N/A                                       No
Samsung F700, announced Feb. 2007,
[online], [retrieved on Feb. 8,
2007], Retrieved from Internet               Product
,<URL:http://www.gsmarena.com>.              Announcement        Samsung F700                          N/A                                     N/A                                       No
Philips S900, announced Jun. 2006,
[online], [retrieved on Feb. 20,
2007], Retrieved from Internet               Product
,<URL:http://www.gsmarena.com>.              Announcement        Philips S900                          N/A                                     N/A                                       No
LG ΚΕ850 Prada, announced Jan. 2007,
[online], [retrieved on Feb. 20, 2007],
Retrieved from Internet                      Product
<URL:http://www.gsmarena.com>.               Announcement        LG KE850 Prada                        N/A                                     N/A                                       No
Apple iPhone, announced Jan. 2007,
[online], [retrieved on Mar. 12,
2007], Retrieved from Internet               Product
,<URL:http://www.gsmarena.com>.              Announcement        Apple iPhone                          N/A                                     N/A                                       No
U.S. Appl. No. 29/284,310, Andre et al.,     US Design Patent
Electronic Device (9.5.2007)                 Application         Electronic Device                                                        Not Publicly Available
U.S. Appl. No. 29/284,312, Andre et al.,     US Design Patent
Electronic Device (9.5.2007)                 Application         Electronic Device                                                        Not Publicly Available




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              EXHIBIT D
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                                                                         Summary of Prior Art Cited by D'677 Patent

                                                                                                                                                                                                     Cited by
         Prior Art Reference     Reference Type                        Title                              Claim (If Applicable)                    Figures (Design Patents/Applications)             Examiner
                                                                                          We claim the ornamental design for an electronic
US D589,979                    US Design Patent   Electronic Device                       device, substantially as shown and described.          Entire electronic device                      Yes
                                                                                          The ornamental design for an electronic device, as
US D586,800                    US Design Patent   Electronic Device                       shown and described.                                   Entire electronic device                      Yes
                                                                                          We claim the ornamental design for MP3 player, as
US D584,738                    US Design Patent   MP3 Player                              shown and described.                                   Entire MP3 Player                             Yes
                                                                                          The ornamental design of an electronic device,
US D581,922                    US Design Patent   Electronic Device                       substantially as shown and described.                  Entire electronic device                      No
                                                                                          We claim the ornamental design for an electronic
US D580,387                    US Design Patent   Electronic Device                       device, substantially as shown and described.          Entire electronic device                      No
                                                                                          The ornamental design for a mobile internet device,
US D579,930                    US Design Patent   Mobile Internet Device                  as shown and described.                                Entire mobile internet device                 Yes
                                                                                          The ornamental design for a digital audio player, as
US D574,015                    US Design Patent   Digital Audio Player                    shown.                                                 Entire digital audio player                   Yes
                                                                                          The ornamental design for a portable terminal, as
US D573,143                    US Design Patent   Portable Terminal                       shown and described.                                   Entire portable terminal                      Yes
                                                                                          The ornamental design for a housing for a portable     Portions of housing of a portable computing
US D568,309                    US Design Patent   Housing for a Portable Computing Device computing device, as shown and described.              device – front, side, and isometric           Yes
                                                                                                                                                 Entire mobile phone – Figures show all
                                                                                            The ornamental design for the mobile phone, as       angles of a complete mobile phone,
US D560,192                    US Design Patent   Mobile Phone                              shown and described.                                 including with keyboard slide drawn out       No
                                                                                            The ornamental design for the mobile phone, as
US D559,220                    US Design Patent   Mobile Phone                              shown and described.                                 Entire mobile phone                           No
                                                                                            The ornamental design for a digital audio player, as
US D514,590                    US Design Patent   Digital Audio Player                      shown and described.                                 Entire digital audio player                   No
                                                                                            The ornamental design for digital audio player with
US D514,121                    US Design Patent   Digital Audio Player with Sliding Cover   sliding cover, as shown and described.               Entire digital audio player                   No
                                                                                            The ornamental design for a portable multimedia
US D507,003                    US Design Patent   Portable Multimedia Playback Apparatus    playback apparatus, as shown and described.          Entire playback apparatus                     No
                                                  Headrest or Seat Back Entertainment       The ornamental design of a headrest or seat back
US D469,413                    US Design Patent   Display                                   entertainment display, as shown and described.       Entire digital audio player                   Yes
                                                                                            The ornamental design for the internet appliance, as
US D458,252                    US Design Patent   Internet Appliance                        shown and described.                                 Entire internet appliance                     Yes
                                                                                            The ornamental design for a portion of a portable    Portion of a portable computer device – front
US D455,433                    US Design Patent   Portion of a Portable Computer Device     computer device, as shown and described.             screen portion only                           Yes
                                                                                            The ornamental design for a vehicle maintenance
US D410,440                    US Design Patent   Vehicle Maintenance Manger                manager, as shown.                                   Entire vehicle maintenance manager            Yes
                                                                                            The ornamental design for a cellular phone, as
US D563,929                    US Design Patent   Cellular Phone                            shown.                                               Entire cellular phone                         Yes
                                                                                            The ornamental design for a DMB MP3 player, as
US D563,432                    US Design Patent   DMB MP3 Player                            shown and described.                                 Entire DMB MP3 player                         No
                                                                                            The ornamental design for a mobile phone, as
US D562,285                    US Design Patent   Mobile Phone                              shown and described.                                 Entire mobile phone                           Yes
                                                                                            The ornamental design for a MP3 player, as shown
US D561,782                    US Design Patent   MP3 Player                                and described.                                       Entire MP3 player                             Yes
                                                                                            The ornamental design for a media player,
US D561,204                    US Design Patent   Media Player                              substantially as shown and described.                Entire media player                           No
                                                                                            The ornamental design for a mobile phone, as
US D561,153                    US Design Patent   Mobile Phone                              shown and described.                                 Entire mobile phone                           No
                                                                                            The ornamental design for a digital audio player, as
US D560,686                    US Design Patent   Digital Audio Player                      shown and described.                                 Entire digital audio player                   No
                                                                                            The ornamental design for a portable media player,
US D560,683                    US Design Patent   Portable Media Player                     as shown and described.                              Entire portable media player                  Yes
                                                                                            The ornamental design for a digital audio player, as
US D558,792                    US Design Patent   Digital Audio Player                      shown and described.                                 Entire digital audio player                   No
                                                                                            We claim the ornamental design for an electronic
US D558,758                    US Design Patent   Electronic Device                         device, substantially as shown and described.        Entire electronic device                      Yes




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                                                                        Summary of Prior Art Cited by D'677 Patent

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         Prior Art Reference     Reference Type                       Title                                Claim (If Applicable)                  Figures (Design Patents/Applications)              Examiner
                                                                                            We claim the ornamental design for an electronic
US D558,757                    US Design Patent   Electronic Device                         device, substantially as shown and described.       Entire electronic device                      No
                                                                                            We claim the ornamental design for an electronic
US D558,756                    US Design Patent   Electronic Device                         device, substantially as shown and described.       Entire electronic device                      No
                                                                                            The ornamental design for a digital photo frame, as
US D558,460                    US Design Patent   Digital Photo Frame                       shown.                                              Entire digital photo frame                    Yes
                                                                                            The ornamental design for a mobile phone, as
US D557,238                    US Design Patent   Mobile Phone                              shown and described.                                Entire mobile phone                           No
                                                                                            The ornamental design for a hand-held mixed media
US D556,211                    US Design Patent   Hand-Held Mixed Media Player              player, as shown and described.                     Entire media player                           No

US D554,098                    US Design Patent   Mobile Phone                              The ornamental design for mobile phone, as shown. Entire mobile phone                              Yes
                                                                                            We claim the ornamental design for a media device,
US D548,747                    US Design Patent   Media Device                              substantially as shown and described.                Entire media device                           No
                                                                                            The ornamental design for a front panel of a housing
                                                  Front Panel of a Housing for a Portable   for a portable computing device, as shown and        Portions of portable computing device - front
US D548,732                    US Design Patent   Computing Device                          described.                                           and side perspectives                         No
                                                                                            The ornamental design for a mobile phone, as
US D546,313                    US Design Patent   Mobile phone                              shown and described.                                 Entire mobile phone                           No
                                                                                            The ornamental design for a cellular phone, as
US D541,785                    US Design Patent   Cellular phone                            shown and described.                                 Entire cellular phone                         Yes
                                                                                            We claim the ornamental design for a media device,
US D541,299                    US Design Patent   Media device                              substantially as shown and described.                Entire media device                           No
                                                                                            We claim the ornamental design for a media device,
US D541,298                    US Design Patent   Media device                              substantially as shown and described.                Entire media device                           No
                                                                                            We claim the ornamental design for an electronic
US D538,822                    US Design Patent   Electronic device                         device, substantially as shown and described.        Entire electronic device                      No
                                                                                            The ornamental design for a “container,” as shown
US D536,962                    US Design Patent   Container                                 and described.                                       Entire container                              Yes
                                                                                            I claim the ornamental design for cellular phone, as
US D536,691                    US Design Patent   Cellular phone                            shown and described.                                 Entire cellular phone                         No
                                                  Sound Recording and Reproducing           The ornamental design for a sound recording and
US D535,281                    US Design Patent   Apparatus                                 reproducing apparatus, as shown and described.       Entire apparatus                              No
                                                                                            The ornamental design for a mobile phone, as
US D534,143                    US Design Patent   Mobile Phone                              shown and described.                                 Entire mobile phone                           No
                                                                                            The ornamental design for a MP3 player, as shown
US D532,791                    US Design Patent   MP3 Player                                and described.                                       Entire MP3 player                             No
                                                                                            The ornamental design for a portable multi media
US D529,045                    US Design Patent   Portable Multi Media Player               player, as shown.                                    Entire portable media player                  No
                                                                                            The ornamental design for a media player,
US D528,561                    US Design Patent   Media Player                              substantially as shown and described.                Entire media player                           No
                                                                                            We claim, the ornamental design for a handheld
                                                                                            information handling system, as shown and
US D528,542                    US Design Patent   Handheld Information Handling System      described.                                           Entire handheld information handling system No
                                                                                            The ornamental design for a portable multimedia
US D520,020                    US Design Patent   Portable Multimedia Player                player, as shown.                                    Entire portable media player                  No
                                                                                            The ornamental design for a portable media player,
US D519,523                    US Design Patent   Portable Media Player                     as shown and described.                              Entire portable media player                  No
                                                                                            The ornamental design for a mobile computer, as
US D519,116                    US Design Patent   Mobile Computer                           shown and described.                                 Entire mobile computer                        No
                                                                                            The ornamental design for a handheld computing
US D505,950                    US Design Patent   Handheld Computing Device                 device, as shown and described.                      Entire handheld computing device              No
                                                                                            We claim the ornamental design for an electronic
US D504,889                    US Design Patent   Electronic Device                         device, substantially as shown and described.        Entire electronic device                      No
                                                                                            We claim the ornamental design for a housing for
US D502,173                    US Design Patent   Housing for Electronic Device             electronic device, as shown and described.           Housing of electronic device                  No




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                                                                                  Summary of Prior Art Cited by D'677 Patent

                                                                                                                                                                                                             Cited by
           Prior Art Reference               Reference Type                     Title                                   Claim (If Applicable)                  Figures (Design Patents/Applications)         Examiner
                                                                                                       The ornamental design for a portable media player,
US D499,423                               US Design Patent    Portable Media Player                    substantially as shown and described.                 Entire portable media player              No
                                                                                                       The ornamental design for a personal digital
US D498,754                               US Design Patent    Personal Digital Assistant               assistant, as shown and described.                    Entire portable media device              No
                                                                                                       The ornamental design for the portable media
US D489,731                               US Design Patent    Portable Media Player                    player, as shown and described.                       Entire portable media device              No
                                                                                                       The ornamental design for a display, as shown and
US D456,023                               US Design Patent    Display                                  described.                                            Entire display device                     No
                                                                                                       The ornamental design for a data terminal for replies
US D424,535                               US Design Patent    Data Terminal for Replies from Customers from customers, as shown and described.               Entire data terminal device               No
                                                                                                       The ornamental design for an electronic notebook
US D337,569                               US Design Patent    Electronic Notebook for Data Entry       for data entry, as shown and described.               Entire electronic notebook                No
                                                                                                       The ornamental design for a flat panel display for
US D289,873                               US Design Patent    Flat Panel Display for Personal Computer personal computer, substantially as shown.            Entire panel display                      No
US Appl. No. 29/282,833, Andre et al.,    US Design Patent                                             The ornamental design for an electronic device,
Electronic Device (7.30.2007)             Application         Electronic device                        substantially as shown and described.                 Entire electronic device                  No
US Appl. No. 29/324,262, Andre et al.,    US Design Patent                                             The ornamental design for an electronic device, as
Electronic Device (9.9.2008)              Application         Electronic Device                        shown and described.                                  Entire device                             No
US Appl. No. 29/324,137, Andre, et al.,   US Design Patent                                             The ornamental design for an electronic device, as
Electronic Device (9.6.2008)              Application         Electronic Device                        shown and described.                                  Entire device                             No
US Appl. No. 29/324,130, Andre et al.,    US Design Patent                                             The ornamental design for an electronic device, as
Electronic Device (9.5.2008)              Application         Electronic Device                        shown and described.                                  Entire device                             No
US Appl. No. 29/319,433, Andre et al.,    US Design Patent                                             The ornamental design for an electronic device, as
Electronic Device (6.9.2008)              Application         Electronic Device                        shown and described.                                  Entire device                             No
US Appl. No. 29/319,377, Andre et al.,    US Design Patent                                             The ornamental design for an electronic device, as
Electronic Device (6.6.2008)              Application         Electronic Device                        shown and described.                                  Entire device                             No
US Appl. No. 29/319,239, Andre et al.,    US Design Patent                                             The ornamental design for an electronic device, as
Electronic Device (6.5.2008)              Application         Electronic Device                        shown and described.                                  Entire device                             No
US Appl. No. 29/306,950, Andre et al.,    US Design Patent                                             The ornamental design for an electronic device, as
Electronic Device (4.18.2008)             Application         Electronic Device                        shown and described.                                  Entire device                             No
US Appl. No. 29/306,334, Andre et al.,    US Design Patent                                             The ornamental design for an electronic device, as
Electronic Device (4.7.2008)              Application         Electronic Device                        shown and described.                                  Entire device                             No
US Appl. No. 29/284,308, Andre et al.,    US Design Patent                                             The ornamental design for an electronic device,
Electronic Device (9.5.2007)              Application         Electronic Device                        substantially as shown and described.                 Entire device                             No
US Appl. No. 29/284,288, Andre et al.,    US Design Patent                                             The ornamental design for an electronic device,
Electronic Device (9.5.2007)              Application         Electronic Device                        substantially as shown and described.                 Entire device                             No
US Appl. No. 29/284,276, Andre et al.,    US Design Patent                                             The ornamental design for an electronic device,
Electronic Device (9.5.2007)              Application         Electronic Device                        substantially as shown and described.                 Entire device                             No
US Appl. No. 29/284,272, Andre et al.,    US Design Patent                                             The ornamental design for an electronic device,
Electronic Device (9.5.2007)              Application         Electronic Device                        substantially as shown and described.                 Entire device                             No
US Appl. No. 29/284,271, Andre et al.,    US Design Patent                                             The ornamental design for an electronic device,
Electronic Device (9.4.2007)              Application         Electronic Device                        substantially as shown and described.                 Entire device                             No
US Appl. No. 29/284,269, Andre et al.,    US Design Patent                                             The ornamental design for an electronic device,
Electronic Device (9.4.2007)              Application         Electronic Device                        substantially as shown and described.                 Entire device                             No
US Appl. No. 29/284,188, Andre et al.,    US Design Patent                                             The ornamental design for an electronic device,
Electronic Device (8.31.2007)             Application         Electronic Device                        substantially as shown and described.                 Entire device                             No
US Appl. No. 29/282,832, Andre et al.,    US Design Patent                                             The ornamental design for an electronic device,
Electronic Device (7.30.2007)             Application         Electronic Device                        substantially as shown and described.                 Entire device                             No
US Appl. No. 29/282,831, Andre et al.,    US Design Patent                                             The ornamental design for an electronic device,
Electronic Device (7.30.2007)             Application         Electronic Device                        substantially as shown and described.                 Entire device                             No
US 7,409,059                              US Utility Patent   Portable Terminal Unit                   1. A portable terminal unit comprising…            N/A                                          No
                                                              Battery Cover Assembly for Portable
US 7,303,424                              US Utility Patent   Electronic Device                        1. A battery cover assembly, comprising:..         N/A                                          No
                                                              Extended Stand Computer System with
US 7,042,712                              US Utility Patent   Retractable Keyboard                     1. An apparatus, comprising…                       N/A                                          Yes
                                          US Utility Patent
US 2008/0004083                           Application         Portable Information Terminal            1. A portable information terminal comprising…     N/A                                          No



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                                                                                      Summary of Prior Art Cited by D'677 Patent

                                                                                                                                                                                                               Cited by
           Prior Art Reference                 Reference Type                       Title                                  Claim (If Applicable)                  Figures (Design Patents/Applications)        Examiner
                                                                Keypad Battery Pack Mobile Terminal      1. A keypad battery pack having a first surface and a
                                                                Available for Different Keypad Battery   second surface and including a battery therein, the
                                                                Packs, and Method of Changing Keypad     keypad battery pack comprising: a keypad formed
                                            US Utility Patent   Battery Packs, and Method of Changing    on the first surface; and a battery terminal formed on
US 2008/0004085                             Application         Keypad of Mobile Terminal                the second surface.                                    N/A                                       No
                                                                Curved Sliding-Type Portable
                                            US Utility Patent   Communication Apparatus and Sliding      1. A sliding-type portable communication apparatus
US 2007/0082718 Al                          Application         Device Thereof                           comprising…                                        N/A                                           No
                                            US Utility Patent   Battery Cover Latching Assembly for
US 2006/0281501 Al                          Application
                                            US Utility Patent   Portable Electronic Device               1. A portable electronic device comprising…         N/A                                          No
US 2005/0130715 Al                          Application         Portable Terminal Unit                   1. A portable terminal unit comprising…             N/A                                          No
                                                                System and Method for Implementing a
                                            US Utility Patent   Landscape User Experience in a
US 2004/0223004 Al                          Application         Handheld Computing Device                A hand-held computing device comprising…            N/A                                          No
                                            US Utility Patent
US 2004/0166907 Al                          Application         Portable Radiotelephone                  1. A portable radiotelephone comprising …           N/A                                          No
                                            US Utility Patent
US 2004/0132499 Al                          Application         Portable Terminal                        1. A portable terminal comprising…                  N/A                                          No
                                            Foreign Patent
JP 2004-290256                              Document            N/A                                      N/A                                                 N/A                                          No
ZL200730148767.X, Patent Reexamination
Board of the State Intellectual Property
Office of the PRC and English translation,
mailed Dec. 11, 2008, 19 pgs. Notification
and Request for Invalidation of Chinese      Foreign Patent
Patent                                       Document           N/A                                      N/A                                                 N/A                                          No
ZL2007300148751.9, Patent
Reexamination Board of the State
Intellectual Property Office of the PRC and
English translation, mailed Dec. 11, 2008, Foreign Patent
19 pgs.                                      Document           N/A                                      N/A                                                 N/A                                          No
Notification and Request for Invalidation of
Chinese Patent ZL20073018719.0, Patent
Reexamination Board of the State
Intellectual Property Office of the PRC and
English translation, mailed Dec. 11, 2008, Foreign Patent
19 pgs.                                      Document           N/A                                      N/A                                                 N/A                                          No
                                             Foreign Patent
KR XX-XXXXXXX                                Document           Mobile Media Player                      N/A                                                 N/A                                          No
                                             Foreign Patent
KR XX-XXXXXXX                                Document           Mobile Media Player                      N/A                                                 N/A                                          No
                                             Foreign Patent
JP 1250487                                   Document           Mobile Media Player                      N/A                                                 N/A                                          No
                                             Foreign Patent
JP 1159881                                   Document           Mobile Media Player                      N/A                                                 N/A                                          No
                                             Foreign Patent
EM 5691570005                                Document           Mobile Phone                             N/A                                                 N/A                                          No

Meizu Μ8, posted Jan. 29, 2007, [online],
[retrieved on Sep. 13, 2007], Retrieved from
Internet <URL:http://www.engadget.com>. News Article            Apple iPhone                             N/A                                                 N/A                                          No
eFashion Magazine, Jun. 1, 2005, vol. No.
119, ρ. 45, China.                           News Article       Electronic device                        N/A                                                 N/A                                          No
eFashion Magazine, Apr. 2006, vol. No.
172, ρ. 26, China.                           News Article       Mobile phones                            N/A                                                 N/A                                          No
eFashion Magazine, 2004, vol. No. 12, ρ.
60, China.                                   News Article       Pocket PC                                N/A                                                 N/A                                          No



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                                                                                                                                                                                             Cited by
           Prior Art Reference                Reference Type                        Title                        Claim (If Applicable)          Figures (Design Patents/Applications)        Examiner

Tinnos PDA, posted May 19, 2006, online],
[retrieved on Aug. 22, 2007], Retrieved from
Internet <URL:http://www.mobilewhack.        Product
com>.                                        Announcement       Tinnos PDA                            N/A                                     N/A                                       No
Samsung F700, announced Feb. 2007,
[online], [retrieved on Feb. 8,
2007], Retrieved from Internet               Product
,<URL:http://www.gsmarena.com>.              Announcement       Samsung F700                          N/A                                     N/A                                       No
Philips S900, announced Jun. 2006,
[online], [retrieved on Feb. 20, 2007],
Retrieved from Internet                      Product
<URL:http://www.gsmarena.com>.               Announcement       Philips S900                          N/A                                     N/A                                       No
LG ΚΕ850 Prada, announced Jan. 2007,
[online], [retrieved on Feb. 20, 2007],
Retrieved from Internet                      Product
,<URL:http://www.gsmarena.com>.              Announcement       LG KE850 Prada                        N/A                                     N/A                                       No
Apple iPhone, announced Jan. 2007,
[online], [retrieved on Mar. 12, 2007],
Retrieved from Internet                      Product
<URL:http://www.gsmarena.com>.               Announcement       Apple iPhone                          N/A                                     N/A                                       No
U.S. Appl. No. 29/284,310, Andre et al.,     US Design Patent
Electronic Device (9.5.2007)                 Application        Electronic Device                                                        Not Publicly Available
U.S. Appl. No. 29/284,312, Andre et al.,     US Design Patent
Electronic Device (9.5.2007)                 Application        Electronic Device                                                        Not Publicly Available




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                        Fascinate
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                 Galaxy S (i9000)
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                      Galaxy S 4G
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               Galaxy S II (AT&T)
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               Galaxy S II (i9100)
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            Galaxy S II (T-Mobile)
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      Galaxy S II (Epic 4G Touch)
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           Galaxy S II (Skyrocket)
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       Galaxy S Showcase (i500)
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                        Infuse 4G
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                       Mesmerize
Case 5:11-cv-01846-LHK Document 3607-11 Filed 03/09/18 Page 115 of 115




                          Vibrant
